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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


POLICE AND FIRE RETIREMENT
SYSTEM OF THE CITY OF DETROIT,          Lead Case No. 06 Civ. 5797 (PAC)
PLYMOUTH COUNTY RETIREMENT
SYSTEM, STATE-BOSTON
RETIREMENT SYSTEM, and                  CONSOLIDATED AMENDED CLASS
MICHAEL GOLDE, On Behalf of             ACTION COMPLAINT FOR VIOLATIONS
Themselves and All Others Similarly     OF THE FEDERAL SECURITIES LAWS
Situated,                               SEEKING MONEY DAMAGES AND
                                        EQUITABLE RELIEF
                          Plaintiffs,

                   v.
                                        DEMAND FOR TRIAL BY JURY
SAFENET, INC., ANTHONY A.
CAPUTO, KENNETH A. MUELLER,
CAROLE D. ARGO, THOMAS A.
BROOKS, IRA A. HUNT, Jr., BRUCE R.
THAW, ARTHUR L. MONEY,
SHELLEY A. HARRISON, and
ANDREW E. CLARK

                          Defendants.
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       Plaintiffs Police and Fire Retirement System of the City of Detroit, the Plymouth County

Retirement System, the State-Boston Retirement System and Michael Golde (“Plaintiffs”) bring

this action for violation of the securities laws individually on behalf of themselves and as a class

action on behalf of all persons or entities, other than Defendants and their affiliates, who

purchased or acquired the securities of SafeNet, Inc. (“SafeNet” or the “Company”) during the

period from March 31, 2003 through and including May 18, 2006 (the “Class Period”). Plaintiff

Golde also sues on behalf of himself and a subclass of all former shareholders of Rainbow

Technologies, Inc. (“Rainbow”) whose Rainbow shares were converted into common shares of

SafeNet pursuant to the registration statement and joint proxy statement/prospectus filed with the

United States Securities and Exchange Commission (“SEC”) in connection with the March 15,

2004 acquisition of Rainbow by SafeNet (the “Rainbow Acquisition”) of all outstanding shares

of Rainbow (the “Rainbow Subclass”). Plaintiffs also sue on behalf of themselves and a subclass

of all persons or entities that were entitled to vote on the proxy statements filed by SafeNet with

the SEC on or about April 30, 2003, February 12, 2004, April 29, 2004 and July 6, 2005 (the

“Proxy Subclass”). Plaintiffs allege the following facts upon knowledge, with respect to their

own acts, and with respect to all other facts based on an investigation conducted by counsel,

including, among other things, a review of SafeNet’s public filings and press releases, news and

research reports about the Company, filings made in certain criminal and civil proceedings

brought by the United States government (including the felony securities fraud guilty plea

allocution by defendant Carole Argo (“Argo”), SafeNet’s former President, Chief Financial

Officer (“CFO”) and Chief Operating Officer (“COO”)), and from various confidential witnesses

including former SafeNet officers and employees.
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I.     SUMMARY OF THE COMPLAINT

       A.      SUMMARY OF THE CLASS CLAIMS

       1.      This is a case of egregious and largely admitted multi-year accounting fraud

which has already forced SafeNet to admit that its previously filed financial statements for the

years 2000 through 2005 (and for the first quarter of 2006) were materially false and misleading,

and which has already produced a guilty plea to felony securities fraud charges by SafeNet’s

former President, COO and CFO, defendant Argo, in connection with an ongoing Justice

Department and SEC investigation.       As pled in detail below, throughout the Class Period

defendant Argo and SafeNet’s two other most senior executives, its Chief Executive Officer

(“CEO”), defendant Anthony Caputo (“Caputo”) and CFO (from 2004-2006), defendant Kenneth

A. Mueller (“Mueller”) (collectively, the “Officer Defendants”) orchestrated and implemented

widespread and systemic accounting improprieties at all levels of SafeNet’s business, from its

stock option grants and executive compensation policies to its revenue recognition practices -- all

in flagrant disregard of Generally Accepted Accounting Principles (“GAAP”) and their

disclosure obligations to SafeNet’s investors. While manipulating SafeNet’s reported earnings to

make the Company appear materially more profitable than it was, the Officer Defendants were

personally enriching themselves by awarding themselves millions of dollars of secretly back-

dated stock options, and by reaping over $9.4 million in proceeds from illicit insider sales of

their personal holdings of SafeNet stock at fraudulently inflated prices. In contrast, SafeNet

investors saw the value of their shares of SafeNet stock plummet as the truth concerning

SafeNet’s fraudulent accounting finally began to emerge.

       2.      SafeNet is a company that develops, markets and sells a variety of information

and data security products and services, including both hardware and software, that are used to

protect and secure digital identities, communications and applications. During the Class Period,


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SafeNet and the Officer Defendants publicly reported financial results that created the false

impression that the Company was achieving strong earnings and revenue growth. For example,

on April 22, 2003, SafeNet issued a press release announcing its first quarter 2003 results, in

which defendant Caputo proclaimed that “we are very pleased with the strong growth in revenue,

gross margins, and earnings, which we are reporting today…” and that the results for the quarter

demonstrated “the progress we've made both in growing and diversifying our revenues and in

building profitability.” The Company’s self-proclaimed “strong” results during the Class Period

propelled SafeNet’s stock price to Class Period highs of over $40 per share, or more than double

the Company’s share price at the start of the Class Period.

        3.      However, as the Company has since admitted, its purportedly strong financial

results during the Class Period were materially false and artificially inflated SafeNet’s reported

performance. SafeNet’s fraudulent accounting included, inter alia:

        •       improperly accounting for backdated stock option grants;

        •       manipulating its recognition of costs, revenue and earnings in connection with its
                improper accounting for long-term development contracts;

        •       improperly recognizing revenue on “bill and hold” transactions;

        •       improperly recognizing revenue on shipments of product that were unfinished or
                otherwise not ready to be delivered; and

        •       improperly recognizing revenue on accelerated royalty payments.

As a result of SafeNet’s false statements and fraudulent accounting, SafeNet’s publicly traded

securities traded at artificially inflated prices during the Class Period.

        4.      As detailed below, options backdating involves a practice whereby a company

issues options (and fixes their terms) on a given date, but the options -- instead of being given an

“exercise” price (or “strike price”) that is equal to the price of the company’s stock on the date

that the options are actually issued (so-called “at the money” options) -- are backdated to an


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earlier date when the company’s shares traded at a lower (and often much lower) price. Options

that are backdated so that their exercise price is below the stock’s market price on the date of

issuance are “in the money” options because, in contrast to “at the money” options (which can be

exercised for a profit only if the value of the underlying stock increases), “in the money” options

are issued with embedded intrinsic value. This immediate benefit or “intrinsic value” is equal to

the difference between (a) the exercise price (which has been backdated to a date when the stock

was trading at a relatively low price) and (b) the market price on the date that the option was

actually issued.

       5.      Option grants are essentially used as currency to attract and retain valuable

employees in a competitive marketplace. However, because of the obvious difference between

being issued, for example (x) an option to buy 25,000 shares at the current market price (say,

$20) and (y) an option to buy the same 25,000 shares at a lower price (say $10) at which the

shares had traded several weeks or months earlier, the SEC and GAAP require companies to give

significantly different accounting treatment to grants of “at the money” vs. “in the money”

options. Specifically, issuance of “at the money” options to company employees or directors

does not require a company to record a compensation expense; however, where a company

issues “in the money” options, the SEC and GAAP consider the difference between the value of

the option based on the “exercise price” and the value based on the price of the stock on the grant

date to be a direct form of compensation to the option recipient that must be expensed and

accounted for as compensation cost. A company that fails to record this “intrinsic” value of an

“in the money” option grant will therefore understate compensation cost and overstate earnings

in the year of the grant, and in future years during the vesting period of the options (if the option

vests over time).




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       6.      Nonetheless, prior to and during the Class Period, defendants Caputo, Argo and

Mueller, with the approval of the Compensation Committee Defendants (as defined below)

systematically caused SafeNet to issue backdated options and to fail to recognize compensation

expense in connection with those option grants. Indeed, to maximize the fruits of their back-

dating activities and conceal them from SafeNet’s auditors, analysts and investors, the Officer

Defendants routinely backdated options grants by papering them as if they had been issued on

prior “grant dates” on which SafeNet’s stock price had closed at or near a periodic low point.

       7.      The SafeNet directors who were members of SafeNet’s Compensation Committee

(the “Compensation Committee Defendants”) were also actively complicit in, or at least

recklessly indifferent to, Safenet’s fraudulent backdating activities. These defendants knowingly

signed backdated “unanimous written consents” (“UWCs”) that approved the issuance of

similarly backdated stock options, and these directors were themselves -- as they knew or

recklessly disregarded -- significant financial beneficiaries of various backdated options grants

that purported to have been issued on remarkably “fortuitous” dates with suspiciously low

exercise prices. As members of SafeNet’s Compensation Committee, they were also chargeable

with knowledge of the contents of the Company’s public SEC disclosures concerning SafeNet’s

options grants, which repeatedly (and falsely) represented that the options granted under

SafeNet’s options plans had exercise prices “equal to the market value of the underlying

common stock on the date of the grant.” See, e.g., SafeNet’s Forms 10-K for 2002, 2003 and

2004, (signed by defendant Caputo, as well as defendant Argo (2002-2003), Mueller (2004) and

Compensation Committee Defendants Brooks, Thaw, Hunt and/or Money).

       8.      At the same time that SafeNet’s undisclosed options backdating activities (and

related practice of underreporting compensation expense) was going on, the Officer Defendants




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were also falsifying SafeNet’s reported financial results in a number of other ways.

Specifically, SafeNet reported artificially inflated revenue and earnings to meet analysts’

expectations by, inter alia, manipulating its accounting for long-term development contracts,

engaging in “bill and hold” transactions, improperly recognizing revenue on shipments of

product that were unfinished or otherwise not ready to be delivered, and by selling future royalty

payments at a steep discount in order to bolster current earnings. As described below, these

tactics allowed defendants to hide SafeNet’s deteriorating margins and other financial problems,

and to deceive investors into believing that the Company was consistently meeting Wall Street’s

earnings expectations.   For example, according to a former senior accounting executive who

reported to defendant Mueller, Mueller would regularly tell this executive to “go back and find

new numbers” when the Company earnings figures presented by this source were not in line with

expectations, and Mueller would “intervene … to get the numbers where [Mueller, Caputo and

Argo] wanted.” Similarly, other confidential sources link defendants Caputo, Argo and Mueller

to authorizing, for example, the improper recognition of millions of dollars of revenue on various

“bill and hold” transactions and on shipments of unfinished SafeNet product that was not ready

to be delivered.

       9.      The truth concerning Defendants’ fraudulent schemes and SafeNet’s true financial

condition and performance finally began to emerge on February 2, 2006, when the Company

revealed, inter alia, that its previously reported financial statements for the second and third

quarters of 2005 would need to be restated in connection with improper accounting for certain

lease restructuring charges and long-term development contracts.           In the wake of this

announcement, SafeNet’s stock fell 15.2%, from $32.72 on February 2 to $27.75 on February 3,

2006. These disclosures were soon followed by SafeNet’s announcement on April 6, 2006 that




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the Company would miss its prior earnings forecasts for the first quarter of 2006 and that

defendant Mueller was being terminated as the Company’s CFO.                 In the wake of this

announcement, SafeNet’s stock fell a further 19.3%, from $25.97 on April 6 to $20.96 on April

7, 2006. Finally, on May 18, 2006 -- the last day of the Class Period -- SafeNet announced that it

had received a subpoena from the United States Attorney’s Office for the Southern District of

New York demanding information about the Company’s stock option grants, and that the SEC

had also launched an investigation into the Company’s “stock option grants to directors and

officers” and “certain accounting policies and practices.”       In response to this latter news,

SafeNet’s stock suffered still further losses, falling another 21% from $19.21 on May 18 to

$14.93 on May 19, 2006 – representing a staggering overall decline of well over 50% in just over

four months.

       10.     In the subsequent weeks and months, investors’ fears concerning the nature and

extent of the rot at SafeNet were confirmed. For example, in July 2006, SafeNet confirmed that

it had in fact engaged in improper accounting for stock option grants issued to its officers and

directors, and that it would have to further restate its previously reported financial results going

back to 2002 as a result of its prior backdating of stock option grants. Two months later, in

September 2006, SafeNet publicly announced that its stock option manipulations went back even

earlier, to 2000, and that its ongoing “special committee” investigation had determined that

grants between 2000 and 2005 likely had been improperly accounted for. The Company also

announced in September of 2006 that it intended to restate its financial statements for the years

2000 through 2005 and for the first quarter of 2006.         In January 2007, SafeNet reported

additional details concerning its forthcoming restatement when it reported that – in addition to

correcting the fraudulent accounting arising out of its options backdating practices – the




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Company would also have to restate its financial statements for FY 2004, FY 2005 and the 1st

quarter of 2006 because those financial statements had materially misstated the Company’s

reported revenue in numerous respects that did not involve options.

       11.     Notwithstanding Defendants’ repeated representations that SafeNet would restate

its historical financial statements, SafeNet was ultimately able to avoid having to do so because

its management was able to successfully cut a deal in the first quarter of 2007 to be acquired by a

venture capital firm as part of a “going private” transaction that closed in April of 2007.

       12.     SafeNet’s success in “going private” has not, however, brought an end to the

federal government’s ongoing investigations of past fraudulent conduct at the most senior levels

of the Company. Indeed, in late 2007, SafeNet’s former President, COO and CFO, defendant

Carole Argo, pled guilty to felony securities fraud charges arising out of her role in knowingly

and willfully preparing false financial statements that materially overstated SafeNet’s reported

earnings during the Class Period, and was sentenced to a prison term in 2008. Having also

charged defendant Argo with conspiracy, it would appear that the government’s criminal

investigation into the activities of Argo’s un-named and as-yet unindicted co-conspirators -- who

presumably include at least defendants Caputo and Mueller -- is ongoing.

       13.     By this action, Lead Plaintiffs, on behalf of themselves and the members of the

Class, seek to recover for the enormous damages that they have suffered as a result of

Defendants’ fraudulent conduct.

       B.      SUMMARY OF THE RAINBOW ACQUISITION SUBCLASS CLAIMS

       14.     This action also arises from matters relating to SafeNet’s closing of a stock-based

merger on March 15, 2004 with Rainbow Technologies in a deal valued at more than $450

million (the “Rainbow Acquisition”) which closed after SafeNet obtained the affirmative votes

from investors holding a majority of the common shares of Rainbow. As a result of the Rainbow


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Acquisition, Rainbow’s shareholders exchanged each Rainbow share they owned for 0.374

SafeNet shares (the “Exchange Ratio”), thereby receiving 43% of the total shares of the

combined entity. On October 21, 2003, the day before the proposed Rainbow Acquisition was

announced, SafeNet’s stock price closed at $42.95 per share. In the period immediately prior to

the issuance of the registration statement and joint proxy statement/prospectus that were used to

solicit Rainbow shareholders’ approval of the Rainbow Acquisition, shares traded at

approximately $40 per share.

       15.    SafeNet and the Rainbow Acquisition Defendants – consisting of those Officer

and Director Defendants who signed the relevant registration and proxy statement/prospectus for

the transaction -- solicited the affirmative vote of Rainbow’s shareholders in favor of the

Rainbow Acquisition and caused the exchange described above by issuing a materially false and

misleading registration statement, dated February 11, 2004, (the “Rainbow Registration

Statement”), which incorporated a false and misleading joint proxy statement/prospectus, dated

February 12, 2004, (the “Rainbow Proxy/Prospectus”). SafeNet and the Rainbow Acquisition

Defendants issued the false and misleading Rainbow Registration Statement in violation of

Sections 11 and 12(a)(2) of the Securities Act, 15 U.S.C. § 77k, and issued the false and

misleading Rainbow Proxy/Prospectus in violation of the Section 11 of the Securities Act and

Section 14(a) of the Exchange Act.

       16.    None of the claims of the Rainbow Subclass in this Action alleges or sounds in

fraud. Instead, they are premised on the Rainbow Acquisition Defendants’ strict liability for

material misrepresentations and omissions in the Rainbow Registration Statement and Rainbow

Proxy/Prospectus, and (in the case of claims under § 14(a)) on the Defendants’ negligence in

failing to recognize and correct these misrepresentations and omissions. That the Rainbow




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Registration Statement and Rainbow Proxy/Prospectus were materially false and misleading is

established by, among other things, SafeNet’s admissions that its financial statements for the

fiscal periods from 2000 through the date of the issuance of the Rainbow Registration Statement

and Rainbow Proxy/Prospectus cannot be relied upon and must be restated.

II.    JURISDICTION AND VENUE

       17.     This Court has jurisdiction over the subject matter of this action under Section 22

of the Securities Act, 15 U.S.C. § 77v, Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and

under 28 U.S.C. §§ 1331 and 1337. The claims alleged herein arise under Sections 11, 12(a) and

15 of the Securities Act, Section 14(a) of the Exchange Act and Rule 14a-9 promulgated

thereunder, and Sections 10(b) and 20(a) of the Exchange Act and Rule 10b-5 promulgated

thereunder.

       18.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391(b). Many of the acts and transactions giving rise to the violations of law

complained of herein, including the preparation and dissemination to the investing public of false

and misleading public statements and SEC filings, occurred in this District.

       19.     In connection with the acts and conduct alleged herein, Defendants, directly and

indirectly, used the means and instrumentalities of interstate commerce, including the United

States mail and the facilities of the NASDAQ, a national securities market located in this

District. Further, as described below, the Office of the United States Attorney for the Southern

District of New York is conducting an ongoing investigation into the Company’s wrongful

conduct, which investigation has already resulted in defendant Argo’s guilty plea to felony

securities fraud in violation of §10(b) in criminal proceedings brought in this District.




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III.   THE PARTIES

       A.      Plaintiffs

       20.     Plaintiff Police and Fire Retirement System of the City of Detroit (“Detroit Police

and Fire”) purchased 93,865 shares of common stock of SafeNet during the Class Period as set

forth in its previously filed certification in this action, and suffered damages as a result of the

violations of the federal securities laws pled herein. Detroit Police and Fire is a public pension

fund with more than $3.8 billion of net assets held in trust as of June 30, 2005 for the benefit of

the active and retired police officers and firefighters of the City of Detroit, Michigan.

       21.     Plaintiff Plymouth County Retirement System (“Plymouth”) purchased 57,900

shares of common stock of SafeNet during the Class Period as set forth in its previously filed

certification in this action, and suffered damages as a result of the violations of the federal

securities laws pled herein. Plymouth is a public pension fund with more than $636 million in

net assets maintained for the benefit of active and retired public employees of Plymouth County,

Massachusetts.

       22.     Plaintiff State-Boston Retirement System (“Boston Retirement”) purchased

112,100 shares of common stock of SafeNet during the Class Period as set forth in its previously

filed certification in this action, and suffered damages as a result of the violations of the federal

securities laws pled herein. Boston Retirement is a public pension fund with more than $3.1

billion in net assets maintained for the benefit of the City of Boston’s employees.

       23.     Detroit Police and Fire, Plymouth and Boston Retirement (referred to collectively

herein as “Lead Plaintiffs”) were appointed Co-Lead Plaintiffs by Order of this Court entered

February 22, 2007.

       24.     Prior to the Rainbow Acquisition, plaintiff Michael J. Golde (“Golde”) purchased

shares of common stock of Rainbow as set forth in his previously filed certification in this


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action. Upon the closing of the Rainbow Acquisition on March 15, 2004, Plaintiff Golde’s

Rainbow shares were converted into SafeNet shares in accordance with the Exchange Ratio.

Following the Rainbow Acquisition, plaintiff Golde purchased additional shares of SafeNet stock

in open market transactions as set forth in his previously filed certification in this action.

Plaintiff Golde suffered damages as a result of the violations of the federal securities laws pled

herein.

          B.    SafeNet and the Officer Defendants

          25.   Defendant SafeNet develops, markets and sells a portfolio of hardware and

software information security products and services used to protect and secure digital identities,

communications and applications. SafeNet is a Delaware corporation and is headquartered in

Belcamp, Maryland. On March 5, 2007, SafeNet announced in a press release that it had agreed

to be acquired by Stealth Acquisition Corporation, a subsidiary of Vector Capital, pursuant to a

tender offer. The transaction closed in April 2007, with the result that SafeNet is now a privately

held company and no longer has the obligation to publicly file current financial reports on Forms

10-K or 10-Q with the SEC.

          26.   At all times relevant hereto, defendant Anthony A. Caputo (“Caputo”) was the

Chief Executive Officer and Chairman of the Board of Directors (the “Board”) of SafeNet.

During the Class Period, defendant Caputo improperly caused SafeNet to grant him 300,000 “in

the money” options to purchase SafeNet stock at low exercise prices ranging between $16.47 and

$29.70, and failed to properly disclose the nature of these grants to the investing public, and also

authorized or approved the issuance of hundreds of thousands of other “in the money” SafeNet

stock option grants to other Company officers and directors at low exercise prices, and willfully,

intentionally and/or recklessly authorized or approved the issuance of false financial statements

by SafeNet as alleged herein. Also, while in possession of material nonpublic information about


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SafeNet’s business, Caputo sold 275,000 shares of SafeNet stock during the Class Period at

prices between $23.97 and $36.63 per share, reaping illicit insider selling proceeds of $7.87

million. Defendant Caputo signed the Rainbow Registration Statement, all of the Class Period

Form 10-Ks and all of the Class Period Form 10-Qs. On October 18, 2006, SafeNet announced

that defendant Caputo had agreed to resign from all positions held with the Company.

       27.     From June 1999 through June 2004, defendant Carole D. Argo was Senior Vice

President and Chief Financial Officer of SafeNet; in addition, from June 2004 through the end of

the Class Period, defendant Argo served as SafeNet’s President and Chief Operating Officer.

After defendant Mueller resigned as CFO in April 2006, defendant Argo (in addition to serving

as SafeNet’s President and COO) also served as acting interim CFO until she resigned from all

of her positions with the Company in October 2006. Defendant Argo is a certified public

accountant and has seven years of public accounting experience. During the Class Period, Argo

improperly caused SafeNet to grant her at least 250,000 “in the money” options to purchase

SafeNet stock at exercise prices ranging between $16.47 and $31.78, and also authorized or

approved the issuance of hundreds of thousands of other “in the money” SafeNet stock option

grants to other Company officers and directors at low exercise prices, and willfully, intentionally

and/or recklessly authorized or approved the issuance of false financial statements by SafeNet as

alleged herein. Also, while in possession of material nonpublic information about SafeNet’s

business, defendant Argo sold 30,000 shares of SafeNet stock during the Class Period at $36.01

per share, reaping total illicit insider selling proceeds of $1.08 million. Defendant Argo signed

the Rainbow Registration Statement, the 2002-2003 Form 10-Ks, the 2003 Form 10-Qs and the

Form 10-Q for the first quarter of 2004.       On October 18, 2006, SafeNet announced that

defendant Argo had agreed to resign from all positions held with the Company.




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       28.     From June 2004 until on or about April 6, 2006, defendant Kenneth A. Mueller

(“Mueller”) was Senior Vice President, Chief Financial Officer and Treasurer of SafeNet.

During the Class Period, defendant Mueller improperly caused SafeNet to grant him at least

150,000 “in the money” options to purchase SafeNet stock at prices between $22.19 and $29.70,

and also authorized or approved the issuance of hundreds of thousands of other “in the money”

SafeNet stock option grants to other Company officers and directors at low exercise prices, and

willfully, intentionally or recklessly authorized or approved the issuance of false financial

statements by SafeNet as alleged herein.      Also, while in possession of material nonpublic

information about SafeNet’s business, Mueller sold 12,500 shares of SafeNet stock during the

Class Period at $36.61 per share, reaping total illicit insider selling proceeds of $457,625.

Defendant Mueller signed the 2004 Form 10-Qs for the second and third quarters, the 2004 Form

10-Ks and all of the Form 10-Qs and the Form 10-K for 2005. On April 6, 2006, SafeNet

announced that Mueller had resigned from the Company.

       29.     Each of the defendants named in ¶¶ 26-28 above (collectively, the “Officer

Defendants”) had access to undisclosed material information about the Company’s business,

operations, products, operational trends, financial statements and future business prospects as a

result of their access to internal corporate documents and their work with other SafeNet

executives, officers and directors.

       30.     The Officer Defendants were responsible for, participated in the preparation of,

and were aware of, the false and misleading SEC filings, press releases, and other statements

complained of herein at or about the time they were issued or circulated. The Officer Defendants

knew or recklessly disregarded the false and misleading nature of the statements complained of

herein, and were in a position to control or influence their contents or otherwise cause corrective




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or accurate disclosures to be made. Because of their Board memberships and/or executive and

senior managerial positions, each of the Officer Defendants was responsible for ensuring the

truth and accuracy of the various statements contained in the Company’s public statements and

SEC filings.

       C.      The Director Defendants (Including the Compensation Committee
               Defendants)

       31.     At all relevant times hereto, defendant Thomas A Brooks (“Brooks”) served as a

director of the Company and a member of the Company’s Compensation Committee and Audit

Committee. As a portion of his compensation for serving as a director, Brooks received stock

options, as described below. During the Class Period, Brooks signed each of the Company’s

During the Class Period, Mr. Brooks received at least 70,000 options to purchase SafeNet stock,

many of which were “in the money” options, at strike prices ranging between $16.47 and $34.30,

and sold 36,617 shares of SafeNet stock during the Class Period at prices between $26.20 and

$36.21 per share for total proceeds of $1.09 million. On July 3, 2006, SafeNet disclosed that Mr.

Brooks failed to file Form 4 statements for certain option grants during the Class Period. Mr.

Brooks also signed the Rainbow Registration Statement.

       32.     At all relevant times hereto, defendant Ira A. Hunt, Jr. (“Hunt”) served as a

director of the Company and a member of the Audit Committee and he served on the Company’s

Compensation Committee until 2004. As a portion of his compensation for serving as a director,

Hunt received stock options, as described below. During the Class Period, Hunt signed each of

the Company’s Form 10-Ks and authorized and permitted the use of his name in the 2003-2005

proxies. During the Class Period, Mr. Hunt received at least 60,000 options to purchase SafeNet

stock, many of which were “in the money” options, at strike prices ranging between $16.47 and

$34.30, and sold 11,000 shares of SafeNet stock during the Class Period at prices between



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$35.87 and $36.12 per share for total proceeds of $396,570. On July 3, 2006, SafeNet disclosed

that Mr. Hunt failed to file Form 4 statements for certain option grants during the Class Period.

Mr. Hunt also signed the Rainbow Registration Statement.

       33.    At all relevant times hereto, defendant Bruce R. Thaw (“Thaw”) served as a

director of the Company and has served on the Company’s Compensation Committee since

2004. As a portion of his compensation for serving as a director, Thaw received stock options, as

described below. During the Class Period, Thaw signed each of the Company’s Form 10-Ks and

authorized and permitted the use of his name in the 2003-2005 proxies. During the Class Period,

Mr. Thaw received at least 60,000 options to purchase SafeNet stock, many of which were “in

the money” options, at strike prices ranging between $16.47 and $34.30, and sold 41,667 shares

of SafeNet stock during the Class Period at prices between $32.00 and $37.29 per share for total

proceeds of $1.45 million. On July 3, 2006, SafeNet disclosed that Mr. Thaw failed to file Form

4 statements for certain option grants during the Class Period. Mr. Thaw also signed the

Rainbow Registration Statement.

       34.    Since March 16, 2004, Arthur L. Money (“Money”) served as a director of the

Company and as a member of the Company’s Compensation Committee and Audit Committee.

As a portion of his compensation for serving as a director, Money received stock options during

the Class Period, some of which may have been “in the money” options, at stock prices ranging

between $23.21 and $34.30. Since joining the Company, Money signed the Company’s Form

10-Ks and authorized and permitted the use of his name in the 2004-2005 proxies. On July 3,

2006, SafeNet disclosed that Mr. Money failed to file Form 4 statements for certain option grants

during the Class Period.




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       35.     At all relevant times hereto, defendant Shelley A. Harrison (“Harrison”) served as

a director of the Company. Since May 1, 2003, Harrison has also served as a paid consultant to

the Company. During the Class Period, Harrison signed each of the Company’s Form 10-Ks and

authorized and permitted the use of his name in the 2003-2005 proxies. As a portion of his

compensation for serving as a director and as a consultant during the Class Period, Mr. Harrison

received at least 185,000 options to purchase SafeNet stock, many of which were “in the money”

options, at strike prices ranging between $16.47 and $34.30, and sold 36,667 shares of SafeNet

stock during the Class Period at prices between $31.85 and $36.82 per share for total proceeds of

$1.26 million. On July 3, 2006, SafeNet disclosed that Mr. Harrison failed to file Form 4

statements for certain option grants during the Class Period. Mr. Harrison also signed the

Rainbow Registration Statement.

       36.     At all relevant times hereto, defendant Andrew E. Clark (“Clark”) served as a

director of the Company. During the Class Period, Clark signed the Company’s 2004 and 2005

Form 10-Ks and authorized and permitted the use of his name in the 2003-2005 proxies. As a

portion of his compensation for serving as a director, Clark received stock options, as described

below. During the Class Period, Mr. Clark received at least 60,000 options to purchase SafeNet

stock, many of which were “in the money” options, at strike prices ranging between $16.47 and

$34.30, and sold 28,250 shares of SafeNet stock during the Class Period at prices between

$23.68 and $36.68 per share for total proceeds of $883,393. On July 3, 2006, SafeNet disclosed

that Mr. Clark failed to file Form 4 statements for certain option grants during the Class Period.

Mr. Clark also signed the Rainbow Registration Statement.

       37.     Defendants Brooks, Hunt, Thaw and Money, collectively, constitute the

“Compensation Committee Defendants.”




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       38.     The Compensation Committee Defendants, together with defendants Harrison,

and Clark, collectively, constitute the “Director Defendants.”

       39.     The Officer Defendants and Compensation Committee Defendants (collectively,

the “Individual Defendants”) were each controlling persons of SafeNet within the meaning of

Section 20 of the Exchange Act by reason of their management positions in SafeNet and/or their

membership on the Company’s Board.          Because of their positions in the Company, these

defendants had the power and influence to cause SafeNet to engage in the unlawful acts and

conduct alleged herein.

       D.      The Rainbow Acquisition Defendants

       40.     Defendants Caputo, Argo, Brooks, Thaw, Hunt, Harrison and Clark, each of

whom signed the Rainbow Registration Statement, constitute the “Rainbow Acquisition

Defendants.”

       41.     The Rainbow Acquisition Defendants were each controlling persons of SafeNet

within the meaning of Section 15 of the Securities Act by reason of their management positions

in SafeNet and/or their membership on the Company’s Board. Because of their positions in the

Company, the Rainbow Acquisition Defendants had the power and influence to cause SafeNet to

engage in the improper acts and conduct alleged herein and to issue the false and misleading

Rainbow Registration Statement and Rainbow Proxy/Prospectus.

IV.    SAFENET’S WRONGFUL CONDUCT WITH RESPECT TO ITS
       ISSUANCE OF, AND ACCOUNTING FOR, BACKDATED STOCK OPTIONS

       A.      Background on Stock Options and Relevant GAAP Principles
               Governing the Financial Reporting for Stock Options

       42.     Under certain circumstances, publicly traded companies may award their officers,

employees and directors stock option grants as a means of increasing overall compensation in a

competitive employment market. A stock option grant provides an “optionee” with the right to


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purchase shares of a company at a specific price -- the “exercise price” or “strike price” -- on or

after a determined date. For instance, if a company grants an employee 100 options with an

exercise price of $5 per share, the employee can buy 100 shares for a total of $500, regardless of

what the market price of the Company’s stock is on the date the options are exercised. When a

company grants stock options to an employee or director, it must do so under a written stock

option plan filed with the SEC and disclosed to the public.

        43.      Under accounting rules in effect prior to approximately 2006, public companies in

the United States were permitted to grant stock options to employees without recording a

compensation expense, provided that the options’ exercise price was at (in the case of “at the

money” options), or above, the market’s closing price for the stock on the day the options were

granted. However, if a publicly traded company issues options with an exercise price that is less

than the market price of the company’s stock on the date that the options are granted – so-called

“in the money” options -- at all times relevant hereto, SEC regulations required the company to

recognize and record the difference between the market price and the exercise price as a

compensation expense in their financial statements. See Accounting Principles Board Opinion

No. 25 (“APB No. 25”), superseded beginning on January 1, 2006 by FAS 123(R). Pre-2006

accounting rules also required that companies recognize compensation expense in the same

manner if “in the money” options were granted to non-employees, such as directors. Thus,

although “in the money” stock options are obviously more valuable to those who receive them

than “at the money” options, for a publicly traded company the issuance of “in the money

options” (assuming they are properly accounted for) causes it to incur additional compensation

expense, which in turn reduces the company’s reported net income and earnings per share.1


1
 Another advantage for investors of issuing “at the money” options as compensation, as opposed to increasing cash
compensation or issuing “in the money” options, discussed below, is that it ostensibly aligns the interests of


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        44.      Where an option has intrinsic value on the date of grant (i.e., in the case of “in the

money” options where the market price of the stock exceeds the option’s exercise price on the

date of grant), compensation cost is calculated by multiplying the total number of options

granted by the difference between the exercise price of the option and the market price of the

stock on the date of grant. Compensation cost is then amortized and recognized as an expense

over the option’s vesting period. SafeNet’s option grants vested primarily over the span of four

years, in equal amounts over that four year period. A public company that treats an “in the

money” options grant as if it were granted “at the money,” and that fails accordingly to record

and properly amortize the intrinsic value of an “in the money” option grant that vests over a

period of years, will understate compensation cost and overstate net income not only in the year

of grant, but also in each year thereafter as the option vests over time.

        45.      To avoid any doubt as to what date should be used for purposes of determining

whether an options grant is “in the money” and whether compensation cost must be recognized

in connection with the grant, APB No. 25 also contains provisions defining a stock option’s

“measurement date.” Paragraph 10(b) of APB No. 25 clearly and specifically defines the

“measurement date” as “the first date on which are known both (1) the number of shares that an

individual employee is entitled to receive and (2) the option or purchase price if any.”

(Emphasis added). Accordingly, even if documents related to an award of options are dated as of

an earlier date or otherwise manipulated to reflect an earlier date -- i.e., even if the options are

backdated -- the “measurement date” as a matter of GAAP cannot and does not occur until the

date that the terms of the options award, including both the number of options awarded and the

options’ exercise price, are actually known and determined.


employees, management and/or directors who receive “at the money” option grants with the interests of the
company’s shareholders, in that the options can only be exercised for a profit if the company’s stock price rises.


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       46.     At all relevant times, SafeNet falsely represented in its public filings with the SEC

that it followed APB No. 25 when accounting for its stock option grants.

       B.      SafeNet’s Practices with Respect to the Issuance of and
               Accounting For Stock Option Grants

       47.     At all relevant times, SafeNet purported to grant its options pursuant to various

stock option plans (the “Stock Option Plans”) that were ratified by the Company’s board and

approved by its shareholders. The relevant Plans stated that the purpose of SafeNet’s stock

option program was “to promote the long-term growth and profitability of SafeNet . . . by (i)

providing key people with incentives to improve stockholder value and to contribute to the

growth and financial success of the Corporation, and (ii) enabling the Corporation to attract,

retain and reward the best available persons for positions of substantial responsibility.” In public

proxy filings with the SEC, SafeNet further stated that “[g]rants of stock options are designed to

align the executive’s interests with that of the stockholders of the Company,” and that:

               No gain to the options [granted under the Plans] is possible
               without stock price appreciation, which will benefit all
               shareholders. If the stock price does not increase above the
               exercise price, compensation to the named executive will be zero.

SafeNet’s Def. Proxy Statement, filed with the SEC on July 6, 2005, p. 10 (emphasis added); see

also Def. Proxy Statement, filed July 28, 2006, Def. Proxy Statement, filed April 29, 2004; Def.

Proxy Statement, filed April 30, 2003.

       48.     SafeNet’s Stock Option Plans were administered by SafeNet’s Compensation

Committee, consisting of the Compensation Committee Defendants, which had the ultimate

authority to grant option awards. The relevant Plans provided that the exercise price on an

option grant “shall be determined by the Committee, but in no event shall be less than 100% of

the fair market value of [SafeNet’s] Common Stock on the Grant Date.” If SafeNet complied

with the terms of its own Plans, then no stock options could be granted, including those to the


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Officer Defendants and Director Defendants, without oversight and approval by the

Compensation Committee.

       49.     At all relevant times, the Compensation Committee approved option grants

primarily through Unanimous Written Consents (“UWCs”) signed by Committee members.

Although the Compensation Committee had the authority to administer SafeNet’s stock option

programs under the relevant stock option plans, the Officer Defendants generally initiated and

oversaw the option grant process as to Company officers and employees, provided the names of

option recipients and the number of options granted, selected the purported “grant dates” (and

thus the exercise prices), and facilitated the approval process for option grants by, among other

things, obtaining the consent of the Compensation Committee Defendants for the option grants.

       50.     SafeNet’s and the Officer Defendants’ statements regarding the Company’s

option granting policies and practices were important because investors and regulators view

executive compensation as particularly material.      Consequently, SEC and accounting rules

prescribe detailed and specific public disclosure of the compensation provided to corporate

directors and executives.

       51.     Applicable tax rules and regulations also contribute to the significance of accurate

reporting of stock option grants and proper accounting of their effects on financial statements.

U.S. tax rules treat option grants as either “qualified” or “nonqualified,” with different tax

ramifications for each. The backdating of an option affects key tax determinations, including

whether the option was granted at fair value, and whether the option was granted pursuant to a

stock option plan validly authorized by shareholders. Consequently, the secret backdating of

options can have serious tax consequences for public companies.




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       52.     As further detailed below, defendants failed to properly disclose the manner in

which SafeNet actually implemented its Stock Option Plan, failed to disclose that SafeNet

granted stock options through various improper means and in violation of its Plan, and failed to

disclose that in connection with its options grants the Company failed to recognize appropriate

charges for compensation expense, and as a result issued materially false and misleading

financial statements in violation of GAAP.

       C.      Summary of Defendants’ Wrongful Conduct and False Reporting For
               Stock Option Grants, Including Defendant Argo’s Recent Guilty Plea to
               Felony Securities Fraud Charges Under §10(b) In Connection with
               SafeNet’s Options Misconduct

       53.     “Backdating” an option grant refers generally to setting an option’s exercise date

to a date that is both (a) earlier than the date on which the option was actually granted (the

“measurement date” under APB 25) and (b) a date when the market price of the underlying stock

was lower than the “measurement date” on which the option was actually granted. Where, as in

the case of SafeNet, the paperwork accompanying option grants is backdated so that it appears

that the terms of the option were set and the options were issued earlier than they actually were,

the backdating of the paperwork further facilitates a Company’s ability to conceal the true nature

of its stock option grants from others, such as the company’s auditors. Indeed, the backdating of

such paperwork effectively serves no purpose other than to create a phony paper trail intended to

fraudulently dress up and disguise “in the money” options as if they were bona fide “at the

money” options granted at an earlier date that did not need to be expensed.

       54.     As discussed above, the policy and financial incentives for SafeNet and its stock

option recipients to engage in improper backdating are substantial because, assuming that the

value of underlying stock has risen over time, it is obviously much more valuable for a recipient

to receive “in the money” options that have been backdated with a low exercise price from an



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earlier date than it is to receive “at the money” options that have a much higher exercise price.

Moreover, at SafeNet each of the Officer Defendants also had substantial financial incentives to

avoid properly accounting for backdated “in the money” options because, inter alia, (a) adverse

investor reaction to disclosure that the company was issuing “in the money” grants, which would

need to be expensed and would have reduced earnings, would have likely terminated the practice

of issuing such options; and (b) given that the Officer Defendants’ overall compensation was

largely based on SafeNet’s financial performance, properly accounting for SafeNet’s options

grants would have reduced SafeNet’s reported earnings and, therefore, the Officer Defendants’

performance based compensation. If undetected, issuance of backdated "in the money" options

also serves the interests of the issuing company (in the present case, SafeNet) in attracting and

retaining employees while reporting artificially low compensation expense.

        55.      A recurring pattern of incredibly well-timed stock option grants strongly supports

the conclusion that the issuing corporation and the executives involved in the process or

receiving those grants deliberately manipulated the process in order to attract and retain

employees and to enrich themselves at the expense of the investing public. As shown in section

C.2 below, SafeNet’s history of option grants to executives was so consistently suspicious, and

so consistently provided its options recipients with abnormal and outsize favorable economic

returns, that the only statistically reasonable conclusion is that Defendants improperly backdated

option grants, and then failed to properly disclose the fact of those grants and their economic

implications in SafeNet’s public statements.2




2
    Many companies issue stock options at the same time each year. Such a practice greatly reduces and perhaps
eliminates the potential for backdating. As illustrated below, however, SafeNet’s stock option grants during the
relevant period did not follow any discernable regularity. Rather, the timing of the options grants was purposefully
set to coincide with low points in the Company’s stock price


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       56.     Here, however, as detailed below, SafeNet has admitted that its stock option

grants during the Class Period were improperly accounted for using incorrect measurement dates

and that millions of dollars worth of non-cash, stock-based compensation expenses related to

these option grants will have to be recorded.

               1.     Defendant Argo’s Guilty Plea

       57.     Indeed, in the wake of recent criminal proceedings brought by the United States

Attorney in the Southern District of New York, there can no longer be any serious dispute that

SafeNet’s backdating practices and related false accounting were the product of deliberate fraud

on the part of SafeNet’s senior managements, or that the Compensation Committee Defendants

were at least recklessly indifferent to the Officer Defendants’ backdating manipulations.

       58.     For example, as Defendant Argo testified when allocuting before Judge Rakoff in

admitting to her guilt on the government’s felony securities fraud charges under §10(b):

               In mid-2000 I became responsible for overseeing SafeNet’s
               process for granting and documenting stock options. Sometime in
               December 2001 or early January 2002, SafeNet’s compensation
               committee approved a grant of stock options to me and two other
               individuals, one of whom was the Company’s CEO [defendant
               Caputo]. The CEO [defendant Caputo] asked me to report
               October 1, 2001, as the date on which his options had been
               approved. SafeNet’s stock price on October 1, 2001 was its
               lowest stock price in the quarter. I agreed to document the CEO’s
               options as if they had been granted on October 1, 2001. I did so,
               and the compensation committee approved this treatment, even
               though I and others knew that the compensation committee had not
               granted the options on that date. I similarly documented the
               options granted to me and the other individual as if they had been
               granted on October 1, 2001, even though I knew this was untrue.


               By using October 1 as the grant date, SafeNet avoided reporting
               any compensation expense. I knew that if we had used the correct
               grant date with the October 1 exercise price, SafeNet would have
               been required to record the difference between the exercise price
               and the higher stock price on the actual grant date as a
               compensation expense in its financial statements. As a result of


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               using October 1, 2001 as the grant date, SafeNet’s public filings
               included inaccurate compensation expense information.… In
               causing these filings to be inaccurate, I acted willfully and with
               intent to defraud.

               In the following years, with respect to certain [additional option
               grants], I and others at SafeNet selected with hindsight grant
               dates with a low price from within the period when the grant was
               under consideration. As to these grants, the Company did not
               record a compensation expense. This was wrong, and as a result of
               my conduct the company’s public filings were inaccurate in this
               respect....

United States v. Argo, 07 CR 683 (JSR) (S.D.N.Y.), Transcript of Plea Allocution

Proceedings, dated October 5, 2007 (emphasis added).

       59.     Moreover, throughout the Class Period Defendants failed to timely disclose their

individual option grants. Specifically, in accordance with Section 403(a) of the Sarbanes-Oxley

Act of 2002, 15 U.S.C. §78p(c), Defendants were required to disclose option grants within two

days of any such grant by filing a Form 4 statement with the SEC. Although Defendants filed

hundreds of Form 4s during the Class Period, they failed to disclose on Form 4 the

overwhelming majority of the option grants at issue in this case. Shedding additional light on the

improprieties that underlie the SEC’s and Department of Justice’s investigations, in SafeNet’s

Form 14A proxy statement, filed with the SEC on July 3, 2006, Defendants belatedly disclosed

their violations of Sarbanes-Oxley as follows:

               As first reported in the Company’s Form 10-K/A filed with the
               Securities and Exchange Commission on April 11, 2006, with
               respect to the fiscal year ended December 31, 2005,
               Messrs. Brooks, Harrison and Lesem and Ms. Argo each failed to
               file two Forms 4 during the year to report two separate grants of
               stock options, and Messrs. Clark, Hunt, Money, Straub, Thaw,
               Caputo, Mueller (a former executive officer of the Company) and
               Fedde each failed to file one Form 4 during the year to report one
               grant of stock options;

               With respect to the fiscal year ended December 31, 2004,
               Mr. Harrison failed to file two Forms 4 during the year to report


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                 two separate grants of stock options, and Messrs. Brooks, Clark,
                 Hunt, Money, Straub, Thaw, Caputo, Fedde and Mueller and
                 Ms. Argo each failed to file one Form 4 during the year to report
                 one grant of stock options;

                 With respect to the fiscal year ended December 31, 2003,
                 Messrs. Brooks, Clark, Harrison, Hunt, Thaw, Fedde and Ms. Argo
                 each failed to file two Forms 4 during the year to report two
                 separate grants of stock options, and Messrs. Caputo, Money and
                 Straub each failed to file one Form 4 during the year to report one
                 grant of stock options; and

                 With respect to the fiscal year ended December 31, 2002,
                 Mr. Caputo failed to file one Form 4 to report one grant of stock
                 options.

         60.     By not informing the market of option grants within two days of the purported

grant dates, Defendants helped prevent investors from learning when options were actually

granted and thereby facilitated their efforts to engage in wrongful options backdating and related

fraudulent accounting.

                 2.      Summary of SafeNet’s Improperly Granted and Improperly
                         Accounted For Stock Option Grants

         61.     SafeNet’s stock option grants to executives and directors that had an impact on

SafeNet’s financial results during the Class Period, either through immediate or yearly vesting,

include at least the following that are detailed below:

         62.     1999 Option Grants: The following chart shows the amounts and exercise prices

of some of SafeNet’s stock option grants to officers and employees during fiscal year 1999.

                                                  # Securities   % of Total Options
                                                  Underlying        Granted to        Exercise
                                                    Options        Employees in       Price Per
     Executive Name        Title                    Granted         Fiscal 1999        Share      Grant Date
     Carole D. Argo        SVP CFO                   30,000             --             17.50      7/30/1999
     John F. Hembrough     SVP world wide sales      50,000            16.2             9.25       1/6/1999



         63.     The following graph illustrates the auspicious timing of some of the grants listed

above:



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       64.        SafeNet’s July 30, 1999 grant of 30,000 options to defendant Argo was

backdated, as evidenced by the fact that they were “issued” on a date when SafeNet shares were

trading at a conspicuously low point (after which the Company’s stock price increased

markedly). From a closing price of $17.50 on the supposed date of the grant, the stock price

increased to $23.06 on August 9, 1999, little more than a week after (and to $26.00 on August

25, 1999, approximately a month after) the supposed grant.

       65.        2000 Option Grants: The following chart shows the amounts and exercise prices

of some of SafeNet’s stock option grants to officers and employees during fiscal year 2000.

                                                  # Securities   % of Total Options
                                                  Underlying        Granted to        Exercise
                                                    Options        Employees in       Price Per
     Executive Name        Title                    Granted         Fiscal 2000        Share      Grant Date
     Anthony A. Caputo     CEO                       50,000             6.7            14.75       5/31/2000
                                                     30,000             4.0           24.125      10/11/2000
     Sean R. Price         SVP world sales            1,750             0.2            20.50        1/1/2000
                                                     31,583             4.2           14.750       5/31/2000
                                                     20,000             2.7           24.125      10/11/2000
     William F. Geritz     SVP business develop      80,000              --           24.125      10/11/2000
     Carole D. Argo        SVP CFO                    8,500             1.1            20.50        1/1/2000
                                                     11,500             1.5           14.750       5/31/2000
                                                     13,000             1.7           24.125      10/11/2000
     Peter Reed            VP semiconductor           5,000              --           24.125      10/11/2000


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                                                # Securities   % of Total Options
                                                Underlying        Granted to        Exercise
                                                  Options        Employees in       Price Per
     Executive Name       Title                   Granted         Fiscal 2000        Share      Grant Date
                          develop
     Michael M. Kaplan    SVP CTO                  10,000             1.3            20.50       1/1/2000
                                                   50,000             6.7            14.75      5/31/2000

         66.     The following graph illustrates the auspicious timing of some of the grants listed

above:




         67.     SafeNet’s October 11, 2000 grants of at least 148,000 options to defendants Argo

and Caputo, among others, were backdated, as evidenced by the fact that they were “issued” on a

date when SafeNet shares were trading at a conspicuously low point (after which the Company’s

stock price increased markedly) -- indeed, the lowest closing price for the third quarter of 2000.

From a closing price of $24.125 on the supposed date of the grants, SafeNet’s stock price

increased to $39.50 on October 19, 2000, little more than a week after (and to $53.00 on

November 3, 2000, less than a month after) the supposed grants.

         68.     2001 Option Grants: The following chart shows the amounts and exercise prices

of some of SafeNet’s stock option grants to officers and employees during fiscal year 2001.


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                                                  # Securities   % of Total Options
                                                  Underlying        Granted to        Exercise
                                                    Options        Employees in       Price Per
     Executive Name        Title                    Granted         Fiscal 2001        Share       Grant Date
     Anthony A. Caputo     CEO                      25,000              3.0            8.531       4/03/2001
                                                    36,600              4.4            11.75       5/16/2001
                                                   150,000             18.2             5.85      10/01/2001
     Sean R. Price         SVP world sales          22,000              2.7            11.75       5/16/2001
     William F. Geritz     SVP business develop     22,000              2.7            11.75       5/16/2001
     Carole D. Argo        SVP CFO                  45,000              5.5             5.85      10/01/2001
                                                    17,000              2.1            11.75       5/16/2001
     Michael M. Kaplan     SVP CTO                  12,100              1.5            11.75       5/16/2001
     Chris Fedde           SVP enterprise                                                          4/03/2001
                           security                  25,000              --            8.531
     Peter Reed            VP semiconductor                                                        1/08/2001
                           develop                    5,000              --           33.625

         69.      The following graphs illustrate the auspicious timing of some of the grants listed

above:




         70.      SafeNet’s January 8, 2001 grant of at least 5,000 options to Vice President Peter

Reed now appears to have been backdated, as the Company’s stock price tumbled steadily before

the grant and increased within days thereafter. On January 1, 2001, SafeNet’s stock price closed

at $47.00, but on the purported grant date it closed well below that at $33.62. The very next day,


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the stock price rose to close at $34.00, then continued to rise steadily, without dropping, to hit a

close of $47.00 just a little more than two weeks later.



                                                                              4/3/01 option grant



                                     46.0000

                                     41.0000
       SafeNet Closing Stock Price




                                     36.0000

                                     31.0000

                                     26.0000

                                     21.0000

                                     16.0000

                                     11.0000
                                                                                         4/3/2001
                                                                                          8.5310
                                      6.0000
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                                                                                                Date                               4/


         71.                             Both the SEC civil complaint and Argo’s criminal indictment charged defendant

Argo with securities fraud based on April 3, 2001 grants. As set forth in these documents, the

25,000 options granted to defendant Caputo had been approved by the Compensation Committee

on January 19, 2001 and ratified by the board of directors on January 22, 2001, but were

“pocketed” until mid-April 2001 as SafeNet’s share price dropped from over $46 to $8.53. In

mid-April, Argo and others re-priced the options as of April 3, 2001 so Caputo could receive a

beneficial exercise price. At that time in mid-April, at Argo’s direction, a UWC for Caputo’s

grant was prepared and sent to the Compensation Committee, again, with a date of April 3, 2001.

Both Argo and the Compensation Committee knew that the grant had been approved in January,



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not April. Defendant Caputo knew that his option package had been approved earlier in 2001,

and therefore knew that his options should not have been dated with an exercise price as of April

3, 2001.

                                                                                   5/16/01 option grant

                                            18.0000

                                            17.0000
             SafeNet Closing Stock Price




                                            16.0000

                                            15.0000

                                            14.0000

                                            13.0000

                                            12.0000                                         5/16/2001
                                                                                             11.7500
                                            11.0000

                                            10.0000

                                             9.0000
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                                            4/



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                                                                                                       Date


       72.                                 SafeNet’s May 16, 2001 grants of at least 109,700 options to Defendants Caputo,

Argo and other SafeNet executives were backdated, as evidenced by the fact that they were

issued on a date when SafeNet shares were trading at a conspicuously low point just after the

Company’s stock price tumbled dramatically, and just before it increased sharply. SafeNet’s

stock closed at $16.20 on May 1, 2001 two weeks before the alleged grant date on May 16 -- the

only day that month on which SafeNet shares closed below $12 (at $11.75). In the days

following the grants, SafeNet’s stock price increased by more than 25%.




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                                                                                   10/1/01 option grant

                                           11.0000



                                           10.0000
             SafeNet Closing Stock Price
                                            9.0000



                                            8.0000



                                            7.0000



                                            6.0000

                                                                                                 10/1/2001
                                                                                                  5.8500
                                            5.0000
                                                   01




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                                                                                                        Date


       73.                            Both the SEC civil complaint and Argo’s criminal indictment also charged

defendant Argo with securities fraud based on the October 1, 2001 grants. During the allocution

of her guilty plea, Argo admitted the following about the October 1 grants:

                                      In mid-2000 I became responsible for overseeing SafeNet’s
                                      process for granting and documenting stock options. Sometime in
                                      December 2001 or early January 2002, SafeNet’s compensation
                                      committee approved a grant of stock options to me and two other
                                      individuals, one of whom was the company’s CEO. The CEO
                                      asked me to report October 1, 2001, as the date on which his
                                      options had been approved. SafeNet’s stock price on October 1,
                                      2001 was its lowest stock price in the quarter. I agreed to
                                      document the CEO’s options as if they have been granted on
                                      October 1, 2001. I did so, and the compensation committee
                                      approved this treatment, even though I and others knew that the
                                      compensation committee had not granted the options on the date.
                                      I similarly documented the options granted to me and the other
                                      individual as if they had been granted on October 1, 2001, even
                                      though I knew this was untrue.

                                              By using October 1 as the grant date, SafeNet avoided
                                      reporting any compensation expense. I knew that if we had used
                                      the correct grant date with the October 1 exercise price, SafeNet
                                      would have been required to record the difference between the
                                      exercise price and the higher stock price on the actual grant date as


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                 a compensation expense in its financial statements. As a result of
                 using October 1, 2001 as the grant date, SafeNet’s public filings
                 included inaccurate compensation expense information. These
                 filings included the 2002 10-K/A which I signed and certified as
                 accurate, and which was filed with the SEC on April 29, 2003.
                 These filings were sent to investors around the country, including
                 the Southern District of New York. In causing these filings to be
                 inaccurate, I acted willfully and with intent to defraud.

       74.       On December 30, 2006, SafeNet re-priced (to a higher level) the April 3 and

October 1 options that had been issued to defendants Argo and Caputo, thereby effectively

conceding that these options had been improperly backdated.

       75.       2002 Option Grants: The following chart shows the amounts and exercise prices

of some of SafeNet’s stock option grants to officers and employees during fiscal year 2002.

                                                    # Securities   % of Total Options
                                                    Underlying        Granted to        Exercise
                                                      Options        Employees in       Price Per
     Executive Name       Title                       Granted         Fiscal 2002        Share      Grant Date
     Anthony A. Caputo    CEO                        100,000            19.60            13.75      10/8/2002
     Sean R. Price        SVP world sales             20,000            3.90             11.47      2/11/2002
     Chris Fedde          SVP enterprise security     15,000            2.90             11.47      2/11/2002
     Cees Jan Koomen      SVP embed security          25,000            4.90             13.46      4/10/2002
                                                      37,500            7.30             13.46      4/10/2002
                                                      37,500            7.30             13.75      10/8/2002



       76.       The following graph, which marks the date of subsequently disclosed option

grants against SafeNet’s closing share prices, combined with Defendants’ recent disclosures,

illustrates that SafeNet’s 2002 stock option grants were backdated.




                                                    -34-
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 29.0


 26.5


 24.0


 21.5


 19.0


 16.5


 14.0


 11.5


  9.0
        1/2/2002

                    1/16/2002

                                1/30/2002

                                            2/13/2002

                                                        2/27/2002

                                                                    3/13/2002

                                                                                3/27/2002

                                                                                            4/10/2002

                                                                                                        4/24/2002

                                                                                                                    5/8/2002

                                                                                                                               5/22/2002

                                                                                                                                           6/5/2002

                                                                                                                                                      6/19/2002

                                                                                                                                                                  7/3/2002

                                                                                                                                                                             7/17/2002

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                                                                                                                                                                                                                                                                              11/6/2002

                                                                                                                                                                                                                                                                                          11/20/2002

                                                                                                                                                                                                                                                                                                       12/4/2002

                                                                                                                                                                                                                                                                                                                   12/18/2002
                   77.                      Based on Defendants’ recent disclosures and the “fortuitous” timing of the

purported grant date, SafeNet’s February 11, 2002 grant of 20,000 options to Mr. Price and

15,000 to Senior Vice President Chris Fedde were clearly backdated, as the Company’s stock

price increased markedly in the days that followed, from a closing price of $11.47 on the

supposed date of the grant to $14.48 on February 13, 2002, a mere two days after the supposed

grant. SafeNet shares continued to trade higher over the next three months. SafeNet’s grants to

Senior Vice President Cees Jan Koomen on April 10, 2002 were similarly backdated, as

evidenced by the fact that SafeNet’s stock price increased from the $13.46 closing price on the

supposed grant date to a closing price of $16.00 a mere seven days later, on April 17, 2002.

Similarly, SafeNet’s October 8, 2002 grant of 100,000 options to defendant Caputo and 37,500

options to Jan Koomen at an exercise price of $13.75 was backdated, as evidenced by the fact

that the Company’s stock price (having fallen in the two months preceding the grant) rose nearly

30% the 10 trading day immediately following the grant, reaching a high of $29.00 on November

29, 2002.




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        78.       Both the SEC civil complaint and Argo’s criminal indictment, which she pled

guilty to, also charged defendant Argo with securities fraud based on the October 8, 2002 grant.

This grant was not actually approved by the Compensation Committee until on or about October

24, 2002. The Compensation Committee knew that it implemented the October 8 grant, at a

strike price of $13.75, by executing a UWC weeks later on October 24, 2002, when SafeNet’s

stock was trading at $18.75.

        79.       The 2002 option grants further illustrate the extraordinarily suspicious pattern of

SafeNet executives purportedly receiving options immediately in advance of upswings in

SafeNet’s stock price, and never receiving options in advance of serious declines,

notwithstanding SafeNet’s volatile stock price movements throughout the Class Period.

        80.       2003 Option Grants: The following chart shows the amounts and exercise prices

of some of SafeNet’s stock option grants to executives and directors during fiscal year 2003.

                                                    # Securities   % of Total Options
                                                    Underlying        Granted to
                                                      Options        Employees in       Exercise Price
    Executive Name        Title                       Granted         Fiscal 2003        Per Share       Grant Date
    Anthony A. Caputo     CEO                        100,000             10.8             $16.47         2/27/2003
    Carole D. Argo        SVP CFO                     40,000             4.30             16.47          2/27/2003
                                                      10,000             1.10             31.35          7/17/2003
    Sean R. Price         SVP world sales             10,000             1.10             16.47          2/27/2003
                                                      10,000             1.10             31.35          7/17/2003
    Chris Fedde           SVP enterprise security     30,000              3.2              16.47         2/27/2003
                                                      30,000              3.2             31.35          7/17/2003
    David Potts           SVP embed security         100,000             10.8             20.97          4/14/2003
    Shelley Anderson      Director                    10,000               --             16.47          2/27/2003
    Thomas A. Brooks      Director                    10,000               --             16.47          2/27/2003
    Andrew E. Clark       Director                    10,000               --             16.47          2/27/2003
    Shelley Harrison      Director                    10,000               --             16.47          2/27/2003
                                                      50,000               --             23.84          5/1/2003
                                                      10,000               --             29.00          6/18/2003
    Ira Hunt              Director                    10,000               --             16.47          2/27/2003
    Bruce R. Thaw         Director                    10,000               --             16.47          2/27/2003


        81.       The following graph, combined with Defendants’ recent disclosures, illustrates

that at least two of SafeNet’s 2003 stock option grants were backdated.


                                                     -36-
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 45.0

 42.5

 40.0

 37.5

 35.0

 32.5

 30.0

 27.5

 25.0

 22.5

 20.0

 17.5

 15.0
        1/2/2003

                    1/16/2003

                                1/30/2003

                                            2/13/2003

                                                        2/27/2003

                                                                    3/13/2003

                                                                                3/27/2003

                                                                                            4/10/2003

                                                                                                        4/24/2003

                                                                                                                    5/8/2003

                                                                                                                               5/22/2003

                                                                                                                                           6/5/2003

                                                                                                                                                      6/19/2003

                                                                                                                                                                  7/3/2003

                                                                                                                                                                             7/17/2003

                                                                                                                                                                                         7/31/2003

                                                                                                                                                                                                     8/14/2003

                                                                                                                                                                                                                 8/28/2003

                                                                                                                                                                                                                             9/11/2003

                                                                                                                                                                                                                                         9/25/2003

                                                                                                                                                                                                                                                     10/9/2003

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                                                                                                                                                                                                                                                                              11/6/2003

                                                                                                                                                                                                                                                                                          11/20/2003

                                                                                                                                                                                                                                                                                                       12/4/2003

                                                                                                                                                                                                                                                                                                                   12/18/2003
                   82.                      SafeNet’s February 27, 2003 grant of 100,000 options to defendant Caputo and an

additional 80,000 options among Senior Vice President Sean Price, Senior Vice President Fedde

and defendants Argo were backdated. These options were priced at the lowest closing price for

SafeNet’s stock in all of 2003. The Company’s stock price rose significantly over the following

few weeks. Further, the timing of the option grants bears no apparent relation to the timing of

grants in prior years.

                   83.                      Both the SEC civil complaint and Argo’s criminal indictment, which she pled

guilty to, also charged defendant Argo with securities fraud based on the February 27, 2003

grants. These grants were backdated after Argo pocketed a proposed compensation package for

executive officers proposed by Caputo and approved by the Compensation Committee in January

2003, and cherry-picked a strike price based on the quarterly low on February 27, 2003 of

$16.47. The Compensation Committee and defendant Caputo knew that the grants were not

approved on February 27, 2003.




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        84.         Defendant Argo was also prosecuted by the SEC and United States Attorney for

backdating the July 17, 2003 grants, which has an exercise price of $31.35. Specifically, on or

about September 15, 2003, Argo e-mailed the Compensation Committee seeking approval for

various grants and faxed a UWC to the committee backdated to July 17, 2003. However, the

UWC for the July 17, 2003 grants was not executed by the Compensation Committee until on or

about September 16, 2003 when the closing price of SafeNet’s stock had risen nearly 25% since

July, to $38.85.

        85.         On December 30, 2006, SafeNet increased the prices of the February 27 and July

17, 2001 options that had been issued to defendants Argo and Caputo; thereby effectively

conceding that these options had been improperly backdated.

        86.         2004 Option Grants: The following chart shows the amounts and exercise prices

of some of SafeNet’s stock option grants during fiscal year 2004.

                                                     # Securities   % of Total Options
                                                     Underlying        Granted to
                                                       Options        Employees in       Exercise Price
   Executive Name          Title                       Granted         Fiscal 2004        Per Share       Grant Date
   Anthony A. Caputo       CEO                        100,000            10.60               21.7         5/19/2004
   Carole D. Argo          President COO              100,000            10.60               21.7         5/19/2004
   Kenneth A. Mueller      SVP CFO                    100,000            10.60              22.19         7/28/2004
   Chris Fedde             SVP enterprise security     25,000             2.60               21.7         5/19/2004
   David Potts             SVP embed security          10,000             1.10               21.7         5/19/2004
   Shelley A. Harrison     Director, Consultant        50,000             1.95               21.7         5/19/2004
                                                       20,000              --               24.35          6/3/2004


        87.         The following graph, combined with Defendants’ recent disclosures, illustrates

that SafeNet’s 2004 stock option grants were backdated.




                                                      -38-
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 41.5


 39.0


 36.5


 34.0


 31.5


 29.0


 26.5


 24.0


 21.5


 19.0
        1/2/2004

                    1/16/2004

                                1/30/2004

                                            2/13/2004

                                                        2/27/2004

                                                                    3/12/2004

                                                                                3/26/2004

                                                                                            4/9/2004

                                                                                                       4/23/2004

                                                                                                                   5/7/2004

                                                                                                                              5/21/2004

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                                                                                                                                                                                                                                                    10/8/2004

                                                                                                                                                                                                                                                                10/22/2004

                                                                                                                                                                                                                                                                             11/5/2004

                                                                                                                                                                                                                                                                                         11/19/2004

                                                                                                                                                                                                                                                                                                      12/3/2004

                                                                                                                                                                                                                                                                                                                  12/17/2004

                                                                                                                                                                                                                                                                                                                               12/31/2004
                   88.                      SafeNet’s May 19, 2004 grants of 235,000 options, including 100,000 to

defendant Caputo, 100,000 to defendant Argo, 25,000 to Fedde and an additional 10,000 to

Senior Vice President David Potts, were all backdated. These options were priced near the

lowest closing price for SafeNet’s stock in all of 2004, and SafeNet’s stock price rose

significantly in the weeks and months following these grants. SafeNet’s July 28, 2004 grant of

100,000 options to defendant Mueller was also backdated. The options were “granted” at the

low point for SafeNet stock for the third quarter of 2004, and immediately prior to SafeNet’s

second quarter 2004 earnings release, which was very favorable and which drove SafeNet’s

stock price up 26% from the July 28 closing price of $22.19 (which was the exercise price for

Mueller’s options) to a July 29 closing price of $27.96 just one day later.

                   89.                      Argo was also criminally charged with securities fraud arising from the July 28,

2004 grant. As alleged in the Indictment, in a September 15, 2004 e-mail to defendant Mueller,

Argo instructed Mueller to backdate the options he received upon his hiring to the low price for

the quarter, July 28, 2004. The e-mail explained:




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              Our past practice has been to aggregate options for performance
              awards or new hires in the quarter and pick the best price after
              the hire date. We then send the unanimous consent to the comp
              committee and the options are approved. I think this is a good
              practice because of the volatility of our stock price. Who wants to
              have an option priced on your start date and then have the option
              underwater a month later when you are notified of the award price.
              (Emphasis added.)

The Compensation Committee subsequently approved the July grant by signing a UWC

backdated to July 28, 2004. The final committee member did not sign and return the UWC until

on or about October 9, 2004, when SafeNet’s stock price had risen to $28.45.

       90.    As alleged in the Indictment, defendant Argo also backdated a large number of

options to various employees in the third and fourth quarters of 2004, using mostly a date of

September 27, 2004, when the stock was trading at $25.16. The Compensation Committee did

not approve these grants until about February 2005, by which time SafeNet’s stock price had

increased to more than 25% to $31.52. However, these improperly backdated grants were

discovered by SafeNet’s outside auditors. The auditors directed Argo and SafeNet to record and

report a compensation charge for these grants.        Neither the Officer Defendants nor the

Compensation Committee Defendants alerted the auditors to SafeNet’s numerous prior

backdated grants.

       91.    On December 30, 2006, SafeNet increased the exercise prices of the May 19 and

July 28 2004 options that had been issued to defendants Argo, Caputo and Mueller, thereby

effectively conceding that the options had been improperly backdated.

       92.    2005 Option Grants: The following chart shows the amounts and exercise prices

of some of SafeNet’s stock option grants during fiscal year 2005.




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                                                                                                                                                     # Securities                       % of Total Options
                                                                                                                                                     Underlying                            Granted to
                                                                                                                                                       Options                            Employees in                                             Exercise Price
   Executive Name                                                     Title                                                                            Granted                             Fiscal 2005                                              Per Share                                           Grant Date
   Anthony A. Caputo                                                  CEO                                                                                100,000                                        7.90                                               29.7                                   9/29/2005
   Carole D. Argo                                                     President COO                                                                       50,000                                        3.90                                               29.7                                   9/29/2005
                                                                                                                                                          50,000                                         --                                               31.78                                    6/1/2005
   Kenneth A. Mueller                                                 SVP CFO                                                                             50,000                                        3.90                                               29.7                                   9/29/2005
   Chris Fedde                                                        SVP enterprise security                                                             25,000                                        1.95                                               29.7                                   9/29/2005
   Steve Lesem                                                        SVP worldwide sales                                                                100,000                                        7.90                                              31.78                                   6/1/2005
                                                                                                                                                          15,000                                        1.20                                               29.7                                   9/29/2005
   Shelley A. Harrison                                                Director, Consultant                                                                25,000                                        3.90                                               29.7                                   9/29/2005
                                                                                                                                                          20,000                                         --                                               34.30                                    8/1/2005


                  93.                      The following graph illustrates SafeNet’s 2005 backdated stock option grants.

40.0


37.5


35.0


32.5


30.0


27.5


25.0


22.5
       1/3/2005

                   1/17/2005

                               1/31/2005

                                           2/14/2005

                                                       2/28/2005

                                                                   3/14/2005

                                                                               3/28/2005

                                                                                           4/11/2005

                                                                                                       4/25/2005

                                                                                                                   5/9/2005

                                                                                                                              5/23/2005

                                                                                                                                          6/6/2005

                                                                                                                                                     6/20/2005

                                                                                                                                                                 7/4/2005

                                                                                                                                                                            7/18/2005

                                                                                                                                                                                        8/1/2005

                                                                                                                                                                                                   8/15/2005

                                                                                                                                                                                                               8/29/2005

                                                                                                                                                                                                                           9/12/2005

                                                                                                                                                                                                                                       9/26/2005

                                                                                                                                                                                                                                                     10/10/2005

                                                                                                                                                                                                                                                                  10/24/2005

                                                                                                                                                                                                                                                                               11/7/2005

                                                                                                                                                                                                                                                                                           11/21/2005

                                                                                                                                                                                                                                                                                                          12/5/2005

                                                                                                                                                                                                                                                                                                                      12/19/2005




                  94.                      SafeNet’s June 1, 2005 grant of 150,000 options to defendant Argo and Senior

Vice President Steve Lessem now appears to have been backdated, as the Company’s stock price

increased from a close of $31.78 on the date of the grant to $34.06 by the end of the month.

SafeNet’s backdating of grants of options to September 29, 2005 was even more egregious for

the following reasons: On September 29, 2005, SafeNet announced a $150 million contract with

the Department of Defense to deliver its new KIV-7M link encryptor (the “KIV-7M Contract”).


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During the public conference call disclosing this new contract (the “September 29 Call”),

defendants Caputo and Mueller touted the benefits of the KIV-7M Contract. Mr. Caputo stated

as follows:

              Today we have announced that SafeNet has been awarded a $150
              million indefinite delivery, indefinite quantity contract by the
              U.S. Government’s Department of Defense for our new KIV-7M
              top-secret grade Encryptor.         We’re also enthusiastically
              announcing that we have received the first delivery order against
              this contract. The delivery order valued at about $18 million is
              now in our backlog…. And based on this firm backlog and a
              generally positive view across our business, we are today
              reaffirming our full year guidance for 2005.

              … [W]e’re thrilled to be able to announce this contract. And we
              want to share its significance with you…. [I]t’s obviously the
              largest contract in our Company history. And it’s three times
              larger than we were comfortable in talking about in terms of our
              expectations…. We’re also excited about the fact that this first
              order, and we do believe it’s the first of what will be several of
              these orders. This order at $150 million represents approximately
              ½ of our six-year forecast for the Link Encryptor version of this
              product.

              …. And then finally, one other thing that I would like to tell you
              about, though we cannot be specific with numbers here, although
              this contract was very, very large, as I mentioned, three times our
              expectation. The unit pricing and hence the margins on this
              product are much better that previous KIV-7M products. And as
              a result, we can look forward to improving margins as we go
              forward. (Emphases added).

       95.    In reaction to SafeNet’s disclosure of the KIV-7M Contract, the market sent

SafeNet stock soaring 22%, from $29.70 per share on September 29, 2005 to $36.31 per share by

September 30, 2005, on volume of 5,010,800 shares traded, which was more than 13 times the

average daily volume during the period from July 1, 2005 through September 29, 2005.

       96.    On December 30, 2006, SafeNet increased the prices of the June 1 and September

29, 2005 options that had been issued to defendants Argo, Mueller and Caputo, thereby

effectively conceding that these options had been improperly back-dated.


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               3.      SafeNet’s Misrepresentations Concerning Its Stock Options Grants
                       and Related Accounting

       97.     As further detailed below in the section entitled “Class Period False and

Misleading Statements” (Section VI, ¶¶ 137 to 211), and in Counts I, V and VI, because SafeNet

failed to recognize compensation expenses during the Class Period on the issuance of tens of

millions of dollars worth of stock options that were backdated, numerous SafeNet statements

made during the Class Period were materially false or misleading, including all of the following:

(1) SafeNet’s Proxy Statements for the years 2003 through 2005; (2) the Rainbow Registration

Statement and Rainbow Proxy/Prospectus, and (3) SafeNet’s Form 10-Ks and Form 10-Qs

throughout the Class Period. These documents materially misrepresented the truth or otherwise

materially misled investors by representing, inter alia, that:

               (a)     SafeNet granted its options at prices that were not less than the fair market

value on the date of the grant, when in fact they were routinely granted at prices well below the

market price on the dates of the grants;

               (b)     SafeNet was required under GAAP, including APB No. 25, to recognize

any difference in value between the option price and the price of SafeNet stock on the grant date

as an expense, when in fact SafeNet failed to do so;

               (c)     the ability of option recipients to exercise their options at a profit was

dependant on the Company’s future successful performance and that stock options were granted

in a manner that aligned executives’ interests with those of SafeNet’s shareholders, when in fact

SafeNet executives were being granted “in the money” stock options that included built-in

profits and benefits that investors could never enjoy, and that came at the detriment of the

Company and the investing public;




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                (d)     that the Company’s internal financial, accounting and disclosure controls

were adequately designed and functioning so as to prevent fraud or manipulation, when this was

not the case;

                (e)     that SafeNet’s financial reports and statements fairly presented its

financial condition and results in accordance with GAAP, when this was not the case; and

                (f)     that SafeNet’s stock option plans had been voted for and adopted by its

Board and its shareholders, and that therefore the shares issued by the Company to cover options

grants were validly issued and would not dilute existing stockholders’ ownership stake in

SafeNet, when in fact SafeNet options practices routinely violated the terms of SafeNet’s stock

option plans and excessively diluted existing stockholder equity by allowing option recipients to

garner the unearned benefits of options that were “in the money” when issued (whereas in

contract, issuance of “at the money” options would have a materially less dilutive effect on other

shareholders)

       98.      In addition, by not recording appropriate compensation expense on backdated

stock option grants, SafeNet’s class period financial and other statements also failed to disclose

that SafeNet was exposing itself to significant liabilities for unpaid income tax, interest and

penalties, as well as the significant cost, expense and collateral damage (in the form of lost

goodwill, restatement and investigation costs, and significantly impaired investor confidence)

from a massive restatement, internal investigation and multiple government investigations.

       99.      The following table shows an estimate of the highly material impact that properly

recording compensation expenses would have had on two key metrics of financial results that

SafeNet reported during the Class Period based on information produced in defendant Argo’s

criminal proceedings:




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                                              Operating Income

                                                     Actual Operating Income (Loss)   Percentage Income
                 Reported Operating Income (Loss)
     Year                                            With Compensation Expenses       Overstated (or Loss
                             (In thousands)
                                                             (in thousands)           Understated

     2002                      ($1,544)                             ($3,772)                  144%

     2003                      ($5,277)                             ($8,686)                   65%

     2004                       $1,077                              ($1,599)                  248%

     2005                         $146                              ($3,020)                 2,168%



                                                Net Income

                                                     Actual Net Income (Loss) With    Percentage Income
                 Reported Net Income (Loss)
     Year                                            Compensation Expenses            Overstated (or Loss
                          (in thousands)
                                                                 (in thousands)       Understated

     2002                        ($785)                             ($2,790)                  355%

     2003                      ($6,088)                             ($8,263)                   36%

     2004                       $2,183                                 $631                    71%

     2005                       $3,028                               $1,432                    53%




V.     SAFENET’S WRONGFUL CONDUCT WITH RESPECT TO REPORTING
       FRAUDULENTLY INFLATED REVENUE (AND FRAUDULENTLY
       UNDERSTATED EXPENSES) IN CONNECTION WITH THE SALE OF
       SAFENET’S GOODS AND SERVICES

       A.     Background Regarding SafeNet’s Scheme to
              Inflate Revenue and Manipulate Earnings

       100.   In addition to engaging in the improper conduct relating to options backdating

discussed above, throughout the Class Period SafeNet and the Officer Defendants also engaged

in pervasive improper revenue recognition activities and earnings manipulations to enable the

Company to meet Wall Street analysts’ expectations. SafeNet and the Officer Defendants knew

or recklessly disregarded that this fraudulent conduct during the Class Period violated GAAP and

caused SafeNet’s Class Period financial statements to further materially overstate the Company’s

true revenue and earnings.




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       101.   SafeNet regularly had trouble meeting earnings expectations during the Class

Period. For example, according to a senior SafeNet technology executive during the Class

Period, Confidential Witness No. 1 (“CW 1”), CW 1’s division was “not keeping up with its

numbers’ (i.e., not making its numbers), with the result that during the last two weeks of each

quarter SafeNet was “always running around trying to get its revenue to look good for the

quarter.” Similarly, according to a former senior SafeNet accounting executive, Confidential

Witness No. 2 (“CW 2”), who reported directly to defendant Mueller during the Class Period,

there was exceptional pressure during the Class Period to try close deals and boost revenue -- a

situation that the witness attributed to defendants Caputo, Argo and Mueller being “in denial”

over the erosion in SafeNet’s business. Similarly, according to Confidential Witness No. 3

(“CW 3”), a former lead cost control and program analyst at SafeNet’s Mykotronx division

(which handled many of SafeNet’s largest long-term contracts), SafeNet was “always

understating their budgets and not coming in on budget.” And Confidential Witness No. 4 (“CW

4”), another former senior SafeNet manager who was responsible for trying to ensure that

SafeNet’s inventory matched up with projected orders every quarter, noted that the pressure to

try to meet the quarterly numbers that SafeNet provided to Wall Street during the Class Period

was such that at the end of its fiscal quarters the Company would resort to shipping out (and

recognizing revenue on) “whatever [product] was not bolted down.”

       102.   To facilitate reporting artificially inflated earnings and the improper recognition

of revenue to meet Wall Street expectations, however, throughout the Class Period the Officer

Defendants – Caputo, Argo and Mueller – caused SafeNet to engage in various accounting

manipulations, and established a “tone at the top” that was intolerant of those that questioned

their conduct. For example, according to CW 2, quarter-ends at SafeNet “were unlike anything




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[that CW 2] had ever seen,” and CW 2 would be told by defendant Mueller to “go back and find

new numbers” when the earnings that CW 2 presented were not in-line with expectations; CW 2

would thereafter present multiple “iterations” of “new numbers” until Mueller would “intervene

… to get the numbers where they [Mueller, Caputo and Argo] wanted.” CW 2 also noted that

SafeNet’s revenue recognition policies were either non-existent or left purposefully ambiguous

and vague to allow Argo and other senior officers to invent revenue justifications on an ad hoc

basis. CW 2 further explained that these senior Officer Defendants were under pressure because

they “made unreasonable promises to the Street [i.e., Wall Street].” Soon after CW 2 was hired

in the second half of 2004, CW 2 stated that CW 2 was prevented from “digging in my heels” on

SafeNet’s numbers and accounting procedures because defendant Mueller cut this witness out of

the process of putting SafeNet’s financial numbers together. CW 2 was eventually terminated by

SafeNet’s senior management in July 2005 for “unwillingness to take part in” the improper

activities occurring in SafeNet’s accounting department.

       103.   Numerous other witnesses confirmed that defendants Caputo and Argo (with the

assistance of their loyalist, defendant Mueller), in the words of CW 1, “could do whatever they

wanted.”   In addition, as noted above and below, several confidential witnesses advised

Plaintiffs’ counsel that they and/or others were terminated by SafeNet for challenging its

improper revenue recognition or other earnings-inflating accounting practices.        Similarly,

Confidential Witness No. 5 (“CW 5”), a former senior Rainbow executive who participated in

the “due diligence” meetings with defendants Caputo and Argo (but who ultimately decided to

leave SafeNet shortly after Rainbow merged into it), stated that Caputo and Argo “did whatever

they wanted,” and further stated that “even if someone told Tony [Caputo] or Carole [Argo] that

something was wrong or illegal, the person would have to do it anyway or be fired.”




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       104.    As described in the sections below, the Officer Defendants caused SafeNet to

engage primarily in at least the following four accounting practices in violation of GAAP – in

addition to their previously discussed wrongful options-related practices – in order to

fraudulently inflate the Company’s reported financial performance: (a) manipulating SafeNet’s

accounting for long-term development contracts to artificially inflate earnings; (b) improperly

recognizing revenue on “bill and hold” transactions; (c) improperly recognizing revenue on the

shipment of goods that were unfinished, incomplete or otherwise not ready to be shipped, or that

were subject to customer acceptance contingencies or other obligations that precluded revenue

recognition at the time of shipment; and (d) selling future royalty payments at a steep discount in

order to bolster current earnings.

       105.    In addition, as CW 5 also stated, at due diligence meetings in early 2004

preceding the Rainbow acquisition that CW 5 attended with Rainbow’s CFO and defendants

Caputo and Argo, Rainbow’s CFO questioned defendants Caputo and Argo about SafeNet’s

shipping processes and “how they did their financials.” According to CW 5, Rainbow’s CFO

was “very outspoken” about how defendants Caputo and Argo should not be recognizing

revenue in the manner they were, but that defendants Caputo and Argo insisted that SafeNet had

always recognized revenue the way that defendants Caputo and Argo were doing it, and would

continue to do so. Because CW 5 was not a CPA and not responsible for revenue recognition

issues, CW 5 did not recall detailed specifics of this early 2004 discussion; but based on the

discussion CW 5 recalled, CW 5 concluded that some of SafeNet’s revenue recognition practices

were “borderline fraudulent” and “very suspect at best.”




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       B.     SafeNet’s Non-Options Accounting Manipulations

              1.      Improper Accounting for Long-Term Development Contracts

       106.   SafeNet derived a material portion of its revenues during the Class Period from

certain long-term contracts through which SafeNet developed high assurance encryption

technology and other security-related products and services for its customers, including

government agencies or divisions. SafeNet’s long term development contracts were for both

hardware and software products.

       107.   Under GAAP, revenue recognition on SafeNet’s long-term development contracts

was ultimately governed by American Institute of Certified Public Accountants (“AICPA”)

Statement of Position (“SOP”) No. 81-1 (“SOP 81-1”), Accounting for Performance of

Construction-Type and Certain Production-Type Contracts, AICPA SOP No. 97-2, Software

Revenue Recognition (“SOP 97-2”).        SOP 97-2 provides the main authoritative guidance

regarding revenue recognition for software transactions. SOP 97-2, however, incorporates SOP

81-1 in certain circumstances. Specifically, SOP 97-2 states that if an arrangement to deliver

software or a software system (either alone or together with other products or services) requires

significant production, modification or customization of software – which was typically the case

with SafeNet’s long-term development contracts – the entire arrangement should be accounted

for in conformity with SOP 81-1.

       108.   Under SOP 81-1, there are two generally accepted methods for revenue

recognition on long-term contracts. One method is the “completed contract” method, where all

revenues, costs and income are recognized only at the completion of the project (which is

ordinarily at the end of development). However, the more prevalent method is the “percentage

of completion” method, where the contractor/developer recognizes revenue (and associated

costs) over the life of the contract based on the degree of completion. For example, generally


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upon 50% completion of the work called for under a long-term development contract, the

contractor (e.g. SafeNet) recognizes 50% of the revenue on the project concurrently with

recognizing 50% of the expected total costs on the project which results in the contractor

recognizing 50% of the estimated total profit (i.e. earnings) on the contract.3

        109.     SafeNet purported to employ the “percentage of completion” method of contract

accounting for its long-term development contracts in accordance with SOP 81-1 and SOP 97-2.

As explained in each of SafeNet’s quarterly and annual reports and filed with the SEC on Forms

10-Q and 10-K, respectively, during the Class Period:

                 We recognize revenue and profit as work on long-term contracts
                 progresses using the percentage of completion method of
                 accounting, which relies on estimates of total expected contract
                 revenues and costs. We follow this method because reasonably
                 dependable estimates of the revenue and costs applicable to
                 various stages of a contract can be made. Because the financial
                 reporting of these contracts depends on estimates, which are
                 assessed continually during the term of the contract, recognized
                 revenues and profit are subject to revisions as the contract
                 progresses to completion. Revisions in profit estimates are
                 reflected in the period in which the facts that give rise to the
                 revision become known. Accordingly, favorable changes in
                 estimates result in additional profit recognition, and unfavorable
                 changes in estimates result in the reversal of previously recognized
                 revenue and profits. (Emphases added)

        110.     Moreover, with respect to certain contracts, SafeNet purported to employ a

“percentage of completion” accounting model based on objectively defined contract milestones.

As stated in each of SafeNet’s quarterly reports filed on Form 10-Q during the Class Period:

                 Revenues that are earned under long-term contracts to develop
                 high assurance encryption technology are recognized using … the
                 percentage-of-completion method. Progress to completion is
                 principally measured using contract milestones. Management
                 considers contract milestones to be the best available measure of


3
 However, for a contract on which a loss is anticipated, SOP 81-1 requires the contractor to recognize the entire
anticipated loss as soon as the loss becomes evident.


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               progress on these contracts since each milestone contains
               customer-specific acceptance criteria. (Emphasis added.)

       111.    In other words, under this method, SafeNet would recognize a portion of the total

expected benefit from a long–term contract – i.e., a portion of the total expected revenue – at

such time as certain milestones occurred during the course of product development, on a

percentage basis. For example, if achieving the first milestone (such as obtaining customer

acceptance for a particular stage of the contract work) represented 20% completion of the total

work to be performed under a long-term contract, SafeNet would book 20% of the total expected

revenue upon reaching that first milestone.       That revenue would then be reduced by the

proportionate costs to reach that milestone, the difference being the income earned. Thus, in

projecting earnings (which Wall Street analysts and investors would in turn rely on), SafeNet

would purport to estimate the future costs of delivering the products and services contemplated

under the long-term agreement and then “match” the anticipated benefits of each contract with

those estimated costs to determine the gross margin and profitability of the contract.

       112.    As represented to investors, under “percentage of completion” accounting based

on milestones, SafeNet would only record revenue upon meeting objective milestones as

contained in the particular contract. As each milestone was reached, under GAAP SafeNet was

required to revise its estimated total costs to reflect actual costs incurred and any other factors

that might affect future costs or cost estimates. Because the expected benefit under a long-term

contract was generally fixed, any revision to costs (whether to actual costs related to the current

milestone or to estimated costs related to the cost of achieving future milestones including

project completion) in a given quarter would have a dollar-for-dollar impact on SafeNet’s

reported earnings (and a concomitant effect on gross margins) for that quarter.




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       113.    Moreover, in 2005 (as SafeNet only later disclosed), despite having represented to

investors that it employed “percentage of completion” revenue recognition based on milestones,

SafeNet abandoned its practice of relying on objective milestones as listed in its contracts, in

favor of recognizing revenue on the basis of costs incurred in relation to completion of the

contract. As stated in SafeNet’s 2005 Form 10-K (filed in March 2006):

               Revenues that are earned under certain long-term contracts to
               develop high assurance encryption technology are recognized
               using contract accounting and included in product revenue. Under
               contract accounting, revenue from these arrangements is
               recognized using the percentage-of-completion method. Progress
               to completion is measured using either labor hours or contract
               milestones based on the Company’s determination of which
               would be the best available measure of progress on the contracts.
               (Emphasis added.)

       114.    In sum, by not later than 2005 SafeNet had started booking a percentage of the

revenue on certain of its large encryption contracts based on the costs incurred criteria, which

allowed it to record revenue before hitting objective contractual milestones. In other words,

SafeNet’s new revenue recognition methodology allowed the Company to book revenue based

on percentage of budgeted costs incurred irrespective of having met particular milestones: for

example, if SafeNet estimated that it had incurred 50% of the projects total estimated costs, then

it could book 50% of the expected revenue.

       115.    Because SafeNet determined its own cost estimates, the new methodology gave

the Company an increased opportunity -- which it seized -- to inflate its reported earnings by

underestimating the total costs of the project, which would result in a lower offset against

revenue, and hence increase reported profits (until such time as the contract was completed).

Indeed, as a result of SafeNet’s actions, the amount of revenue the Company recognized in

connection with work on long-term contracts materially increased during 2005.




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       116.    Throughout the Class Period, and even before its further loosening of revenue

recognition criteria in 2005, the Officer Defendants manipulated SafeNet’s contract accounting,

and caused SafeNet to overstate its profitability, by overstating its contract revenues and

understating its estimated costs to complete such contracts. Specifically, SafeNet “adjusted”

downward its initial cost estimates and underestimated costs to complete certain long-term

development contracts, enabling it to improperly frontload the recognition of revenue and avoid

recognizing losses on unprofitable contracts in violation of GAAP, while also concealing from

investors the fact that SafeNet’s current earnings figures were inflated -- and that SafeNet’s

future earnings stream from existing long-term contracts would be far weaker, and possibly even

negative, when actual costs would finally be recognized at the back-end of such contracts.

       117.    For example, according to Confidential Witness No. 6 (“CW 6”), who served as a

director of channel development at SafeNet during the Class Period, whenever SafeNet was short

on revenue it would turn to its Mykotronx division, which held a majority of SafeNet’s long-term

contracts, in order to find revenue that the Company could improperly recognize on open and

incomplete contracts where the project was still under development.         Because Mykotronx

worked under “top secret” clearance to develop encryption technology required for classified

government contracts, it was relatively easy for SafeNet to manipulate its reported level of costs

and progress in order to allow the Company to recognize revenue and earnings on those

contracts.

       118.    Similarly, according to CW 3 (a lead cost and program control analyst at

SafeNet’s Mykotronx division during the Class Period who was responsible for controlling

project costs and schedules, including forecasting costs and earnings for major programs at

Mykotronx), SafeNet’s use of percentage of completion contract accounting allowed the




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Company to misrepresent its progress in completing projects in order to capture more revenue.

According to CW 3, SafeNet always had cost overruns on their programs and SafeNet was

“always understating their budgets and not coming in on budget”-- “eat[ing] into the profit.”

However, rather than adjust its estimated costs to reflect higher actual costs, which would have

reduced reported margins, profit and earnings, SafeNet would simply record revenue as if it had

completed the estimated percentage of the project. For example, if SafeNet had estimated that it

would incur costs of $1,000,000 to complete 20% of a project, it would assume that it had

reached 20% completion of the contract in the quarter when it reached $1,000,000 in costs -- and

would recognize 20% of the revenue on the contract in that quarter -- regardless of whether

20% of the project had actually been completed.

       119.   Similarly, according to two confidential sources, Confidential Witness No. 7

(“CW 7”), a former SafeNet accounts receivable manager during the Class Period, and CW 4,

SafeNet hired a contract employee in the spring of 2005, whose responsibilities included

reviewing SafeNet’s contracts and its reporting practices under SOP 97-2. However, according

to CW 7, the employee decided to leave the Company shortly after being hired because of a

disagreement over SafeNet’s practices, including with respect to the application of SOP 97-2.

Similarly, CW 4 stated that the employee had complained that SafeNet was unwilling to address

SOP 97-2 “issues” with its contracts that needed to be addressed, and confirmed that the

employee was unwilling to stay on at SafeNet in light of the Company’s existing accounting

practices.

       120.   CW 7 was also quite familiar with SOP 97-2 and SafeNet’s contract accounting

methods. For example, when CW 7 joined SafeNet early in the Class Period, CW 7 brought over

from CW 7’s prior job at a similar company a checklist that CW 7 had created to assist with the




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proper enforcement of and compliance with SOP 97-2. In contrast to CW 7’s prior employer,

SafeNet had no written SOP 97-2 compliance policies or practices, and accordingly, during CW

7’s first quarter at SafeNet, CW 7 required all of CW 7’s direct reports to use this checklist.

However, when SafeNet’s senior management became aware of this SOP 97-2 checklist, CW 7

was reprimanded and told to get rid of the checklist. (This same witness also made clear in

multiple interviews that nothing happened at the company without defendant Caputo’s and

Argo’s approval). Instead, management “never enforced any company-wide policy” with respect

to applying or enforcing SOP 97-2, a circumstance that CW 7 characterized as “very

uncomfortable and strange.” Similarly, according to CW 2, a former senior SafeNet accounting

executive who reported directly to defendant Mueller, SOP 97-2 “was not taken seriously at the

company” by either defendant Argo or defendant Mueller.

       121.    CW 7 also identified a set of large contracts involving the development and sale

of SONET encryptor devices to the U.S. government, on which SafeNet prematurely recognized

approximately $12.4 million in revenue in the 2d or 3d quarter of 2004 upon “shipment” to a

freight forwarder of the “completed” product (see also discussion below of “bill and hold”

transactions at ¶¶ 123 to 128), but then compounded its premature revenue recognition by

booking only a fraction of the costs-of-goods-sold associated with the manufacture of this

product. Instead, senior SafeNet management delayed recognizing most of the costs on this

project until 2005, when SafeNet reported a large jump in costs. According to CW 7, defendant

Argo was one of the team leaders on this transaction, and Argo and Caputo personally authorized

the improper accounting treatment for this contract.

       122.    SafeNet subsequently admitted in February 2006 that it had improperly

recognized earnings on long-term contracts of at least $600,000 in at least the second and third




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quarters of 2005. At that time, the amount of overstated revenue was not disclosed, as SafeNet

simply disclosed that it would be restating previously reported earnings to account for an

understatement of lease restructuring charges of approximately $700,000, and an understatement

of costs in its Classified Government business of approximately $600,000. For comparison,

SafeNet’s originally reported operating income for the entirety of 2005 was only $146,000.

               2.      Improper Revenue Recognition on “Bill and Hold” Transactions

       123.    A “bill and hold” transaction is a form of sales arrangement in which a seller of a

good bills a customer for products, but does not actually ship the product until a later date.

Generally, under GAAP, a seller may not recognize revenue on the sale of goods unless and until

delivery to the buyer has occurred. Instead, where the buyer does not take immediate delivery,

the seller is permitted to recognize revenue prior to shipment only if certain strict conditions are

met.

       124.    SEC Staff Accounting Bulletin: No. 101 -- Revenue Recognition in Financial

Statements (“SEC SAB 101”), 17 C.F.R. 211, provides that each of the following criteria must

be met before a seller can recognize revenue on a bill and hold transaction prior to actual

shipment:

                        (i)    the risk of ownership must have passed to the buyer;

                       (ii)    the customer must have a fixed commitment to purchase the goods,
                               preferably within written documentation;

                       (iii)   the buyer, not the seller, must request that the transaction be on
                               a bill and hold basis, and the buyer must have a substantial
                               business purpose for ordering the goods on a bill and hold basis;

                       (iv)    there must be a fixed schedule for the delivery of the goods, and
                               the date for delivery must be reasonable and must be consistent
                               with the buyer’s business purposes;

                        (v)    the seller must not have retained any specific performance
                               obligations such that the earning process is not complete;


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                      (vi)   the ordered goods must have been segregated from the seller’s
                             inventory and not be subject to being used to fill other orders; and

                     (vii)   the equipment [product] must be complete and ready to ship.

(Emphasis added.)

       125.   According to CW 7 (a former SafeNet accounts receivable and credit order

manager during the Class Period whose responsibilities included verifying that orders under

SafeNet’s product contracts were properly documented), SafeNet initiated “bill and hold”

transactions so that it could prematurely and improperly recognize revenue when it was needed

to make quarter-end numbers. For example, at the end of the second (or third) and fourth

quarters of 2004, CW 7 recalled that SafeNet entered into two large bill and hold transactions,

including one involving the sale of SONET encryptor devices (manufactured on behalf of

SafeNet by a company called Senetas), and another transaction involving a company called

Technia, in order to improperly and prematurely recognize revenue in those quarters. However,

according to CW 7, the inventory was still being tested at the quarter-end dates that SafeNet

“shipped” the product to the “bill and hold area” (which was a sectioned off area of SafeNet’s

inventory warehouse), and both transactions were structured in this manner by SafeNet in order

to allow it to prematurely recognize revenue on the deal. These transactions, in the amounts of

approximately $15 million (Senetas) and $2.4 million (Technia), respectively, failed to meet the

GAAP criteria that would have allowed SafeNet to recognize revenue when it did at the end of

the 2d (or 3d) and 4th quarters of 2004. Indeed, CW 7 later learned that SafeNet had not even

completed building the product when it was “shipped” to the “bill and hold” area and recorded as

a sale. After CW 7 advised SafeNet’s controller, Ron Greenman, that certain units supposedly

“sold” had not even been built, Greenman informed CW 7 that defendants Argo and Caputo were

nonetheless “OK with and personally handling the deal.”



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       126.   On another occasion, according to CW 7, SafeNet improperly recognized revenue

at the end of the 2d quarter of 2005 upon the shipment to a freight forwarder of approximately

$800,000 to $1,000,000 of product that had been ordered by the national police force of a Middle

Eastern country. The transaction was structured as a “bill and hold” (with the freight forwarder

agreeing to hold the shipment) because SafeNet could not legally ship the product to the

customer until the U.S. government issued the required foreign export license for this product.

(Moreover, the international SafeNet distributor that had arranged the order, Linquist, had a

history of not delivering sensitive equipment to the proper, U.S. government-vetted purchaser).

In addition to prematurely recognizing revenue on this “sale” prior to satisfaction of a material

contingency (issuance of the foreign export license), this transaction also failed to meet GAAP

criteria for revenue recognition by SafeNet in the 2d quarter of 2005 because there was no fixed

schedule for delivery of the product at that time. Moreover, when CW 7 raised objections to

SafeNet’s improper revenue recognition efforts in connection with this matter with SafeNet’s

Vice President of Sales, Steve Lesem, who was responsible for this contract, Lesem’s response

was to berate CW 7 for trying to “hold up the deal.”        Thereafter, CW 7 sent an email to

defendant Argo and Safenet’s general counsel and chief export license compliance officer, Kevin

Hicks, describing CW 7’s considerable concerns about the deal. Hicks later told CW 7 that Argo

had personally approved the transaction, including the shipping of the product to a freight

forwarder pending issuance of an export license, so that the revenue could be booked in the 2d

quarter of 2005. CW 7 was terminated shortly thereafter, on the same day that SafeNet senior

management terminated a number of other employees who had dared to “rock the boat.”

       127.   Similarly, CW 4 (a senior purchasing manager at SafeNet during the latter half of

the Class Period who was responsible for managing buyers around the world to try to ensure that




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SafeNet had enough inventory in place to meet its quarterly revenue goals, and who reported to

SafeNet’s Vice President of Worldwide Manufacturing and Operations), was also aware of

SafeNet’s involvement in “bill and hold” transactions. For example, CW 4 recalled that SafeNet

engineered a “bill and hold” transaction with a contractor that provided SONET encryptors to the

Defense Information System Agency (“DISA”).          In that transaction, SafeNet invoiced the

contractor and recognized revenue on the “sale” of the product at the end of the 4th quarter of

2005. However, SafeNet did not ship the product before the end of 2005: instead, SafeNet held

the product in a warehouse on the premises of Catalyst Manufacturing Services (the entity that

manufactured the product on SafeNet’s behalf), which was located in or around Raleigh, NC, as

part of the Officer Defendants’ scheme to allow the revenue to be booked prematurely in the 4th

quarter of 2005.

       128.    Similarly, according to Confidential Witness No. 8 (“CW 8”), a former SafeNet

financial analyst who focused on Sarbanes Oxley compliance and reported to the VP of Finance,

in the winter of 2005/2006 CW 8 overheard another employee discussing how SafeNet had a

practice, “especially at the end of the year,” of billing customers for product but holding the

product for 30 or 60 days.

               3.     Improper Recognition of Revenue Upon Shipment of Unfinished
                      Product or Product that was Otherwise
                      Not Ready To Be Shipped

       129.    During the Class Period, as part of its efforts to meet its revenue and earnings

goals and Wall Street analysts’ expectations, the Company would also regularly ship unfinished

product to its customers at the end of the Company’s fiscal quarters to facilitate the premature

and improper recognition of revenue on such “sales.” Such “sales” would then have to be

reversed in future quarters after SafeNet was forced to accept the return of such product from its

customers pursuant to “return merchandise authorizations,” or “RMAs.”


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       130.    According to CW 4, SafeNet engaged in the practice of shipping unfinished

product to meet its quarterly numbers in every quarter from no later than June 2004 through the

end of the Class Period. As CW 4 recalled, things would get “unethical” at the end of the

quarters, when “whatever was not bolted down was shipped.” Indeed, SafeNet would knowingly

ship hardware that didn’t work, while offering customers discounts on future orders (and

assurances that they could later return the product) to incentivize its customers to accept delivery

of quarter-end shipments, all so that SafeNet could recognize revenue on the product in the

quarter in which it had been prematurely shipped.

       131.    Another source, CW 1, was able to recall an even earlier example of SafeNet’s

practice of shipping unfinished product. Specifically, according to CW 1, at the end of 2003

SafeNet delivered a product to Cisco that it knew was not ready. Indeed, the product was

delivered before the testing phase was complete. Moreover, the limited testing that CW 1 and

the engineers in CW 1’s division had actually completed by the end of 2003 had already

identified numerous problems with the product. Although SafeNet knew that the product was

not ready, according to CW 1 “SafeNet had to ship the product out before the [end of 2003]

deadline so that the Company could recognize revenue on it.” As this witness also noted, Officer

Defendants Caputo and Argo (together with director defendant Harrison) basically “decided on

everything” and “ran the show” at SafeNet. Not surprisingly, Cisco, which had an acceptance

clause in its contract, had to keep returning the product to get it fixed.

       132.    Similarly, Confidential Witness No. 9 (“CW 9”), who served as a Software

Quality Engineer in SafeNet’s Mykotronx division during the latter part of the Class Period,

confirmed that SafeNet did not take proper steps to ensure product quality and was willing to

send out products of poor quality “without going through the [quality assurance] steps that the




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contract required them to do.”     According to CW 9, senior management knew that products

were being shipped before they were finished, and put “tremendous pressure” on its engineers to

“sign-off” on unfinished products so that they could be shipped and revenue could be

prematurely recognized.    For example, CW 9 noted that SafeNet released one of its KIV

products to the National Security Association (“NSA”) despite knowing of numerous problems

with the product. In another instance, the details of which CW 9 could not recall, senior SafeNet

management signed off on the shipment of product that CW 9 had flatly refused to sign off on

because CW 9 knew the product was not ready and that testing had not been performed to

support a certification of performance under the customer’s contract. In sum, according to CW

9, senior management’s view was “Hurry up and get it out the door” -- even if the Company did

not have the product to push out the door yet -- and management was content to ship product

without putting them through the necessary tests and evaluation procedures that were required

under SafeNet’s customer contracts.

               4.     Improper Recognition Of Revenue On Royalty Payments

       133.    CW 1 was a senior executive in SafeNet’s Embedded Division, which sold chips,

integrated circuits and intellectual property to government agencies and financial institutions. In

connection with these sales, SafeNet received an up-front fee and then royalties for a set period

of time. According to CW 1, however, SafeNet regularly recognized royalty revenues before it

should have, and that “every quarter” until CW 1 left the company in 2005 “there was an issue

with how to recognize royalties.” In general, in connection with improperly accelerating the

recognition of revenue, at the end of each quarter SafeNet would ask customers to pre-pay or buy

the royalties that they owed to SafeNet for future periods in exchange for a significant discount

on the royalty amounts owed. For example, if SafeNet was expecting $100 in royalties over each

of the next 4 years, for a total of $400, SafeNet might ask the customer to pre-pay the balance of


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the royalty payments due for substantially less than $400 at the end of the current quarter,

thereby causing SafeNet to forego the full fair value of the royalty revenue stream to facilitate its

improper acceleration of revenue recognition on a smaller amount of total revenue.

       134.    SafeNet’s royalty pre-payment deals, however, had the effect of improperly

misleading investors because the Company accepted terms below the present value of the future

payments with the sole motivation of accelerating revenue recognition to improve its current

earnings. Although the Company would recognize a short-term gain, it reduced future expected

payments that analysts and investors expected to be realized.

       135.    For example, according to CW 1, defendants Caputo and Argo approached clients

Cisco and Texas Instruments several times during the Class Period to “play with royalty

numbers.” For example, on one occasion at the end of the 4th quarter of 2003, SafeNet needed a

few million dollars more in revenue to close the quarter with positive earnings. According to

CW 1, SafeNet approached and made a deal with Texas Instruments, allowing SafeNet to

improve its revenue numbers that quarter.

       136.    As CW 1 further commented, SafeNet’s practice of buying out future years’

royalty revenue streams at a discount was simply “a way of fudging the books so that the quarter

would look better,” but that SafeNet’s senior management apparently had decided that “tricks

had to be played” to create the appearance that SafeNet was meeting its numbers (when in fact it

was not meeting those numbers). Of course, by in effect recognizing tomorrow’s revenue today,

SafeNet’s actions to improperly accelerate the recognition of revenue simply created more

problems, as future shortfalls would have to be made up in future periods, with the result that

SafeNet “would have to play [further] games.” A shown in Section VII below, however, these

and other accounting games could not continue indefinitely (nor could SafeNet continue




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indefinitely) to “recognize tomorrow’s revenue to today” indefinitely, and SafeNet was

ultimately forced to announce accounting restatements and earnings shortfalls in the first half of

2006.

VI.     CLASS PERIOD FALSE AND MISLEADING STATEMENTS

        137.     On March 31, 2003, SafeNet filed its Form 10-K for the year ended December 31,

2002 (the “2002 Form 10-K”) with the SEC. Officer Defendants Caputo and Argo and Director

Defendants Brooks, Harrison, Hunt and Thaw signed the 2002 Form 10-K. The 2002 Form 10-K

reported the following financial results:

                    •   Total Revenue of $32,235,000;

                    •   Operating income (loss) of ($1,544,000);

                    •   Total costs and expenses of $33,779,000;

                    •   Net Income (loss) of ($785,000); and

                    •   Basic net income (loss) per share of ($.10).

        138.     Note 2 to SafeNet’s financial statements for 2002, as reported in the 2002 Form

10-K, was entitled “Summary of Significant Accounting Policies.” Regarding compensation,

Note 2 stated:

                 Employee Stock-Based Compensation

                 At December 31, 2002, the Company had five stock-based
                 employee compensation plans, which are described more fully in
                 Note 12. The Company accounts for those plans using the intrinsic
                 value method prescribed by APB Opinion No. 25, Accounting for
                 Stock Issued to Employees, and related Interpretations. No stock-
                 based employee compensation cost is reflected in net income, as
                 all options granted under those plans had an exercise price equal
                 to the market value of the underlying common stock on the date
                 of grant. (Emphasis added.)

        139.     Note 12 to the financial statements for 2002, as disclosed in the 2002 Form 10-K,

was entitled “Stock Compensation Plans,” and stated as follows:


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               Stock Option Plans

               The Company sponsors four stock option plans that provide for the
               granting of stock options to officers, directors, consultants and
               employees of the Company. Options have been granted with
               exercise prices that are equal to the fair market value of the
               common stock on the date of grant and, subject to termination of
               employment, expire seven years from the date of grant. Either
               incentive stock options or non-qualified stock options may be
               granted under the plans. (Emphasis added.)

       140.    The 2002 Form 10-K was materially false and misleading when issued because,

contrary to defendants’ public representations, SafeNet in fact did issue, since at least 1999,

options that were “backdated,” so they were not issued at exercise prices “equal to the fair

market value of the common stock on the date of grant” and compensation expenses should have

been recorded, and the Company did not in fact account for those options in accordance with

APB Opinion No. 25 or GAAP. Indeed, defendants Caputo and Argo were manipulating the

Company’s stock option plans so as to enrich themselves and attract employees by backdating

the stock options they and others were granted, thus giving recipients an instant, riskless profit,

while exposing the Company to the severe risks of lost investor confidence, regulatory

investigations, tax penalties, restatements, and civil and criminal proceedings.

       141.    On April 30, 2003, SafeNet issued to investors SafeNet’s definitive proxy

statement on Form 14A in connection with the Company’s 2003 annual meeting (the “2003

Proxy Statement”). The 2003 Proxy Statement was signed by defendant Argo, by order of the

board of directors, including Director Defendants.        Among other things, the 2003 Proxy

Statement solicited investors to increase the number of shares in the Stock Option Plan from

1,600,000 to 2,100,000 shares, as follows:

               The Company’s stockholders approved the 2001 Omnibus Stock
               Plan (the “2001 Plan”) on May 16, 2001. The 2001 Plan is
               intended to provide employees and directors with an incentive to
               actively contribute to the Company’s growth by enabling them to


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              acquire a proprietary interest in the Company. The Company’s
              stockholders approved a proposal at the 2002 annual meeting of
              stockholders to increase the maximum shares available for awards
              under the 2001 Plan from 1,000,000 to 1,600,000.

              We are proposing that the shareholders approve an additional
              500,000 shares that may be sold or optioned under the 2001 Plan.
              (Emphasis added.)

       142.   The 2003 Proxy Statement made the following material misstatements regarding

the Company’s stock option grants and granting practices:

              (a)     Under the heading “Executive Compensation,” the 2003 Proxy Statement

provided a chart listing “Options Grants in Fiscal Year 2002.” Footnote 4 to this chart stated as

follows:

              The potential realizable value has been calculated in conformity
              with Security and Exchange Commission proxy statement
              disclosure rules and is not intended to forecast possible future
              appreciation of the Common Stock. No gain to the options is
              possible without stock price appreciation, which will benefit all
              shareholders. If the stock price does not increase above the
              exercise price, compensation to the named executive will be zero.

              (b)     Under the heading “Report of Compensation Committee on Executive

Compensation,” the 2003 Proxy Statement represented the following:

              The Compensation Committee of the Board of Directors (the
              “Committee”) establishes the general compensation policies of the
              Company, specific compensation for each executive officer of the
              Company and administers the Company’s stock plans. The
              Company’s intent as administered through the Committee is to
              make compensation packages of the executive officers of the
              Company sufficient to attract and retain persons of exceptional
              quality to provide effective incentives to motivate and reward such
              executives for achieving the scientific, financial and strategic goals
              of the Company essential to the Company’s long-term success and
              to growth in stockholder value. Consequently, a significant
              portion of the compensation of the executive officers and directors
              is dependent on the Common Stock price performance and
              maintenance of value in the marketplace.

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              Grants of stock options are designed to align the executive’s
              interest with that of the stockholders of the Company … Stock
              options are also provided to all new employees as well as
              occasional grants in recognition of superior performance, etc. The
              overall objective of the stock option program is to cause employees
              to identify with the success of the Company and to incent superior
              performance. (Emphases added.)

              (c)    Under the heading “Potential Limitations on Company Deductions,” the

2003 Proxy Statement stated:

              Section 162(m) of the Code denies a deduction to any publicly
              held corporation for compensation paid to certain “covered
              employees” in a taxable year to the extent that compensation to
              such covered employee exceeds $1 million. It is possible that
              compensation attributable to awards, when combined with all other
              types of compensation received by a covered employee from the
              Company, may cause this limitation to be exceeded in any
              particular year.

              Certain kinds of compensation, including qualified “performance-
              based compensation,” are disregarded for purposes of the
              deduction limitation. In accordance with Treasury regulations
              issued under Section 162(m), compensation attributable to stock
              options and stock appreciation rights will qualify as performance-
              based compensation if the award is granted by a compensation
              committee comprised solely of “outside directors” and either
              (i) the plan contains a per-employee limitation on the number of
              shares for which such awards may be granted during a specified
              period, the per-employee limitation is approved by the
              stockholders and the exercise price of the award is no less than
              the fair market value of the stock on the date of grant, or (ii) the
              award is granted (or exercisable) only upon the achievement (as
              certified in writing by the compensation committee) of an
              objective performance goal established in writing by the
              compensation committee while the outcome is substantially
              uncertain, and the award is approved by stockholders. It is
              intended that stock options issued under the 2001 Plan will
              qualify as “performance-based compensation.” (Emphasis
              added.)

       143.   As set forth herein, during 2002 and since at least 1999, SafeNet issued stock

options that were backdated.     As a result, the 2003 Proxy Statement contained material

misrepresentations and omitted material information because:


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               (a)       To the extent stock options were “backdated” and priced below fair

market value, the executives, directors and employees who received backdated stock options

were able to enjoy gain without stock price appreciation;

               (b)       The “per share option price” was not “the closing price on the grant date,”

as had been reported;

               (c)       Grants did not “align the executive’s interest with that of the stockholders

of the Company” because those executives were obtaining financial benefits as a result of

cronyism and undisclosed conflicts of interest, and irrespective of any future performance, since

the option strike prices already reflected stock appreciation;

               (d)       Stock options that were granted at below fair market value or based on

performance goals whose outcome was no longer uncertain might not qualify as “performance-

based compensation,” as was asserted would be the case for options granted under the Stock

Option Plan; and

               (e)       SafeNet’s top executives, including defendants Caputo and Argo, were

manipulating the Company’s stock option plans so as to enrich themselves and attract employees

by backdating the stock options they and others were granted, thus giving recipients an instant,

riskless profit, while exposing the Company to the severe risks of lost investor confidence,

regulatory investigations, tax penalties, restatements, and civil and criminal proceedings.

       144.    On May 15, 2003, SafeNet filed its Form 10-Q for the first quarter of 2003 (the

“1Q 2003 Form 10-Q”) with the SEC. Defendants Caputo and Argo signed the 1Q 2003 Form

10-Q. The 1Q 2003 Form 10-Q reported the following financial results:

                     •   Total Revenue of $14,014,000;

                     •   Operating income (loss) of ($9,092,000);

                     •   Total costs and expenses of $23,106,000;


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                   •   Net Income (loss) of ($9,656,000); and

                   •   Basic net income (loss) per share of ($1.06).

       145.    Note 2 to SafeNet’s financial statements for the first quarter of 2003, as reported

in the 1Q 2003 Form 10-Q, was entitled “Significant Accounting Policies and Recent

Accounting Pronouncements.”        Under the heading “Stock Options and Stock Granted to

Employees,” Note 2 stated:

               The Company records compensation expense for all stock-based
               compensation plans using the intrinsic value method prescribed by
               APB Opinion No. 25, Accounting for Stock Issued to Employees
               (“APB No. 25”). Under APB No. 25, compensation expense is
               recorded over the vesting period to the extent that the fair value of
               the underlying stock on the date of grant exceeds the exercise or
               acquisition price of the stock or stock-based award….

               At March 31, 2003, the Company has five stock-based employee
               compensation plans. All options granted under those plans had
               an exercise price equal to the market value of the underlying
               common stock on the date of grant. (Emphasis added.)

       146.    As set forth herein, during 2003 and since at least 1999, SafeNet issued stock

options that were backdated. As a result, the 1Q 2003 Form 10-Q was materially false and

misleading when issued because stock options that were backdated were not, as reported, granted

with “an exercise price equal to the market value of the underlying common stock on the date of

grant” and compensation expenses should have been recorded, and the Company did not in fact

account for those options in accordance with APB Opinion No. 25 or GAAP. Indeed, SafeNet’s

top executives were manipulating the Company’s stock option plans so as to enrich themselves

and attract employees by backdating the stock options they and others were granted, thus giving

recipients an instant, riskless profit, while exposing the Company to the risks of regulatory

investigations, tax penalties, restatements, and civil and criminal proceedings.




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       147.   On July 31, 2003, SafeNet filed its Form 10-Q for the second quarter of 2003 (the

“2Q 2003 Form 10-Q”) with the SEC. Defendants Caputo and Argo signed the 2Q 2003 Form

10-Q. The 2Q 2003 Form 10-Q reported the following results:

                  •   Total Revenue of $15,425,000;

                  •   Operating income (loss) of ($1,992,000);

                  •   Total costs and expenses of $17,417,000;

                  •   Net Income (loss) of ($2,243,000); and

                  •   Basic net income (loss) per share of ($0.22).

       148.   Note 2 to SafeNet’s financial statements for the second quarter of 2003, as

reported in the 2Q 2003 Form 10-Q, was entitled “Significant Accounting Policies and Recent

Accounting Pronouncements.”       Under the heading “Stock Options and Stock Granted to

Employees,” Note 2 stated:

              The Company records compensation expense for all stock-based
              compensation plans using the intrinsic value method prescribed by
              APB Opinion No. 25, Accounting for Stock Issued to Employees
              (“APB No. 25”). Under APB No. 25, compensation expense is
              recorded over the vesting period to the extent that the fair value of
              the underlying stock on the date of grant exceeds the exercise or
              acquisition price of the stock or stock-based award….

              At June 30, 2003, the Company has seven stock-based employee
              compensation plans. All options granted under those plans had
              an exercise price equal to the market value of the underlying
              common stock on the date of grant. (Emphasis added.)

       149.   As set forth herein, during 2003 and since at least 1999, SafeNet issued stock

options that were backdated. As a result, the 2Q 2003 Form 10-Q was materially false and

misleading when issued because stock options that were backdated were not, as reported, granted

with “an exercise price equal to the market value of the underlying common stock on the date of




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grant” and compensation expenses should have been recorded, and the Company did not in fact

account for those options in accordance with APB Opinion No. 25 or GAAP.

       150.   On November 14, 2003, SafeNet filed its Form 10-Q for the third quarter of 2003

(the “3Q 2003 Form 10-Q”) with the SEC. Defendants Caputo and Argo signed the 3Q 2003

Form 10-Q. The 3Q 2003 Form 10-Q reported the following financial results:

                  •   Total Revenue of $17,593,000;

                  •   Operating income (loss) of $2,095,000;

                  •   Total costs and expenses of $15,498,000;

                  •   Net Income (loss) of $1,719,000; and

                  •   Basic net income (loss) per share of $0.13.

       151.   Note 2 to SafeNet’s financial statements for the third quarter of 2003, as reported

in the 3Q 2003 Form 10-Q, was entitled “Significant Accounting Policies and Recent

Accounting Pronouncements.”       Under the heading “Stock Options and Stock Granted to

Employees,” Note 2 stated:

              The Company records compensation expense for all stock-based
              compensation plans using the intrinsic value method prescribed by
              APB Opinion No. 25, Accounting for Stock Issued to Employees
              (“APB No. 25”). Under APB No. 25, compensation expense is
              recorded over the vesting period to the extent that the fair value of
              the underlying stock on the date of grant exceeds the exercise or
              acquisition price of the stock or stock-based award….

              At September 30, 2003, the Company has seven stock-based
              employee compensation plans. All options granted under those
              plans had an exercise price equal to the market value of the
              underlying common stock on the date of grant. (Emphasis added.)

       152.   As set forth herein, during 2003 and since at least 1999, SafeNet issued stock

options that were backdated. As a result, the 3Q 2003 Form 10-Q was materially false and

misleading when issued because stock options that were backdated were not, as reported, granted



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with “an exercise price equal to the market value of the underlying common stock on the date of

grant” and compensation expenses should have been recorded, and the Company did not in fact

account for those options in accordance with APB Opinion No. 25 or GAAP.

       153.    The Rainbow Registration Statement and Rainbow Proxy/Prospectus, filed with

the SEC on February 11 and 12, 2004, solicited the approval of the Rainbow Subclass for the

Rainbow Acquisition and urged SafeNet shareholders to approve a further expansion of

SafeNet’s Stock Option Plan, from 2,100,000 shares to 3,000,000 shares.              The Rainbow

Proxy/Prospectus contained numerous untrue statements and omissions of material fact, as

follows:

               (a)        Under the heading “Selected Historical and Pro Forma Financial

Information,” defendants provided investors with select historical financial information

regarding SafeNet, including the following 2003 year-end figures: revenues of $32,235,000,

gross profit of $23,272,000; operating expenses of $24,816,000; operating loss of ($1,544,000);

loss from continuing operations of ($785,000); and loss per diluted share of ($0.10). The

Rainbow Registration Statement and Rainbow Proxy/Prospectus also said that the select

historical information:

               [S]hould be read in conjunction with SafeNet’s consolidated
               financial statements and related notes included in SafeNet’s annual
               reports and other financial information included in SafeNet’s
               filings with the SEC. See “Where You Can Find More
               Information.” The selected historical consolidated balance sheet
               data of SafeNet at December 31, 2002, 2001, 2000, 1999 and 1998
               and the selected historical consolidated statement of operations
               data of SafeNet for the years then ended have been derived from
               SafeNet’s audited consolidated financial statements previously
               filed with the SEC and incorporated by reference into this joint
               proxy statement/prospectus. SafeNet’s selected unaudited interim
               financial data included in this joint proxy statement/prospectus
               were derived from its books and records and, in the opinion of
               management, contain all adjustments, consisting only of normal



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               recurring adjustments, necessary for the fair presentation of its
               financial position and results of operations at and for such periods;

               (b)     Under the heading “Risk Factors,” the defendants who issued the Rainbow

Proxy/Prospectus reported that certain Rainbow officers and directors had a conflict of interest

with respect to the Rainbow Acquisition because they stood to receive benefits not available to

other Rainbow shareholders.        In particular, defendants stated that Rainbow’s Chairman,

President and CEO, Walter Straub, and one of its directors, Arthur Money, would become

directors of SafeNet after the Merger. Defendants omitted to disclose, however, that these

individuals (and all of SafeNet’s directors and senior officers) specifically stood to benefit from a

continuation of SafeNet’s practice of backdating;

               (c)     Under the heading “The Merger Agreement” and the subheading

“Representations and Warranties,” defendants reported that SafeNet had represented and

warranted that its publicly issued historical financial statements were prepared in compliance

with GAAP and were without material misstatements; and

               (d)     Under the heading “Unaudited Combined Condensed Pro Forma Financial

Information,” defendants reported pro forma financial data relating to SafeNet, assuming the

Rainbow Acquisition would be completed.

       154.    In addition, SafeNet solicited SafeNet shareholders to approve an increase in the

number of shares in the Stock Option Plan from 2,100,000 to 3,000,000 shares as follows:

               SafeNet compensation policy includes grants of options to its
               employees and directors to attract talented business professionals
               to join SafeNet. As of October 22, 2003, SafeNet and Rainbow
               Technologies had approximately 213 and 570 employees,
               respectively. Following the closing of the proposed merger
               described in this joint proxy statement/ prospectus, SafeNet will
               immediately experience an over 200% increase in the number of its
               employees. Further, as a growth company, SafeNet plans to expand
               its workforce through new hires. Based on SafeNet’s
               compensation policy and the current number of shares of


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               SafeNet common stock available under the existing 2001 Plan,
               SafeNet believes that there are not enough shares of SafeNet
               common stock left in the 2001 Plan to meet the needs of its
               expanded workforce following the proposed merger. (Emphasis
               added)

       155.    In addition, the Rainbow Registration Statement and Rainbow Proxy/Prospectus

made material misstatements regarding the Company’s stock option grants and granting

practices. Under the heading “Director and Executive Compensation,” defendants provided a

chart listing “Options Grants in Fiscal Year 2002.” Footnote 4 to this chart stated as follows:

               The potential realizable value has been calculated in conformity
               with SEC disclosure rules and is not intended to forecast possible
               future appreciation of SafeNet common stock. No gain to the
               options is possible without stock price appreciation, which will
               benefit all stockholders. If the stock price does not increase above
               the exercise price, compensation to the Named Executive Officer
               will be zero. (Emphasis added.)

       156.    As set forth herein, during 2002 and since at least 1999, SafeNet issued stock

options that were backdated. As a result, the Rainbow Registration Statement and Rainbow

Proxy/Prospectus contained material misstatements, because to the extent stock options were

“backdated” and priced below fair market value, the executives, directors and employees who

received those backdated stock options were able to enjoy gain without stock price appreciation

and compensation expenses should have been recorded. The Rainbow Registration and Rainbow

Proxy/Prospectus also omitted to state that SafeNet had in the past granted and planned to

continue to grant stock options that were backdated and, as a result, SafeNet provided

compensation beyond the amounts actually disclosed. Indeed, SafeNet’s top executives were

manipulating the Company’s stock option plans so as to enrich themselves and attract employees

by backdating the stock options they and others were granted, thus giving recipients an instant,

riskless profit, while exposing the Company to the risks of regulatory investigations, tax

penalties, restatements, and civil and criminal proceedings. The Rainbow Registration Statement


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and Rainbow Proxy/Prospectus also incorporated by reference numerous SafeNet public filings

that materially misstated the nature of SafeNet’s stock option granting policies and practices,

including the financial effects thereof. Included in these documents are SafeNet’s 8-Ks, 10-Ks

and 10-Qs for the years ended December 31, 2002, December 31, 2001 and December 31, 2000,

as well as the year end financial results for the year ended December 31, 2003.

       157.      Moreover, the Rainbow Registration Statement and Rainbow Proxy/Prospectus

representations concerning SafeNet’s revenues and gross profit were materially inflated, and its

representations concerning SafeNet’s losses were materially understated, as a result of SafeNet’s

improper revenue recognition and other accounting improprieties described at ¶¶ 100 to 136.

       158.      On March 10, 2004, SafeNet filed its Form 10-K for the year ended December 31,

2003 (the “2003 Form 10-K”) with the SEC. Officer Defendants Caputo and Argo and Director

Defendants Brooks, Harrison, Hunt and Thaw signed the 2003 Form 10-K. The 2003 Form 10-K

reported the following financial results:

                    •   Total Revenue of $66,194,000;

                    •   Operating income (loss) of ($5,277,000);

                    •   Total costs and expenses of $71,471,000;

                    •   Net Income (loss) of ($6,088,000); and

                    •   Basic net income (loss) per share of ($0.54).

       159.      Note 2 to SafeNet’s financial statements for 2003, as reported in the 2003 Form

10-K, was entitled “Summary of Significant Accounting Policies.” Regarding compensation,

Note 2 stated:

                 Employee Stock-Based Compensation

                 At December 31, 2003, the Company had five stock-based
                 employee compensation plans, which are described more fully in
                 Note 12. The Company accounts for those plans using the intrinsic


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               value method prescribed by APB Opinion No. 25, Accounting for
               Stock Issued to Employees, and related interpretations. No stock-
               based employee compensation cost is reflected in the statements
               of operations, as all options granted under those plans had an
               exercise price equal to the market value of the underlying
               common stock on the date of grant. (Emphasis added.)

       160.    Note 12 to the financial statements for 2003, as reported in the 2003 Form 10-K,

was entitled “Stock Compensation Plans and Warrants,” and stated:

               Stock Option Plans

               The Company sponsors five stock option plans that provide for the
               granting of stock options to officers, directors, consultants and
               employees of the Company. Options have been granted with
               exercise prices that are equal to the fair market value of the
               common stock on the date of grant and, subject to termination of
               employment, expire seven years from the date of grant. Either
               incentive stock options or non-qualified stock options may be
               granted under the plans. (Emphasis added.)

       161.    The 2003 Form 10-K was materially false and misleading when issued because,

contrary to defendants’ public representations, in 2003 and since at least 1999 SafeNet in fact did

issue options that were “backdated,” so they were not issued at exercise prices “equal to the fair

market value of the common stock on the date of grant” and compensation expenses should have

been recorded, and the Company did not in fact account for those options in accordance with

APB Opinion No. 25 or GAAP.

       162.    Moreover, as detailed herein, the 2003 Form 10-K was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       163.    On April 29, 2004, SafeNet and the Director Defendants who were directors of

SafeNet at the time issued to investors SafeNet’s definitive proxy statement on Form 14A in


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advance of the Company’s 2004 annual meeting (the “2004 Proxy Statement”). The 2004 Proxy

Statement made the following material misstatements regarding the Company’s stock option

grants and granting practices:

               (a)    Under the heading “Executive Compensation,” defendants provided a

chart listing “Options Grants in Fiscal Year 2003.” Footnote 4 to this chart stated as follows:

               The potential realizable value has been calculated in conformity
               with Securities and Exchange Commission proxy statement
               disclosure rules and is not intended to forecast possible future
               appreciation of the Common Stock. No gain to the options is
               possible without stock price appreciation, which will benefit all
               shareholders. If the stock price does not increase above the
               exercise price, compensation to the named executive will be zero.

               (b)    Under the heading “Report of Compensation Committee on Executive

Compensation,” defendants represented the following:

               The Compensation Committee of the Board of Directors (the
               “Committee”) establishes the general compensation policies of the
               Company, specific compensation for each executive officer of the
               Company and administers the Company’s stock plans. The
               Company’s intent as administered through the Committee is to
               make compensation packages of the executive officers of the
               Company sufficient to attract and retain persons of exceptional
               quality and to provide effective incentives to motivate and reward
               such executives for achieving the scientific, financial and strategic
               goals of the Company essential to the Company’s long-term
               success and to growth in stockholder value. Consequently, a
               significant portion of the compensation of the executive officers
               and directors is dependent on the Common Stock price
               performance and maintenance of value in the marketplace.

                                              *****

               Grants of stock options are designed to align the executive’s
               interest with that of the stockholders of the Company …Stock
               options are also provided to all new employees as well as
               occasional grants in recognition of superior performance, etc. The
               overall objective of the stock option program is to cause employees
               to identify with the success of the Company and to incent superior
               performance. (Emphases added.)



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       164.    As set forth herein, during 2003 and since at least 1999, SafeNet issued stock

options that were backdated.       As a result, the 2004 Proxy Statement contained material

misstatements and omitted material information because:

               (a)      To the extent stock options were “backdated” and priced below fair

market value, the executives, directors and employees who received backdated stock options

were able to enjoy gain without stock price appreciation;

               (b)      The “per share option price” was not “the closing price on the grant date,”

as had been reported; and

               (c)      Grants did not “align the executive’s interest with that of the stockholders

of the Company” because those executives were obtaining financial benefits as a result of

cronyism and undisclosed conflicts of interest, and irrespective of any future performance, since

the option strike prices already reflected stock appreciation;

               (d)      SafeNet’s top executives were manipulating the Company’s stock option

plans so as to enrich themselves and attract employees by backdating the stock options they and

others were granted, thus giving recipients an instant, riskless profit, while exposing the

Company to the risks of regulatory investigations, tax penalties, restatements, and civil and

criminal proceedings; and

               (e)      SafeNet’s top executives were manipulating the Company’s stock option

plans so as to enrich themselves and attract employees by backdating the stock options they and

others were granted, thus giving recipients an instant, riskless profit, while exposing the

Company to the risks of regulatory investigations, tax penalties, restatements, and civil and

criminal proceedings.




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       165.    The following quarterly financial metrics were reported in the Form 10-Q for the

first quarter of 2004 (“1Q 2004 Form 10-Q”), which SafeNet filed with the SEC on May 10,

2004 and was signed by defendants Caputo and Argo:

                   •   Total Revenue of $24,016,000;

                   •   Operating income (loss) of ($855,000);

                   •   Total costs and expenses of $24,871,000;

                   •   Net Income (loss) of ($456,000); and

                   •   Basic net income (loss) per share of ($0.03).

       166.    Although the Company did not report that it had granted stock options to certain

executives during the first quarter of 2004, as a result of the failure to record a compensation

expense for previously backdated options as they vested, these results were materially false and

misleading. Indeed, SafeNet’s top executives were manipulating the Company’s stock option

plans so as to enrich themselves and attract employees by backdating the stock options they and

others were granted, thus giving recipients an instant, riskless profit, while exposing the

Company to the severe risks of lost investor confidence, of regulatory investigations, tax

penalties, restatements, and civil and criminal proceedings.

       167.    Moreover, as detailed herein, the 1Q 2004 Form 10-Q was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       168.    On August 9, 2004, SafeNet filed its Form 10-Q for the second quarter of 2004

(the “2Q 2004 Form 10-Q”) with the SEC. Defendants Caputo and Mueller signed the 2Q 2004

Form 10-Q. The 2Q 2004 Form 10-Q reported the following financial results:


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                  •     Total Revenue of $54,345,000;

                  •     Operating income (loss) of ($485,000);

                  •     Total costs and expenses of $25,829,000;

                  •     Net Income (loss) of ($408,000); and

                  •     Basic net income (loss) per share of $0.02.

       169.   Note 3 to SafeNet’s financial statements for the second quarter of 2004, as

reported in the 2Q 2004 Form 10-Q, was entitled “Summary of Significant Accounting Policies.”

Under the heading “Employee Stock-Based Compensation,” Note 3 stated:

              As of June 30, 2004, the Company had five stock-based employee
              compensation plans. The Company accounts for those plans using
              the intrinsic value method prescribed by APB Opinion No. 25,
              Accounting for Stock Issued to Employees, and related
              interpretations. Compensation cost is reflected in the statements
              of operations, in general and administrative costs. (Emphasis
              added.)

       170.   As set forth herein, during the second quarter of 2004 and since at least 2000,

SafeNet issued stock options that were backdated. As a result, the 2Q 2004 Form 10-Q was

materially false and misleading when issued because it failed to disclose this practice or to

properly record related compensation expenses, and the Company did not in fact account for

those options in accordance with APB Opinion No. 25 or GAAP.           Indeed, SafeNet’s top

executives were manipulating the Company’s stock option plans so as to enrich themselves and

attract employees by backdating the stock options they and others were granted, thus giving

recipients an instant, riskless profit, while exposing the Company to the severe risks of lost

investor confidence, of regulatory investigations, tax penalties, restatements, and civil and

criminal proceedings.

       171.   Moreover, as detailed herein, the 2Q 2004 Form 10-Q was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,


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operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       172.    On November 9, 2004, SafeNet filed its Form 10-Q for the third quarter of 2004

(the “3Q 2004 Form 10-Q”) with the SEC. Defendants Caputo and Mueller signed the 3Q 2004

Form 10-Q. The 3Q 2004 Form 10-Q reported the following financial results:

                   •   Total Revenue of $59,450,000;

                   •   Operating income (loss) of $1,642,000;

                   •   Total costs and expenses of $57,808,000;

                   •   Net Income (loss) of $996,000; and

                   •   Basic net income (loss) per share of $0.04.

       173.    Note 3 to SafeNet’s financial statements for the second quarter of 2004, as

reported in the 2Q 2004 Form 10-Q, was entitled “Summary of Significant Accounting Policies.”

Under the heading “Employee Stock-Based Compensation,” Note 3 stated:

               As of September 30, 2004, the Company had five stock-based
               employee compensation plans. The Company accounts for those
               plans using the intrinsic value method prescribed by APB Opinion
               No. 25, Accounting for Stock Issued to Employees, and related
               interpretations.

       174.    As set forth herein, during 2004 and since at least 2000, SafeNet issued stock

options that were backdated. As a result, the 3Q 2004 Form 10-Q was false and misleading

because it failed to disclose this practice or to properly record related compensation expenses.

Indeed, SafeNet’s top executives were manipulating the Company’s stock option plans so as to

enrich themselves and attract employees by backdating the stock options they and others were

granted, thus giving recipients an instant, riskless profit, while exposing the Company to the

risks of regulatory investigations, tax penalties, restatements, and civil and criminal proceedings.


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       175.      Moreover, as detailed herein, the 3Q 2004 Form 10-Q was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       176.      On March 16, 2005, SafeNet filed its Form 10-K for the year ended December 31,

2004 (the “2004 Form 10-K”) with the SEC. Officer Defendants Caputo and Mueller and

Director Defendants Brooks, Harrison, Hunt, Thaw, Clark and Money signed the 2004 Form 10-

K. The 2004 Form 10-K reported the following financial results:

                    •   Total Revenue of $201,600,000;

                    •   Operating income (loss) of $1,077,000;

                    •   Total costs and expenses of $200,523,000;

                    •   Net Income (loss) of $2,183,000; and

                    •   Basic net income (loss) per share of $0.10.

       177.      Note 2 to SafeNet’s financial statements for 2004, as reported in the 2004 Form

10-K, was entitled “Summary of Significant Accounting Policies.” Regarding compensation,

Note 2 stated:

                 Employee Stock-Based Compensation

                 At December 31, 2004, the Company had five stock-based
                 employee compensation plans, which are described more fully in
                 Note 12. The Company accounts for those plans using the intrinsic
                 value method prescribed by APB Opinion No. 25, Accounting for
                 Stock Issued to Employees, and related interpretations. With the
                 exception of unvested stock options assumed in business
                 combinations, no stock-based employee compensation cost is
                 reflected in the statements of operations, as all options granted
                 under those plans had an exercise price equal to the market
                 value of the underlying common stock on the date of grant.
                 (Emphasis added.)


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              Recent Accounting Pronouncements

              On December 16, 2004, the Financial Accounting Standards Board
              (“FASB”) issued FASB Statement No. 123 (revised 2004), Share-
              Based Payment, which is a revision of FASB Statement No. 123,
              Accounting for Stock-Based Compensation. Statement 123(R)
              supersedes APB Opinion No. 25, Accounting for Stock Issued to
              Employees, and amends FASB Statement No. 95, Statement of
              Cash Flows. Generally, the approach in Statement 123(R) is
              similar to the approach described in Statement 123. However,
              Statement 123(R) requires all share-based payments to employees,
              including grants of employee stock options, to be recognized in the
              income statement based on their fair values. Pro forma disclosure
              is no longer an alternative. The Company expects to adopt
              Statement 123(R) on July 1, 2005.

              As permitted by Statement 123, the Company currently accounts
              for share-based payments to employees using Opinion 25’s
              intrinsic value method and, as such, generally recognizes no
              compensation cost for employee stock options. (Emphasis added.)

       178.   Note 13 to the financial statements for 2004, as disclosed in the 2004 Form 10-K,

was entitled “Stock Compensation Plans,” and stated as follows:

              Stock Option Plans

              The Company sponsors five stock option plans that provide for the
              granting of stock options to officers, directors, consultants and
              employees of the Company. Options have been granted with
              exercise prices that are equal to the fair market value of the
              common stock on the date of grant and, subject to termination of
              employment, expire seven years from the date of grant. Either
              incentive stock options or non-qualified stock options may be
              granted under the plans. (Emphasis added.)

       179.   As set forth herein, in 2004 and since at least 2000, SafeNet issued stock options

that were backdated. As a result, the 2004 Form 10-K was materially false and misleading when

issued because stock options that were backdated were not issued at exercise prices “equal to the

fair market value of the common stock on the date of grant” and compensation expenses should

have been recorded. Indeed, SafeNet’s top executives were manipulating the Company’s stock


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option plans so as to enrich themselves and attract employees by backdating the stock options

they and others were granted, thus giving recipients an instant, riskless profit, while exposing the

Company to the risks of regulatory investigations, tax penalties, restatements, and civil and

criminal proceedings.

       180.    Moreover, as detailed herein, the 2004 Form 10-K was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       181.    On April 29, 2005, SafeNet filed an amendment to the 2004 Form 10-K, filed as

Form 10-K/A (the “2004 Form 10-K/A”) with the SEC. Officer Defendants Caputo and Mueller

and Director Defendants Brooks, Harrison, Hunt, Thaw, Clark and Money signed the 2004 Form

10-K/A. The 2004 Form 10-K/A reported the following financial results:

                   •    Total Revenue of $201,600,000;

                   •    Operating income (loss) of $1,077,000;

                   •    Total costs and expenses of $200,523,000;

                   •    Net Income (loss) of $2,183,000; and

                   •    Basic net income (loss) per share of $0.10.

       182.    Item 11 of the 2004 Form 10-K/A, entitled “Executive Compensation,” included a

chart showing the option grants in 2004 to Senior Vice Presidents Fedde and Potts and to

Defendants Caputo, Argo and Mueller. Footnote 4 to this chart stated as follows:

               The potential realizable value has been calculated in conformity
               with Securities and Exchange Commission proxy statement
               disclosure rules and is not intended to forecast possible future
               appreciation of the common stock. No gain to the options is
               possible without stock price appreciation, which will benefit all


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              shareholders. If the stock price does not increase above the
              exercise price, compensation to the named executive will be zero.
              (Emphasis added.)

              (a)    Item 11 also included the following statement pertaining to the

compensation of directors:

              After each annual meeting of stockholders, each non-employee
              director of the Company who attended at least 75% of the
              aggregate number of meetings of the Board during the previous
              calendar year and who stood for election at the preceding annual
              meeting is granted a stock option exercisable for 20,000 shares of
              common stock. The per share option price is the closing price on
              the grant date. The option has a ten-year term and is fully vested
              on the grant date. (Emphasis added.)

              (b)    Item 11 also included the following statement under the heading “Report

of Compensation Committee on Executive Compensation”:

              The Compensation Committee of the Board of Directors (the
              “Committee”) reviews and approves the general compensation
              policies of the Company, specific compensation for each
              executive officer of the Company, the Company’s equity
              compensation plans and makes recommendations to the Board of
              Directors regarding these matters. The Company’s policy, as
              administered through the Committee, is to provide compensation
              packages to executive officers of the Company sufficient to
              attract and retain persons of exceptional quality and to provide
              effective incentives to motivate and reward such executives for
              achieving the technical, financial and strategic goals of the
              Company essential to the Company’s long-term success and to
              growth in stockholder value. Consequently, a significant portion
              of the compensation of the executive officers and directors is
              dependent on company performance and maintenance of value
              in the marketplace.

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              Grants of stock options are designed to align the executive’s
              interest with that of the stockholders of the Company… Stock
              options are also provided to all new employees as well as
              occasional grants in recognition of superior performance, etc. The
              overall objective of the stock option program is to cause employees
              to identify with the success of the Company and to incent superior
              performance. (Emphases added.)


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       183.    As shown herein, during 2004 and since at least 2000, SafeNet issued stock

options that were backdated. As a result, the 2004 Form 10-K/A was materially false and

misleading when issued because, contrary to defendants’ public representations:

               (a)      To the extent stock options were “backdated” and price below fair market

value, the executives, directors and other employees who received backdated stock options were

able to enjoy gain without stock price appreciation and related compensation expenses should

have been recorded;

               (b)      The “per share option price” was not “the closing price on the grant date,”

as had been reported;

               (c)      Grants did not “align the executive’s interest with that of the stockholders

of the Company” because those executives were obtaining financial benefits as a result of

cronyism and undisclosed conflicts of interest, and irrespective of any future performance, since

the option strike prices already reflected stock appreciation;

               (d)      SafeNet’s top executives were manipulating the Company’s stock option

plans so as to enrich themselves and attract employees by backdating the stock options they and

others were granted, thus giving recipients an instant, riskless profit, while exposing the

Company to the risks of regulatory investigations, tax penalties, restatements, and civil and

criminal proceedings; and

               (e)      SafeNet’s top executives were manipulating the Company’s stock option

plans so as to enrich themselves and attract employees by backdating the stock options they and

others were granted, thus giving recipients an instant, riskless profit, while exposing the

Company to the risks of regulatory investigations, tax penalties, restatements, and civil and

criminal proceedings.




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       184.    Moreover, as detailed herein, the 2004 Form 10-K/A was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       185.    The following quarterly financial metrics were reported in the Form 10-Q for the

first quarter of 2005 (“1Q 2005 Form 10-Q”), which SafeNet filed with the SEC on May 10,

2005 and was signed by defendants Caputo and Mueller:

                   •   Total Revenue of $59,812,000;

                   •   Operating income (loss) of $1,428,000;

                   •   Total costs and expenses of $58,384,000;

                   •   Net Income (loss) of $1,238,000; and

                   •   Basic net income (loss) per share of $0.05.

       186.    Although SafeNet did not report that it issued stock options to certain executives

during the first quarter of 2005, as a result of the failure to record a compensation expense for

previously backdated options as they vested, these results were materially false and misleading.

Indeed, SafeNet’s top executives were manipulating the Company’s stock option plans so as to

enrich themselves and attract employees by backdating the stock options they and others were

granted, thus giving recipients an instant, riskless profit, while exposing the Company to the

risks of regulatory investigations, tax penalties, restatements, and civil and criminal proceedings.

       187.    Moreover, as detailed herein, the 1Q 2005 Form 10-Q was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially




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inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       188.    On July 6, 2005, SafeNet and the Directors Defendants, who were directors of

SafeNet at the time, issued to investors SafeNet’s definitive proxy statement on Form 14A in

connection with the 2005 annual meeting of shareholders (the “2005 Proxy Statement”). Among

other things, the 2005 Proxy Statement solicited investors to increase the number of shares in the

Stock Option Plan from 3,000,000 to 6,000,000 shares.          As explained in the 2005 Proxy

Statement, “The Company grants options to its employees and directors to maintain a

competitive compensation package necessary to attract talented business professionals to join the

Company. Based on this policy and the current number of shares available under the existing

plan, there are not enough shares left in the Plan to issue desired grants to employees and

directors in the future.” The 2005 Proxy Statement made the following material misstatements

regarding the Company’s stock option grants and granting practices:

               (a)    Under the heading “Executive Compensation,” defendants provided a

chart listing “Options Grants in Fiscal Year 2004.” Footnote 4 to this chart stated as follows:

               The potential realizable value has been calculated in conformity
               with Securities and Exchange Commission proxy statement
               disclosure rules and is not intended to forecast possible future
               appreciation of the common stock. No gain to the options is
               possible without stock price appreciation, which will benefit all
               shareholders. If the stock price does not increase above the
               exercise price, compensation to the named executive will be zero.
               (Emphasis added.)

               (b)    Under the heading “Report of Compensation Committee on Executive

Compensation,” defendants disclosed the following:

               The Compensation Committee of the Board of Directors (the
               “Committee”) reviews and approves the general compensation
               policies of the Company, specific compensation for each executive
               officer of the Company, the Company’s equity compensation plans


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              and makes recommendations to the Board of Directors regarding
              these matters. The Company’s policy, as administered through
              the Committee, is to provide compensation packages to the
              executive officers of the Company sufficient to attract and retain
              persons of exceptional quality and to provide effective incentives
              to motivate and reward such executives for achieving the technical,
              financial and strategic goals of the Company essential to the
              Company’s long-term success and to growth in stockholder value.
              Consequently, a significant portion of the compensation of the
              executive officers and directors is dependent on company
              performance and maintenance of value in the marketplace.

                                            *****

              Grants of stock options are designed to align the executive’s
              interest with that of the stockholders of the Company …Stock
              options are also provided to all new employees as well as
              occasional grants in recognition of superior performance, etc. The
              overall objective of the stock option program is to cause employees
              to identify with the success of the Company and to incent superior
              performance. (Emphases added.)

              (c)     Under the heading “Potential Limitations on Company Deductions,”

defendants represented as follows:

              Section 162(m) of the Code denies a deduction to any publicly
              held corporation for compensation paid to certain “covered
              employees” in a taxable year to the extent that compensation to
              such covered employee exceeds $1 million. It is possible that
              compensation attributable to awards, when combined with all other
              types of compensation received by a covered employee from the
              Company, may cause this limitation to be exceeded in any
              particular year.

              Certain kinds of compensation, including qualified “performance-
              based compensation,” are disregarded for purposes of the
              deduction limitation. In accordance with Treasury regulations
              issued under Section 162(m), compensation attributable to stock
              options and stock appreciation rights will qualify as performance-
              based compensation if the award is granted by a compensation
              committee comprised solely of “outside directors” and either (i)
              the plan contains a per-employee limitation on the number of
              shares for which such awards may be granted during a specified
              period, the per-employee limitation is approved by the
              stockholders and the exercise price of the award is no less than the
              fair market value of the stock on the date of grant, or (ii) the


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               award is granted (or exercisable) only upon the achievement (as
               certified in writing by the compensation committee) of an
               objective performance goal established in writing by the
               compensation committee while the outcome is substantially
               uncertain, and the award is approved by stockholders. It is
               intended that stock options issued under the 2001 Plan will
               qualify as “performance-based compensation.”         (Emphases
               added.)

       189.    As set forth herein, during 2004 and since at least 1999, SafeNet issued stock

options that were backdated.       As a result, the 2005 Proxy Statement contained material

misstatements because:

               (a)      To the extent stock options were “backdated” and priced below fair

market value, the executives, directors and employees who received backdated stock options

were able to enjoy gain without stock price appreciation;

               (b)      The “per share option price” was not “the closing price on the grant date,”

as had been reported;

               (c)      Grants did not “align the executive’s interest with that of the stockholders

of the Company” because those executives were obtaining financial benefits as a result of

cronyism and undisclosed conflicts of interest, and irrespective of any future performance, since

the option strike prices already reflected stock appreciation that preceded the grant date or

reflected stock appreciation;

               (d)      Stock options that were granted at below fair market value or based on

performance goals whose outcome was no longer uncertain might not qualify as “performance-

based compensation,” as was asserted would be the case for options granted under the Stock

Option Plan; and

               (e)      SafeNet’s top executives were manipulating the Company’s stock option

plans so as to enrich themselves and attract employees by backdating the stock options they and



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others were granted, thus giving recipients an instant, riskless profit, while exposing the

Company to the risks of regulatory investigations, tax penalties, restatements, and civil and

criminal proceedings.

       190.    A Form 8-K, dated July 26, 2005 and signed by defendant Caputo, informed the

market that SafeNet had amended the Company’s 2001 Omnibus Stock Option Plan with

shareholder approval. Of particular import, the amended plan provided that all stock options

granted under the Plan must have an exercise price of not less than the fair market value of the

Company’s common stock as of the date of grant.

       191.    The Form 8-K, dated July 26, 2005, was materially false and misleading because

Defendants failed to disclose that despite prior representations to the contrary (as identified

herein), in 2005 and since at least 2001, SafeNet had already granted millions of dollars worth of

stock options with exercise prices less than fair market value. Indeed, SafeNet’s top executives

were manipulating the Company’s stock option plans so as to enrich themselves and attract

employees by backdating the stock options they and others were granted, thus giving recipients

an instant, riskless profit, while exposing the Company to the risks of regulatory investigations,

tax penalties, restatements, and civil and criminal proceedings.

       192.    The following quarterly financial metrics were reported in the Form 10-Q for the

second quarter of 2005 (“2Q 2005 Form 10-Q”), which SafeNet filed with the SEC on August 9,

2005 and was signed by defendants Caputo and Mueller:

                   •    Total Revenue of $63,498,000;

                   •    Operating income (loss) of ($5,898,000);

                   •    Total costs and expenses of $69,396,000;

                   •    Net Income (loss) of ($3,811,000); and

                   •    Basic net income (loss) per share of ($0.15).


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       193.      As detailed herein, the 2Q 2005 Form 10-Q was materially false and misleading

because, inter alia, it failed to disclose that the Company’s reported revenues, operating income

and net income (earnings), as incorporated, were materially and artificially inflated as a result of

SafeNet’s improper revenue recognition and other accounting improprieties described above in

¶¶ 100 to 136.

       194.      As set forth herein, although SafeNet did not report that it issued stock options

to its Board and only reported granting 487 options to employees, during the second quarter of

2005 and since at least 2001, SafeNet issued stock options that were backdated to high level

executives and others. As a result, the 2Q2005 Form 10-Q was materially false and misleading

because it failed to disclose this practice or to record related compensation expenses, and the

Company did not in fact account for these options in accordance with APB Opinion No. 25 or

GAAP. Indeed, SafeNet’s top executives were manipulating the Company’s stock option plans

so as to enrich themselves and attract employees by backdating the stock options they and others

were granted, thus giving recipients an instant, risk less profit, while exposing the Company to

the risks of regulatory investigations, tax penalties, restatements, and civil and criminal

proceedings.

       195.      On November 9, 2005, SafeNet filed its Form 10-Q for the third quarter of 2005

(the “3Q 2005 Form 10-Q”) with the SEC. Defendants Caputo and Mueller signed the 3Q 2005

Form 10-Q. The 3Q 2005 Form 10-Q reported the following financial results:

                    •   Total Revenue of $63,017,000;

                    •   Operating income (loss) of ($441,000);

                    •   Total costs and expenses of $63,458,000;

                    •   Net Income (loss) of $717,000; and

                    •   Basic net income (loss) per share of ($0.03).


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       196.    Note 3 to SafeNet’s financial statements for the third quarter of 2005, as reported

in the 3Q 2005 Form 10-Q, was entitled “Summary of Significant Accounting Policies.” It

stated the following, inter alia:

               (a)     Under the heading “Employee Stock-Based Compensation,” Note 3 stated

as follows:

               As of September 30, 2005, the Company had five stock-based
               employee compensation plans. The Company accounts for those
               plans using the intrinsic value method prescribed by APB Opinion
               No. 25, Accounting for Stock Issued to Employees, and related
               interpretations.

               (b)     Under the heading “Recent Accounting Pronouncements,” Note 3

represented as follows:

               As permitted by Statement 123, the Company currently accounts
               for share-based payments to employees using Opinion 25’s
               intrinsic value method and, as such, generally recognizes no
               compensation cost for employee stock options.

       197.    As set forth herein, during 2005 and since at least 2001, SafeNet issued stock

options that were backdated. In particular, SafeNet issued stock options with exercise prices

equal to the closing price on September 29, 2005, the day of the critical announcement of

SafeNet’s KIV-7M Contract. Those options were either backdated. As a result, the 3Q 2005

Form 10-Q was materially false and misleading because it failed to disclose this practice or to

record related compensation expenses. Indeed, SafeNet’s top executives were manipulating the

Company’s stock option plans so as to enrich themselves and attract employees by backdating

the stock options they and others were granted, thus giving recipients an instant, riskless profit,

while exposing the Company to the risks of regulatory investigations, tax penalties, restatements,

and civil and criminal proceedings.




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       198.      Moreover, as detailed herein, the 3Q 2005 Form 10-Q was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       199.      On March 16, 2006, SafeNet filed its Form 10-K for the year ended December 31,

2005 (the “2005 Form 10-K”) with the SEC. Officer Defendants Caputo and Mueller and

Director Defendants Brooks, Harrison, Hunt, Thaw, Clark and Money signed the 2005 Form 10-

K. The 2005 Form 10-K reported the following financial results:

                    •   Total Revenue of $263,061,000;

                    •   Operating income (loss) of $146,000;

                    •   Total costs and expenses of $262,915,000;

                    •   Net Income (loss) of $3,028,000; and

                    •   Basic net income (loss) per share of $0.12.

       200.      Note 2 to SafeNet’s financial statements for 2005, as reported in the 2005 Form

10-K, was entitled “Summary of Significant Accounting Policies.” Regarding compensation,

Note 2 stated:

                 Employee Stock-Based Compensation

                 At December 31, 2005, the Company had five stock-based
                 employee compensation plans, which are described more fully in
                 Note 14. The Company accounts for those plans using the
                 intrinsic value method prescribed by APB Opinion No. 25,
                 Accounting for Stock Issued to Employees, and related
                 interpretations.  Under the intrinsic value method, stock
                 compensation expense is defined as the difference between the
                 amount payable upon exercise of an option and the quoted market
                 value of the underlying common stock on the date of grant or
                 measurement date. Stock-based employee compensation reflected
                 in the statements of operations includes the amortization of


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               unearned compensation related to unvested options assumed in
               purchase business combinations as well as the amortization of
               the intrinsic value of certain options granted to employees with
               exercise prices below the market value of the underlying common
               stock on the date of grant. Any resulting compensation expense is
               recognized ratably over the vesting period. (Emphases added.)

       201.    Note 14 to the financial statements for 2005, as reported in the 2005 Form 10-K,

was entitled “Stock Compensation Plans,” and stated as follows:

               Stock Option Plans

               The Company sponsors five stock option plans that provide for the
               granting of stock options to officers, directors, consultants and
               employees of the Company. Options have been granted with
               exercise prices that are equal to, or in some cases below the fair
               market value of the common stock on the date of grant and,
               subject to termination of employment, expire seven years from
               the date of grant. Either incentive stock options or non-qualified
               stock options may be granted under the plans. The vesting and
               exercise periods are determined by the Board of Directors and the
               lives may not exceed ten years.

       202.    The 2005 Form 10-K was materially false and misleading and omitted to state

material facts because defendants failed to disclose the extent to which stock options had been

backdated and granted, in 2005 and since at least 2001, at exercise prices below the fair market

value on the date of the grant (including periods when SafeNet reported that all options were

granted with prices equal to the market price on the date of the grant) and failed to properly

record related compensation expenses, and the Company did not in fact account for those options

in accordance with APB Opinion No. 25 or GAAP. Indeed, SafeNet’s top executives were

manipulating the Company’s stock option plans so as to enrich themselves and attract employees

by backdating the stock options they and others were granted, thus giving recipients an instant,

riskless profit, while exposing the Company to the severe risks lost investor confidence, of

regulatory investigations, tax penalties, restatements, and civil and criminal proceedings.




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       203.   Moreover, as detailed herein, the 2005 Form 10-K was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       204.   On May 10, 2006, SafeNet filed its Form 10-Q for the first quarter of 2006 (the

“1Q 2006 Form 10-Q”) with the SEC. Defendants Caputo and Argo signed the 1Q 2006 Form

10-Q. The 1Q 2006 Form 10-Q reported the following financial results:

                  •   Total revenues of $63,475,000;

                  •   Operating income (loss) of ($5,066,000);

                  •   Total costs and expenses of $68,541,000;

                  •   Net Income (loss) of ($2,390,000); and

                  •   Basic net income (loss) per share of ($0.10).

       205.    Note 3 to SafeNet’s financial statements for the first quarter of 2006, as reported

in the 1Q 2006 Form 10-Q, was entitled “Summary of Significant Accounting Policies.” Under

the heading “Employee Stock-Based Compensation,” Note 3 stated:


              “Effective January 1, 2006, the Company adopted the fair value
              recognition provisions of Statement of Financial Accounting
              Standards (“SFAS”) No. 123 (revised 2004), “Share-Based
              Payment” (“SFAS 123R”), using the modified prospective
              transition method and therefore has not restated results for prior
              periods. Under this transition method, stock-based compensation
              expense for the first quarter of 2006 includes compensation
              expense for all stock-based compensation awards granted prior
              to, but not yet vested as of January 1, 2006, based on the grant
              date fair value estimated in accordance with the original provision
              of SFAS No. 123, “Accounting for Stock-Based Compensation”
              (“SFAS 123”). . . . Prior to the adoption of SFAS 123R, SafeNet
              recognized stock-based compensation expense using the intrinsic


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               value method in accordance with Accounting Principles Board
               (“APB”) Opinion No. 25, “Accounting for Stock Issued to
               Employees” (“APB 25”).” (Emphasis added).

       206.    Note 15 to SafeNet’s financial statements for the first quarter of 2006, as reported

in the 1Q 2006 Form 10-Q, was entitled “Stock-Based Compensation.”                 It repeated the

explanation of SFAS 123 and reported:


               “At March 31, 2006, the Company has several stock-based
               employee compensation plans as described below. The total
               compensation expense related to these plans was $2,110 for the
               three months ended March 31, 2006. Prior to January 1, 2006,
               the Company accounted for those plans under the recognition
               and measurement provisions of APB 25. Accordingly, the
               Company generally recognized compensation expense only when
               it granted options with intrinsic value at the grant date. Any
               resulting compensation expense was recognized ratably over the
               associated service period, which was generally the option vesting
               term.” (Emphasis added).

       207.    Note 15 purported to explain SafeNet’s stock option plans and repeated that “[t]he

exercise price of a stock option generally is equal to the fair market value of SafeNet’s common

stock on the option grant date.” It went on to give an overview of SafeNet’s option grants for

2005, including giving ranges of exercise prices and aggregate intrinsic values for the options.

       208.    Item 2 to SafeNet’s financial statements for the first quarter of 2006, as reported

in the 1Q 2006 Form 10-Q, was entitled “Management’s Discussion and Analysis of Financial

Condition and Results of Operations.” Under the heading “Critical Accounting Policies and

Estimates,” SafeNet stated:

                “Prior to SFAS 123R adoption, we accounted for share-based
               payments under Accounting Principles Board Opinion No. 25,
               “Accounting for Stock Issued to Employees” (“APB 25”) and,
               accordingly, generally recognized compensation expense only
               when we granted options with an intrinsic value at the grant
               date.” (Emphasis added).




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       209.    As set forth herein, since at least 1999, SafeNet issued stock options that were

backdated and did not record related compensation expenses as required. As a result, the 1Q

2006 Form 10-Q was materially false and misleading when issued because compensation

expenses should have been recorded, SafeNet awarded stock options above “fair market value”

and it did not, in fact, “recognize[ ] stock-based compensation expense using the intrinsic value

method in accordance with Accounting Principles Board (“APB”) Opinion No. 25, “Accounting

for Stock Issued to Employees” (“APB 25”).”            Indeed, SafeNet’s top executives were

manipulating the Company’s stock option plans so as to enrich themselves and attract employees

by backdating the stock options they and others were granted, thus giving recipients an instant,

riskless profit, while exposing the Company to the risks of regulatory investigations, tax

penalties, restatements, and civil and criminal proceedings.

       210.    Moreover, as detailed herein, the 1Q 2006 Form 10-Q was materially false and

misleading because, inter alia, it failed to disclose that the Company’s reported revenues,

operating income and net income (earnings), as incorporated, were materially and artificially

inflated as a result of SafeNet’s improper revenue recognition and other accounting improprieties

described above in ¶¶ 100 to 136.

       211.    Each of SafeNet’s financial statements filed with the SEC on Form 10-Q and

Form 10-K (and amendments) were signed and certified by defendant Caputo and either

defendant Argo or defendant Mueller, in their respective capacity as CEO and CFO as required

by the Sarbanes-Oxley Act of 2002 (“Certifications”). Within their Certifications, defendants

Caputo and Argo attested that the information contained within each report fairly presented, in

all material respects, the financial condition of the Company.       In truth, the Certifications

contained within SafeNet’s filings and signed by defendants Caputo and Argo were false and




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misleading because of the above misstatements and omissions included within those financial

statements.   In addition, defendants Caputo, along with defendant Argo and/or Mueller,

represented that SafeNet had adequate internal control over financial reporting.     In truth,

SafeNet had inadequate internal control over financial reporting, which the Company later

admitted in a Form 8-K/A filed with the SEC on March 13, 2006.

VII.   THE TRUTH CONCERNING SAFENET’S FRAUDULENT PRACTICES
       SLOWLY BEGINS TO EMERGE

       A.      The February 2, 2006 Disclosure of SafeNet’s Need To Restate Its Financials

       212.    On February 2, 2006, Defendants issued (and later filed with the SEC as an

exhibit to a Current Report on Form 8-K signed by defendant Caputo) a press release in which

the Company reported its financial results for the fourth quarter of 2005 and disclosed that

SafeNet’s previously disclosed earnings for the second and third quarters of 2005 would be

restated in the near future (the “February 2 Restatement Disclosure”).

       213.    In the February 2 Restatement Disclosure, SafeNet reported fourth quarter of

$77.1 million and EPS at $0.45, which were below analysts’ consensus estimates of $80 million

and $0.55, respectively. SafeNet reported GAAP income for the year at $4.1 million or $0.16

per diluted share. The February 2 Restatement Disclosure also stated as follows:

               During the year end audit process, we discovered errors that
               impacted prior quarters but did not materially impact the full year
               results. One error occurred during the second quarter of 2005
               which consisted of an understatement of lease restructuring
               charges of approximately $700,000.             Another error of
               approximately $600,000 was related to an understatement of our
               costs of revenues in our Classified Government business in the
               third quarter of 2005. These errors will be corrected in a 10-Q/A
               filing shortly.

Notwithstanding SafeNet’s false assertion that the “errors” they had discovered “did not

materially impact the full year results,” these amounts were material both to SafeNet’s



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previously reported full year financial results for 2005 and for the second and third quarters of

2005. In its subsequent earnings conference call that same day, SafeNet also disclosed that its

auditors had been reviewing SafeNet’s revenue recognition policies, and had concluded that

SafeNet needed to defer recognition of $1 million in revenue that the company had originally

planned to recognize in the fourth quarter of 2005

       214.    As noted above, during the development phase of a long-term contract, if actual

costs to date differed from the estimated cost to complete the project, SafeNet, in accordance

with GAAP, would adjust its estimated costs to complete the project and account for this change

in estimate prospectively in connection with recognizing revenue on the contract in the current

and future accounting periods. However, in this instance, the Company restated its earnings

based on an “understatement of our costs of revenues.”              Thus, by restating, SafeNet

acknowledged that its previously reported costs of revenues was understated, not because of a

change in an accounting estimate, but rather due to improper accounting which overstated

SafeNet’s originally reported earnings. These “errors” were material to investors because they

were not innocent mistakes or differences due to changes in accounting estimates, but rather

were restatements of costs that were previously understated by management in order to improve

SafeNet’s publicly reported earnings. As such, these restatements related directly to the integrity

of SafeNet’s management and the reliability of its financial reporting.

       215.    For example, as financial analyst firm Glass Lewis & Co. reported on Monday,

February 6 in a report titled “SafeNet Stumbles; Observations from 4Q earnings release”:

               [W]e feel investors should take note of the following observations
               from the Company’s 4Q earnings release:

               (1)     Stealth Restatement for 3Q ’05: SafeNet disclosed “an
               error of approximately $600,000 … related to an understatement of
               costs of revenues in our Classified Government business” in 3Q



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              ’05. The error will result in a restatement of results, yet the
              Company has not released a Form 8-K “Non-reliance on previous
              financials.” According to the earnings press release, the error
              “did not materially impact full year results.” However, the error
              appears to have reduced 3Q pro-forma EPS by 8% ($0.23 vs.
              $0.25 previously reported).           Interestingly, the expense
              understatement occurred in the same revenue segment where a
              previous adjustment to profitability assumptions resulted in $0.05
              of additional EPS in the third quarter. We are troubled by the fact
              pattern here; the Company lowers its expense assumptions
              (increasing EPS) regarding certain government contracts in its
              initial 3Q release, only to undertake a (stealth?) restatement of
              these expenses in a later period (lowering EPS)…

              (2)     Continued revenue recognition concerns: During its
              earnings conference call, the Company disclosed that it and its
              auditors “have looked closely at revenue recognition policies” and
              decided to defer $1 million of revenue previously forecasted to be
              recognized in the fourth quarter. The revenue will now be
              recognized ratably over 2006. This disclosure is another example
              of the Company’s exposure to assumptions-based revenue streams,
              confirming our belief that investors should closely scrutinize
              metrics related to revenue recognition at SafeNet…. (Emphases
              added.)

       216.   Similarly, Deutsche Bank expressed concerns about the restatement and SafeNet’s

revenue recognition disclosures in a report dated February 2, 2006:

              2Q05 and 3Q05 restatement and revenue recognition issue in
              4Q05 concerning:

              In its press release, and not discussed on the call, were two
              accounting restatements from 2Q05 and 3Q05. The $700,000
              understatement of the lease restructuring charge in 2Q05 is
              relatively minor, but we are somewhat concerned that the $600,000
              understatement in COGS in 3Q05 was not discussed or called out.
              This artificially inflated a gross margin metric in Q305 that was
              already below investors’ expectations. While the gross margin
              improvement the company exhibited in 4Q05 was better than pro
              forma numbers show because of this adjustment, this issue creates
              some uncertainty into the financial controls of the company. In
              addition, in 4Q05 SafeNet highlighted there was approximately $1
              million in deals that they thought they would be able to recognize,
              but their auditors have subsequently indicated must be deferred.
              As isolated incidents, neither of these issues is that large, but we



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                 hope that these small accounting issues do not become a pattern for
                 the company.

       217.      In response to SafeNet’s February 2, 2006 disclosures, SafeNet’s stock price fell

sharply, dropping 15.2% from $32.72 per share on February 2, 2006 to $27.75 at the close on

February 3, 2006 on heavy volume of 5,860,500 shares (which was over 15 times the average

reported trading volume for SafeNet shares during the period between October 1, 2005 and

February 2, 2006).

       218.      SafeNet’s subsequent disclosures in February and March of 2006 further

confirmed that SafeNet would have to restate prior financial statements. For example, on

February 27, 2006, SafeNet filed with the SEC an amended Form 10-Q for the third quarter of

2005, signed by Caputo and Mueller, which admitted that as to that quarter:

                 The Company restated its previously issued consolidated financial
                 statements as of and for the three and nine-month periods ended
                 September 30, 2005. The restated unaudited consolidated
                 financial statements result primarily from an error made in the
                 recognition of costs under certain long-term production
                 contracts. During the three-month period ended September 30,
                 2005 the Company failed to properly recognize $731 of costs of
                 product sales related to two long-term production contracts that
                 were completed during the period, which resulted in an
                 understatement of costs of goods sold and an overstatement of
                 inventory at the balance sheet date. (Dollar Amounts in
                 Thousands) (Emphases added.)

The effect of this restatement of SafeNet’s reported income was material, decreasing reported

income for the quarter from $717,000 (or 3 cents per share) to $178,000 (or 1 cent per share),

representing approximately a 75% decrease in total reported income for the quarter and

increasing the reported net loss for the first nine months of 2005 from $1,856,000 (a loss of 8

cents per share) to $2,395,000 (a loss of 10 cents per share), representing a 25% increase in the

reported loss.




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       219.   Two weeks later, in a press release dated March 13, 2006 (which was attached to

SafeNet’s Form 8-K/A of the same date) (the “March 13 Form 8-K/A”) SafeNet also confirmed

that the Company would be restating its financial results for the second quarter of 2005. As the

March 13 Form 8-K/A stated:

              [A]fter further review and discussions with Ernst & Young LLP,
              the Company’s independent registered public accounting firm, in
              connection with the audit of the Company’s financial statements
              for the year ended December 31, 2005, the Company and its Audit
              Committee, as well as Ernst & Young LLP, have reexamined this
              matter and the second quarter Form 10-Q and concluded that the
              adjustments resulting from such previously disclosed errors are
              material in relation to previously reported results of operations.
              Accordingly, the financial statements included in the June 30, 2005
              Form 10-Q should no longer be relied upon. As disclosed
              previously, these errors are principally attributable to the
              accounting for a restructuring accrual related to the exit of an
              operating lease approximating $650,000, as well as other
              individually less material errors approximating $400,000 in the
              aggregate. The Company expects these adjustments to result in a
              net loss per common share, on GAAP basis of $0.20 and $0.15 for
              the three and six months ended June 30, 2005, respectively, rather
              than a net loss per common share of $0.15 and $0.10, respectively,
              as reported for such periods in the June 30, 2005 Form 10-Q.

              The adjustments to second quarter will also result in cumulative
              adjustments to certain information presented in the September 30,
              2005 Form 10-Q for the nine months ended September 30, 2005.
              As a result of these adjustments, the Company expects that net loss
              per common share, on a GAAP basis, [will] be $0.14 for the nine
              months ended September 30, 2005, rather than $0.10 as reported
              for such period in the September 30, 2005 Form 10-Q/A
              (Amendment No. 1).

                                            *****

              For the full year 2005, net income per diluted share decreased
              from $0.16, as previously announced in the press release on
              February 2, 2006, to $0.12 as a result of the adjustments
              discussed in this Amendment No. 2 to Form 8-K/A. (Emphases
              added).




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       220.    As a result of SafeNet’s restatement of its second quarter 2005 results (the “2Q

2005 Restatement”), SafeNet’s reported net loss per share for the quarter increased from 15 cents

to 20 cents per share, representing a 33% adjustment in the Company’s net loss per share for that

quarter. The net loss per share for the first six months of 2005 increased from 10 to 15 cents,

representing a 50% adverse adjustment in the Company’s net loss for that period, and the net loss

for the first nine months of 2005 increased from 10 to 14 cents per share, representing a 40%

adverse adjustment in the Company’s net loss for that time period. Net income for the year

decreased by 25%, from 16 cents to 12 cents per diluted share.

       221.    In its March 13 Form 8-K/A, SafeNet also admitted that contrary to the Officer

Defendants’ prior statements and certifications, material weaknesses in SafeNet’s internal

controls did indeed exist:

               [M]anagement has currently identified a material weakness in
               internal control as of December 31, 2005. A material weakness is
               a control deficiency, or combination of control deficiencies, that
               results in more than a remote likelihood that a material
               misstatement of the annual or interim financial statements will not
               be prevented or detected. The material weakness pertains to
               insufficient staffing and technical expertise in the Company’s
               accounting and financial reporting functions. The inadequate level
               of staffing and technical expertise results in certain accounting
               processes and controls around the financial statement close and
               financial reporting processes not being performed correctly, or on a
               timely basis. As a result of this weakness, material adjustments
               were identified related to accounting for revenue and costs on
               long-term contracts, plus other less material adjustments. The
               lack of sufficient staffing and technical expertise has reduced the
               effectiveness of the existing accounting and financial reporting
               function in its monitoring and evaluation of the financial
               position and operating results of the Company, thereby
               increasing the risk of a financial statement misstatement.

               The adjustments resulted in the restatement of the Company’s
               financial statements for the three and six month periods ended
               June 30, 2005 and the three and nine month periods ended
               September 30, 2005. Accordingly, management has determined
               that this deficiency in controls reflects a material weakness.


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                Because of this material weakness, management has concluded
                that the Company did not maintain effective internal control over
                financial reporting as of December 31, 2005 based on the criteria
                in COSO Internal Control — Integrated Framework. In addition, as
                a result of these findings, management believes that the
                Company’s disclosure controls and procedures as of the end of
                second and third quarters and year ended 2005 were ineffective.
                (Emphases added).

However, also on March 13, 2006, the Officer Defendants sought to reassure investors and

downplay the significance of SafeNet’s internal control weakness by issuing a press release that

quoted defendant Caputo as follows: “While we are still in the process of evaluating our internal

controls, we have concluded that a material weakness existed as of December 31, 2005 and,

therefore, we have already increased accounting personnel and are putting in place a plan to

greatly strengthen our internal review function.”

        222.    On March 16, 2006, SafeNet issued its Form 10-K for the year 2005. However,

for the reasons previously set forth above, this Form 10-K was materially false and misleading.

        B.      The April 6, 2006 Disclosure of the Termination of Defendant Mueller

        223.    On April 6, 2006, however, the investing public was rocked by further revelations

indicating that the extent of the rot in SafeNet’s accounting and the severity of its financial

control and reporting problems were significantly greater than had been previously disclosed

when SafeNet issued a press release (also filed with the SEC as an exhibit to a Form 8-K the

same day and signed by Caputo). The April 6 press release revealed that the Company had

removed defendant Mueller from his position as CFO (and that defendant Argo would be

stepping in as interim CFO), and that SafeNet would also be missing its prior earnings forecasts

for the first quarter of 2006.

        224.    The market reacted swiftly to SafeNet’s disclosure of the termination of defendant

Mueller as CFO and the news of missed and lower expected earnings for the first quarter of



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2006. In response, SafeNet’s stock price fell 19.3%, from $25.97 on April 6, 2006 to $20.96 on

April 7, 2006, on heavy volume of 6,199,600 shares traded (which was over 16 times the average

trading volume in SafeNet shares during the period from December 9, 2005 through April 6,

2006). As the Associated Press reported later that day, SafeNet shares “hit a 52-week low” after

the Company “delivered a sack of bad news, including the resignation of its chief financial

officer.”

        225.   The following month, on May 1, 2006, SafeNet filed its Amended Form 10-Q for

the second quarter of 2005, which defendants Caputo and Argo signed (the “Restated 2Q 2005

Form 10-Q”). The Restated 2Q 2005 Form 10-Q stated that:

               During the three-month period ended June 30, 2005 the Company
               failed to properly recognize $642,000 of restructuring costs related
               to an exited leased facility, which resulted in an understatement of
               restructuring expense. The Company also made an error in the
               percentage of completion calculation related to a long-term
               production contract that resulted in an overstatement of revenue for
               the three and six month periods ended June 30, 2006 of $356,000.

The restatement materially affected SafeNet’s reported earnings, as it increased SafeNet’s

reported loss for the second quarter increasing from $3,811,000 (or 15 cents per diluted share) to

$4,895,000 (or 20 cents per share), and increased its reported loss for the first half of 2005 from

$2,573,000 (or 10 cents per share) to $3,722,000 (or 15 cents per share). Also on May 1, 2006,

SafeNet filed its Amended Form 10-Q for the third quarter of 2005, which defendants Caputo

and Argo signed (the “Second Restated 3Q 2005 Form 10-Q”), and which disclosed the effect of

SafeNet’s second quarter restatement on its reported financial results for the first nine months of

2005.

        C.     The May 18, 2006 Disclosure of Government’s Backdating Investigation

        226.   Finally, on May 18, 2006, investors were further stunned by SafeNet disclosures

that it had received a subpoena from the United States Attorney’s Office for the Southern District


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of New York demanding information about the Company’s stock option grants, and that the SEC

had also launched an investigation into the Company’s “stock option grants to directors and

officers” and “certain accounting policies and practices.” As SafeNet stated in a press release

issues on May 18, 2006:

              SafeNet … today announced that it received a subpoena from the
              office of the United States Attorney for the Southern District of
              New York relating to the Company’s granting of stock options.
              The Company also announced that it has received an informal
              inquiry from the Securities and Exchange Commission requesting
              information relating to stock option grants to directors and officers
              of the Company, as well as information relating to certain
              accounting policies and practices.

       227.   In response to this latest stunning revelation, SafeNet’s stock price plummeted

once again, falling 22.3%, from $19.21 on May 18 to $14.93 at the close on May 19, 2006. This

stock drop was the second biggest percentage decline of any stock on the NASDAQ on May 19.

This further decline reflected an astonishing drop in SafeNet’s common stock from $32.72 per

share on February 2, 2006 to a mere $14.93 in just 2 ½ months – a decline of over 55%.

       228.   Analysts also reacted negatively to SafeNet’s May 18 disclosures. For example,

an analyst report dated May 18, 2006 and captioned “Stock Option Issues Represent Another

Overhang,” Stifel Nicolaus stated:

              After the close, SafeNet announced in a brief press release that it
              has received a subpoena from the U.S. Attorney for the Southern
              District of New York relating to the granting of stock options.

              In addition, the company announced that it has received an
              informal inquiry from the SEC also relating to stock option grants.

              While the stock option grant issue is new to SafeNet, the news is
              not entirely surprising. We note that the whole issue of option
              backdating has been a recent focal point of the SEC with
              investigations leading to earnings restatements and executive
              departures for several companies, including Mercury Interactive
              and Comverse Technology.



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              At this point, it is difficult to say for sure whether SafeNet is guilty
              of backdating stock options.

              However, in gauging this risk, we believe the market will likely
              rely heavily on the quality of management and management
              credibility.

              Unfortunately for SafeNet, we believe that persistent
              management credibility concerns along with the recent departure
              of its CFO will likely cause the market to look at the situation
              through a “worse case scenario” lens.

              SFNT shares are down over 16% in after hours [trading]. We
              believe concerns over yesterday’s announcement will serve as
              incremental overhang on the stock, in addition to the concerns
              regarding the fundamental outlook for the company.

              Despite the sharp decline in the shares, we believe it is prudent to
              remain on the sidelines given the mounting uncertainties with
              respect to the company.

       229.   Similarly, on May 19, 2006, Friedman Billings Ramsay issued an analyst report

entitled “SFNT: Receives Stock options Inquiries from SEC: Risk Profile Increases Substantially

– Downgrading from Outperform to Market Perform,” which stated:

              Last night, SFNT received a subpoena from the office of the U.S.
              Attorney General for the Southern District of NY relating to the
              company’s granting of stock options.            In addition, SFNT
              announced that it has received an informal inquiry from the SEC
              relating to these stock option grants as well as information relating
              to certain accounting policies and practices. While SFNT is not
              alone in the SEC stock option investigation (Comverse is another
              example), we believe this investigation adds substantially more
              risk to the story… Every time it appears the bad news is over with
              SFNT, there is yet another shoe to drop. With the SEC now
              knocking on SFNT’s door, we encourage investors to stay away
              from this name in the near-term until the overhang of a
              potentially prolonged investigation runs its course. [Emphasis
              added].

                                              *****

              Option Probe could lead down a number of different avenues.
              While there were no specific details given about SFNT’s option



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               probe, the nature of an SEC investigation casts a dark cloud over
               SFNT’s head until resolved.


In an analyst report entitled “Downgrade to NEUTRAL on Stock Option Inquiry Concerns”

issued May 19, 2006, Janney Montgomery Scott also downgraded SafeNet from “buy” to

“neutral,” noting that “While we believe SafeNet possesses significant assets and value, we are

lowering our rating to NEUTRAL from Buy, as the risk associated with the government inquiries

outweighs the potential upside from current levels.”


VIII. POST CLASS PERIOD EVENTS

       230.    In the weeks and months following the stunning disclosures of the first half of

2006, events have only confirmed the extent to which SafeNet’s accounting could not be relied

upon, the extent to which its senior management lacked integrity, and the extent to which its

historical financial statements were misstated and inflated.

       231.    For example, on July 26, 2006, SafeNet issued a press release disclosing that it

would restate, at the least, its fourth quarter 2002 earnings because of improper accounting and

recording of prior stock option grants. As SafeNet stated:

               Update on Stock Option Granting Issues

               As previously disclosed on June 2, 2006, SafeNet’s Board of
               Directors has appointed a special committee of the board to
               investigate the Company’s stock option granting practices. The
               special committee has retained independent counsel and forensic
               accountants to assist in its investigation, which is currently in
               progress. In addition, the Company has retained an international
               professional services firm to assist the Company in a review of the
               Company’s accounting for stock option grants. That review is also
               ongoing.

               Based on its review to date, the Company believes that certain
               option grants, including grants to directors, officers and
               employees, were or likely were accounted for using incorrect
               measurement dates under applicable accounting rules in effect at


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                  the time. With respect to one of these grants, made to officers and
                  employees of the Company, including the chief executive officer,
                  in the fourth quarter of 2002, the Company has concluded that
                  material non-cash, stock-based compensation expenses related to
                  this option grant will have to be recorded. Therefore, the Company
                  expects that financial statements for the fourth quarter of 2002 will
                  have to be restated. As a result, the Company, in consultation with
                  the Audit Committee and with the concurrence of its independent
                  registered accounting firm, Ernst & Young LLP has determined
                  that its financial statements and its related audit report of its
                  independent registered accounting firm for the year ended
                  December 31, 2002 should no longer be relied upon. The review
                  by the Company and the investigation by the special committee of
                  the Board of Directors are not yet complete, and accordingly the
                  Company has not yet determined if there are further charges
                  pertaining to the 2002 period or if financial statements from any
                  other reporting periods will require restatement. Because the
                  Company will not file its Form 10-Q for the quarter ended June 30,
                  2006 until it completes its review of accounting for stock option
                  grants, the Company will not file its Form 10-Q for the second
                  quarter of 2006 on a timely basis.

       232.       Three months later, on September 18, 2006, SafeNet filed a Form 8-K with the

SEC in which it publicly announced that the Company would actually need to restate its financial

statements for the years 2000 through 2005 and for the first quarter of 2006 (the quarter ended

March 31, 2006), and on September 28, 2006, in a Form 8-K/A, SafeNet reconfirmed that its

financial statements for 2004 and 2005, and the independent auditor opinions thereon, could not

be relied upon.

       233.       The following quarter, on January 9, 2007, SafeNet provided further guidance

concerning its ongoing accounting review and some of the non-options related accounting

improprieties at SafeNet that would require material restatements of the Company’s financial

statements for 2004 and 2005, and for the First Quarter of 2006. As SafeNet stated:

                  These adjustments identified as a result of this review to date
                  include: (1) treatment of non-recurring engineering revenue where
                  there is an undelivered element, (2) timing of software license
                  revenue recognized upon entering into the arrangement where the
                  license includes maintenance, (3) revenue recognized pursuant to a


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                license agreement with a party whom we also have a development
                arrangement where fair value of elements to the arrangement could
                not be reasonably determined, and (4) funded research and
                development payments received reflected as revenue on a
                milestone basis.

See Form 8-K, filed January 9, 2007.

       234.     However, the most dramatic confirmation of Plaintiffs’ allegations of accounting

fraud against SafeNet have come in criminal proceedings that the United States Attorneys Office

launched shortly after the end of the Class Period. As previously discussed, on July 25, 2007,

Michael J. Garcia, the United States Attorney for the Southern District of New York, announced

the filing of a criminal indictment against defendant Argo, charging her with securities fraud and

conspiracy to commit securities fraud. The indictment charged that between 2000 and 2006,

Argo and others engaged in an illegal scheme to deceive the investing public about SafeNet’s

systematic backdating of millions of dollars worth of option grants. In addition, on August 1,

2007, the SEC announced that it had filed a civil injunctive action against Argo for her role in

the backdating and in causing SafeNet to report materially misstated financial results from 2000

through 2006.

       235.     On October 5, 2007, defendant Argo pled guilty to committing felony securities

fraud in violation of 15 U.S.C. §10(b). As Argo testified as part of her plea allocution:

                In mid-2000 I became responsible for overseeing SafeNet’s
                process for granting and documenting stock options. Sometime in
                December 2001 or early January 2002, SafeNet’s compensation
                committee approved a grant of stock options to me and two other
                individuals, one of whom was the Company’s CEO [defendant
                Caputo]. The CEO [defendant Caputo] asked me to report
                October 1, 2001, as the date on which his options had been
                approved. SafeNet’s stock price on October 1, 2001 was its
                lowest stock price in the quarter. I agreed to document the CEO’s
                options as if they had been granted on October 1, 2001. I did so,
                and the compensation committee approved this treatment, even
                though I and others knew that the compensation committee had
                not granted the options on that date. I similarly documented the


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              options granted to me and the other individual as if they had been
              granted on October 1, 2001, even though I knew this was untrue.

              By using October 1 as the grant date, SafeNet avoided reporting
              any compensation expense. I knew that if we had used the correct
              grant date with the October 1 exercise price, SafeNet would have
              been required to record the difference between the exercise price
              and the higher stock price on the actual grant date as a
              compensation expense in its financial statements. As a result of
              using October 1, 2001 as the grant date, SafeNet’s public filings
              included inaccurate compensation expense information.… In
              causing these filings to be inaccurate, I acted willfully and with
              intent to defraud.

              In the following years, with respect to certain [additional option
              grants], I and others at SafeNet selected with hindsight grant
              dates with a low price from within the period when the grant was
              under consideration. As to these grants, the Company did not
              record a compensation expense. This was wrong, and as a result of
              my conduct the company’s public filings were inaccurate in this
              respect....

United States v. Argo, 07 CR 683 (JSR) (S.D.N.Y.), Transcript of Plea Allocution Proceedings,

dated October 5, 2007 (emphasis added).

       236.   The government’s Indictment of Argo, at paragraph 27, also confirms that

defendant Mueller (as well as Argo and Caputo) was also well aware of and involved in

SafeNet’s options backdating activities. For example, the indictment quotes a Sept. 15, 2004 e-

mail from Argo to recently appointed CFO defendant Mueller:

              Our past practice has been to aggregate options for performance
              awards or new hires in the quarter and pick the best price after the
              hire date. We then send the unanimous consent to the comp
              committee and the options are approved. I think this is a good
              practice because of the volatility of our stock price. (Emphasis
              added.)


On January 28, 2008, defendant Argo was sentenced to 6 months in prison and fined $1 million.

The SEC charges against her are still pending.




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IX.    SAFENET’S GAAP VIOLATIONS

       237.   At all relevant times during the Class Period, SafeNet represented that its

financial statements as filed with the SEC were prepared in accordance with GAAP. GAAP are

those principles recognized by the accounting profession as the conventions, rules, and

procedures necessary to define accepted accounting practice at a particular time. As set forth in

the Financial Accounting Standards Board (“FASB”) Statement of Concepts (“Concepts

Statement”) No. 1, one of the fundamental objectives of financial reporting is that it provide

accurate and reliable information concerning an entity’s financial performance during the period

being presented. Concepts Statement No. 1, ¶ 42, states:

              Financial reporting should provide information about an
              enterprise’s financial performance during a period. Investors and
              creditors often use information about the past to help in assessing
              the prospects of an enterprise. Thus, although investment and
              credit decisions reflect investors’ and creditors’ expectations about
              future performance, those expectations are commonly based at
              least partly in evaluations of past performance.

       238.   Although SafeNet’s financial statements during the Class Period were each

represented to have been prepared in accordance with GAAP, in reality those representations

were materially false and misleading as Defendants knowingly or recklessly caused SafeNet to

issue financial statements that were predicated on fraudulent financial manipulations.        In

particular, SafeNet’s financial statements artificially and improperly inflated the Company’s

operating results by employing fraudulent stock options practices and revenue recognition

practices – including improperly accounting for backdated stock option grants, manipulating its

recognition of revenue, costs and earnings in connection with its improper accounting for long-

term development contracts, improperly recognizing revenue on “bill and hold” transactions,

improperly recognizing revenue on shipments of product that were unfinished or otherwise not

ready to be delivered, and improperly recognizing revenue on accelerated royalty payments.


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       239.    SEC Regulation S-X (17 C.F.R. § 210.4-01(a)(1)) states financial statements filed

with the SEC which are not prepared in compliance with GAAP are presumed to be misleading

and inaccurate, despite footnote or other disclosure.     Regulation S-X requires that interim

financial statements must also comply with GAAP, with the exception that interim financial

statements need not include disclosures which would be duplicative of disclosures accompanying

annual financial statements. 17 C.F.R. § 210.10-01(a). Pursuant to the Sarbanes-Oxley Act of

2002 and SEC rules promulgated thereunder, the CEO and CFO of reporting corporations are

required to certify the accuracy and completeness of its financial statements. In addition, proxy

statements and annual reports are required to make extensive disclosures regarding executive

compensation, including stock holdings and exercised and unexercised stock options.

       240.    Under accounting rules in effect prior to approximately 2006, companies that

granted stock options with an exercise price below the market price on the day of the grant had

recognize and record the difference between the market price and the exercise price as a

compensation expenses in their financial statements. See APB No. 25. Throughout the Class

Period, SafeNet represented in its financial statements filed with the SEC that it followed APB

No. 25 when accounting for its stock option grants.        Unbeknownst to investors, however,

SafeNet engaged in options backdating, whereby it granted its employees and directors stock

options with exercise prices below the market price on the date those options were granted, yet it

failed to record the difference between the market price and exercise price as compensation

expenses as required by APB No. 25.

       241.    FASB Concept Statement No. 5 generally provides that revenues should not be

recognized until they are (a) realized or realizable, and (b) earned. These conditions for revenue

recognition ordinarily are met when assets or services are exchanged for cash or claims to cash,




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and when the entity has substantially performed the obligations which entitle it to the benefits

represented by the revenue. Concepts Statement No. 5 ¶ 83. Generally, a transfer of risk must

occur in order to affect an “exchange” for purposes of revenue recognition under GAAP. In

addition, GAAP provides that profit is deemed to be realized when the collection of the sales

price is reasonably assured. Accounting Principles Board (“APB”) Opinion No. 10, ¶ 12.

Further, revenue which arises from circumstances involving uncertainty as to possible gains

should not be recognized since to do so may result in gains being recognized on revenue prior to

its realization. FASB Statement of Financial Accounting Standards (“SFAS”) No. 5 ¶ 12.

       242.    AICPA SOP 81-1 and AICPA SOP No. 97-2, as described herein, provide the

relevant GAAP guidance with respect to SafeNet’s recognition of revenue on long-term

development contracts. Pursuant to such guidance, there are two generally accepted methods for

revenue recognition (depending on the circumstances relating to the specific contract) on long-

term contracts: the “completed contract” method; and the “percentage of completion method.”

Within its Class Period financial statements, SafeNet purported to employ the “percentage of

completion” method. However, unbeknownst to investors, the Officer Defendants manipulated

SafeNet’s contract accounting and caused the Company’s earnings reported in its Class Period

financial statements to be overstated by overstating revenues and understating costs relating to its

long-term contracts.   Specifically, SafeNet underestimated initial cost estimates, as well as

subsequent cost to complete estimates made during the development phase for certain long-term

development contracts, enabling it to improperly frontload the recognition of revenue and

earnings and avoid recognizing losses on unprofitable contracts in violation of GAAP. Such

improper accounting manipulations also concealed from investors the fact that: (1) SafeNet’s

current earnings figures were artificially inflated because total contract cost estimates were




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understated, which further caused contract revenues to be front-loaded due to SafeNet’s method

of recognizing revenues based on the percentage of total costs incurred to date and (2) SafeNet’s

future earnings on its existing long term contracts would be far weaker, and possibly even

negative, as the burden of the higher actual contract costs would be recognized on the back-end

of these contracts..

       243.    In addition, SEC SAB 101, as defined herein, provides that each of the following

criteria must be met before a seller can recognize revenue on a “bill and hold” transaction prior

to actual shipment:

                         (i)   the risk of ownership must have passed to the buyer;

                        (ii)   the customer must have a fixed commitment to purchase the goods,
                               preferably within written documentation;

                       (iii)   the buyer, not the seller, must request that the transaction be on
                               a bill and hold basis, and the buyer must have a substantial
                               business purpose for ordering the goods on a bill and hold basis;

                       (iv)    there must be a fixed schedule for the delivery of the goods, and
                               the date for delivery must be reasonable and must be consistent
                               with the buyer’s business purposes;

                        (v)    the seller must not have retained any specific performance
                               obligations such that the earning process is not complete;

                       (vi)    the ordered goods must have been segregated from the seller’s
                               inventory and not be subject to being used to fill other orders; and

                       (vii)   the equipment [product] must be complete and ready to ship.

However, throughout the Class Period, SafeNet continually requested and caused its customers

to enter into “bill and hold” transactions (despite the lack of a substantial business purpose), for

which it recognized revenue in its Class Period financial statements in violation of GAAP and

SEC SAB 101. Also, throughout the Class Period, SafeNet continually shipped to customers




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products that were not complete and/or ready for delivery and recognized revenue for those

shipments in its Class Period financial statements in violation of SEC SAB 101 and FAS 5.

       244.    The foregoing accounting improprieties caused SafeNet to present its financial

results during the Class Period in a manner which violated numerous provisions of GAAP. As a

result, SafeNet’s Class Period financial statements concealed the truth about the Company’s

revenues, business operations income and net income to the detriment of unsuspecting investors.

Moreover, in addition to the accounting violations noted above, SafeNet presented its financial

statements in a manner which also violated at least the following provisions of GAAP:

       (a) GAAP’s requirement that revenue is not to be recognized before the buyer is

obligated to pay the seller and the obligation is not contingent on resale of the product. SFAS

No. 48, ¶ 6;

       (b) The concept that financial reporting should provide information that is useful to

present and potential investors and creditors and others making rational investment, credit and

similar decisions. FASB Concepts Statement No. 1, ¶ 34;

       (c) The concept that financial reporting should provide information about the economic

resources of an enterprise, the claims to those resources, and the effects of transactions, events

and circumstances that change resources and claims to those resources. FASB Concepts

Statement No. 1, ¶ 40;

       (d) The concept that financial reporting should provide information about how

management of an enterprise has discharged stewardship responsibility to owners (stockholders)

for the use of enterprise resources entrusted to it.     To the extent that management offers

securities of the enterprise to the public, it voluntarily accepts wider responsibilities for




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accountability to prospective investors and to the public in general. FASB Concepts Statement

No. 1 ¶ 50;

       (e) The concept that financial reporting should provide information about an enterprise’s

financial performance during a period. Investors and creditors often use information about the

past to help in assessing the prospects of an enterprise. Thus, although investment and credit

decisions reflect investors’ expectations about future enterprise performance, those expectations

are commonly based at least party on evaluations of past enterprise performance. FASB

Concepts Statement No. 1, ¶ 42;

       (f) The principle that financial reporting should be reliable in that it represents what it

purports to represent. That information should be reliable as well as relevant is a notion that is

central to accounting. FASB Concept Statement No. 2 ¶¶ 58-59; and

       (g) The concept of completeness, which means that nothing is left out of the information

that may be necessary to ensure that it validly represents underlying events and conditions.

FASB Concepts Statement No. 2, ¶ 79.

X.     ADDITIONAL ALLEGATIONS PERTINENT TO THE OFFICER AND
       COMPENSATION DEFENDANTS’ SCIENTER UNDER COUNTS I THROUGH
       IV

       245.    As alleged herein, defendants SafeNet, the Officer Defendants and the

Compensation Committee Defendants acted with scienter in that they knew and/or recklessly

disregarded that the public documents and statements issued or disseminated in the name of the

Company were materially false, incomplete and misleading; knew that such statements or

documents would be disseminated to the public; and knowingly and substantially participated or

acquiesced in the issuance or dissemination of such statements or documents as primary

violations of the federal securities laws.




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         246.   As discussed above, the financial incentives for the Officer Defendants and the

Compensation Committee Defendants, who all received substantial stock options, to engage in

improper backdating were substantial because, assuming that the value of underlying stock has

risen over time, it is obviously much more valuable for a recipient to receive (a) “in the money”

options that have been backdated to include a low exercise price from an earlier date than it is to

receive (b) “at the money” options that have a much higher exercise price based on the

underlying stock’s current market value as of the actual date of the options grant. Moreover, at

SafeNet each of the Officer and Compensation Committee Defendants also had substantial

financial incentives to avoid properly accounting for backdated “in the money” options because,

inter alia, adverse investor reaction to disclosure that the company was issuing “in the money”

options grants (which would need to be expensed and would have reduced earnings) would have

likely terminated the practice of issuing such options.      In addition, given that the Officer

Defendants’ overall compensation was largely based on SafeNet’s financial performance, they

had a further incentive to not properly account for SafeNet’s options grants, since doing so

would have reduced SafeNet’s reported earnings and, therefore, the Officer Defendants’

performance based compensation.

         247.   The Officer Defendants also engaged in a scheme to inflate the price of SafeNet’s

securities in order to: (i) protect and enhance their executive positions and the substantial

compensation and prestige they obtained thereby; (ii) to earn, in the case of the Officer

Defendants, lucrative bonuses under SafeNet’s bonus plan for “achieving” certain performance

levels

         248.   The Officer and Compensation Committee Defendants were also motivated to

engage in fraud to enhance the value of their personal SafeNet holdings so as to allow for their




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profitable insider sales of 471,701 shares of their privately held SafeNet common stock at

artificially inflated prices which yielded them total insider selling proceeds in excess of $14.5

million.

        249.      Indeed, as set forth above, while the defendants were issuing materially false and

misleading statements, the Officer and Compensation Committee Defendants were benefiting

from SafeNet’s improper activities and false statements as described in this complaint by selling

a significant amount of their personal holdings in SafeNet common stock without disclosing the

adverse material facts to which they were privy. Such sales were unusual in their amount and

their timing. The numerous and repeated insider sales of SafeNet common stock by the Officer

and Compensation Committee Defendants imposed upon them additional duties of full

disclosure of all material facts alleged in this complaint.

        250.      The following tables show the heavy insider selling of the Officer and

Compensation Committee Defendants during the Class Period:

           Insider             Shares Sold     Price Sold      Proceeds      Transaction Date

ARGO, CAROLE D.                       30,000        $36.01      $1,080,165       11/30/2004


ARGO, CAROLE D. Total                30,000                   $1,080,165

BROOKS, THOMAS A.                     19,950        $26.20       $524,885        8/16/2004
BROOKS, THOMAS A.                      6,667        $32.78       $218,566        6/17/2005
BROOKS, THOMAS A.                      2,000        $34.35        $68,700         8/1/2005
BROOKS, THOMAS A.                      2,000        $35.33        $70,660        9/30/2005
BROOKS, THOMAS A.                      2,000        $36.21        $72,420        10/3/2005
BROOKS, THOMAS A.                      2,000        $34.29        $68,580        11/16/2005
BROOKS, THOMAS A.                      2,000        $35.64        $71,280        12/1/2005


BROOKS, THOMAS A. Total              36,617                   $1,095,090

CAPUTO, ANTHONY A.                   100,000        $23.97      $2,403,400       4/29/2003
CAPUTO, ANTHONY A.                    12,500        $36.63       $457,875        1/18/2005
CAPUTO, ANTHONY A.                    12,500        $32.23       $402,875        2/15/2005
CAPUTO, ANTHONY A.                    12,500        $29.79       $372,375        3/15/2005
CAPUTO, ANTHONY A.                    12,500        $25.55       $319,375        4/15/2005
CAPUTO, ANTHONY A.                    12,500        $29.06       $363,250        5/16/2005




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CAPUTO, ANTHONY A.            12,500      $32.23      $402,875    6/15/2005
CAPUTO, ANTHONY A.            50,000      $33.80     $1,690,000   12/15/2005
CAPUTO, ANTHONY A.            25,000      $32.77      $819,250    1/17/2006
CAPUTO, ANTHONY A.            25,000      $25.75      $643,650    2/15/2006


CAPUTO, ANTHONY A. Total    275,000                $7,874,925

CLARK, ANDREW E.               7,750      $23.68      $183,553    4/30/2003
CLARK, ANDREW E.              10,500      $36.68      $385,140    12/1/2004
CLARK, ANDREW E.              10,000      $31.47      $314,700    8/12/2005


CLARK, ANDREW E. Total       28,250                 $883,393

HARRISON, SHELLEY A.           6,667      $36.40      $242,679    7/18/2005
HARRISON, SHELLEY A.           5,000      $36.82      $184,100    7/25/2005
HARRISON, SHELLEY A.           5,000      $33.00      $165,000     8/8/2005
HARRISON, SHELLEY A.           5,000      $36.21      $181,050    10/3/2005
HARRISON, SHELLEY A.           5,000      $34.40      $172,000    10/11/2005
HARRISON, SHELLEY A.           5,000      $31.85      $159,269     1/3/2006
HARRISON, SHELLEY A.           5,000      $31.91      $159,530    1/23/2006

HARRISON, SHELLEY A.
Total                        36,667                $1,263,628

HUNT, IRA JR.                  8,000      $36.12      $288,960     1/3/2005
HUNT, IRA JR.                  3,000      $35.87      $107,610    12/2/2005


HUNT, IRA JR. Total          11,000                 $396,570

MUELLER, KEN                  12,500      $36.61      $457,625    11/21/2005


MUELLER, KEN Total           12,500                 $457,625

THAW, BRUCE R/FA                500       $34.00       $17,000    11/10/2004
THAW, BRUCE R/FA                500       $35.00       $17,500    11/11/2004
THAW, BRUCE R/FA               3,500      $35.60      $124,593    12/1/2004
THAW, BRUCE R/FA               1,500      $37.29       $55,929    12/31/2004
THAW, BRUCE R/FA               3,000      $33.98      $101,940     7/1/2005
THAW, BRUCE R/FA               1,000      $35.00       $35,000     7/5/2005
THAW, BRUCE R/FA               1,000      $36.00       $36,000     7/7/2005
THAW, BRUCE R/FA               1,000      $37.00       $37,000    7/11/2005
THAW, BRUCE R/FA                667       $36.50       $24,344    7/15/2005
THAW, BRUCE R/FA               4,000      $34.62      $138,480     8/2/2005
THAW, BRUCE R/FA               1,000      $32.00       $32,000     9/1/2005
THAW, BRUCE R/FA               1,000      $33.00       $33,000    9/14/2005
THAW, BRUCE R/FA               4,000      $35.83      $143,320    9/30/2005
THAW, BRUCE R/FA               6,000      $35.99      $215,940    10/3/2005
THAW, BRUCE R/FA               1,158      $32.29       $37,392    11/1/2005
THAW, BRUCE R/FA                842       $33.11       $27,879    11/2/2005
THAW, BRUCE R/FA               1,000      $34.15       $34,150    11/3/2005
THAW, BRUCE R/FA               1,000      $35.00       $35,000    11/17/2005



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THAW, BRUCE R/FA                     1,000        $36.00        $36,000       11/18/2005
THAW, BRUCE R/FA                     5,000        $35.67       $178,350       12/1/2005
THAW, BRUCE R/FA                     1,000        $32.55        $32,546        1/3/2006
THAW, BRUCE R/FA                     1,000        $33.09        $33,090        1/6/2006
THAW, BRUCE R/FA                     1,000        $32.04        $32,040        2/1/2006


THAW, BRUCE R/FA Total             41,667                  $1,458,492

INSIDERS TOTAL                   471,170                   14,509,887




       251.    In addition, the Company and Officer and Compensation Committee Defendants

were further motivated to commit fraud in order to enable the Company to acquire a number of

companies on highly favorable terms. By maintaining an artificially inflated price for the

Company’s stock, these Defendants were better able to utilize SafeNet stock as currency in two

significant corporate acquisitions which closed during the Class Period. First, On March 15,

2004, SafeNet acquired Rainbow, as set forth herein, for 10.3 million shares of common stock

and 1.944 million options to purchase SafeNet stock. Based on the market price of SafeNet

shares on March 15, 2004, SafeNet effectively sold $377 million shares worth of SafeNet stock

at inflated prices to acquire Rainbow. The following year, on June 1, 2005, SafeNet acquired

MediaSentry, Inc., for $14.5 million in cash, 194,000 shares of SafeNet common stock, and

options to purchase an additional 35,000 shares of SafeNet stock (the “MediaSentry

Acquisition”). Based on the market price of SafeNet shares on June 1, 2005, SafeNet effectively

sold $6.1 million shares of SafeNet stock at inflated prices to acquire MediaSentry, Inc.

       252.    SafeNet and the Officer Defendants were also particularly motivated to engage in

fraud in the second and third quarters of 2005 in order to assure and preserve a large government

contract involving the sale of its KIV-7M Link Encryptor product (“KIV-7M”).

       253.    The KIV-7M was one of the first products available that was fully compliant with

the U.S. Government’s Cryptographic Modernization Initiative, administered by the National


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Security Agency.       After two years of development, the KIV-7M started beta testing in

government facilities on May 7, 2005 – in the middle of the second quarter of 2005. At the time

of beta testing, it was critically important for SafeNet to meet its earnings expectations and to

appear to be a financially healthy company if it was to be awarded a government contract.

       254.    On September 29, 2005, SafeNet was awarded a $150 million contract by the U.S.

Department of Defense to supply KIV-7M units. The contract was the largest in SafeNet’s

history, and three times the $50 million contract it was hoping to receive. According to Kaufman

Brothers analyst Alan Weinfeld (in a report dated September 30, 2005), that one Department of

Defense contract, which would take 2-3 years to complete, would cover half of the Company’s

six year forecast for the product.

XI.    CLASS ACTION ALLEGATIONS

       255.    Plaintiffs bring this action on their own behalf and as a class action pursuant to

Rule 23(a) and Rule 23(b)(3) of the Federal Rules of Civil Procedure on behalf of a class (the

“Class”) of all persons who purchased or acquired SafeNet securities during the period from

March 31, 2003 through May 18, 2006, inclusive (the “Class Period”), including all investors

who owned SafeNet stock at the time that SafeNet’s 2003, 2004 and 2005 Proxy Statements and

the Rainbow Proxy/Prospectus were circulated to solicit shareholder votes on various matters

(the “Proxy Subclass”). Plaintiff Golde also brings this action on his own behalf and as a class

action pursuant to Rule 23(a) and Rule 23(b)(3) of the Federal Rules of Civil Procedure on

behalf of the sub-class of all persons who acquired SafeNet common stock in exchange for their

shares of Rainbow stock as a result of the Rainbow Acquisition (the “Rainbow Subclass,” as

previously defined).

       256.    The Rainbow Subclass asserts claims unique to itself under Sections 11, 12 and

15 of the Securities Act and under Section 14(a) of the Exchange Act as described below and


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they do not sound in fraud. The Rainbow Subclass members are also members of the Class and

the Proxy Subclass.

       257.    Excluded from the Class, the Proxy Subclass and the Rainbow Subclass are the

Defendants herein, members of the family of each of the Individual Defendants, executive

officers and/or directors of SafeNet, any person, firm, trust, corporation, officer, director or other

individual or entity in which any Defendant has a controlling interest or which is related to or

affiliated with any of the Defendants, and the legal representatives, agents, affiliates, heirs,

successors-in-interest or assigns of any such excluded party.

       258.    Prior to SafeNet’s acquisition and conversion to a private company, SafeNet

common stock was actively traded on the NASDAQ electronic exchange, which is an efficient

market, throughout the Class Period. Numerous securities analysts published reports about

SafeNet during the Class Period, including analysts from Avondale Partners LLC, Brean Murray

Carret & Co., Deutsche Bank Securities, First Analysis, Friedman Billings Ramsey Co., Janney

Montgomery Scott, Kaufman Brothers, Legg Mason, Lehman Brothers, Morgan Stanley Co.,

Morgan Keegan & Co., Pacific Growth Equities, Raymond James, Sterne Agee & Leach, Stifel

Nicolaus & Co., Wachovia Securities, and Wedbush Morgan Securities. Hundreds of thousands

of Company shares were traded every day during the Class Period, and over a million SafeNet

shares were traded on numerous days.

       259.    The members of the Class and Proxy Subclass, as purchasers on the NASDAQ,

are so numerous that joinder of all members is impracticable. While the exact number of

members can only be determined by appropriate discovery, Plaintiffs believe that Class and

Proxy Subclass members number in the thousands. As of May 4, 2006, SafeNet had 27,546,926

shares of common stock issued and outstanding. The members of the Rainbow Subclass are also




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so numerous that joinder of all members is impracticable. The exact number of Rainbow

Subclass members can only be determined by appropriate discovery. As of February 5, 2004,

Rainbow had 27,206,602 shares of common stock issued and outstanding. As a consequence of

the Rainbow Acquisition, those shares were exchanged for approximately 10,013,655 shares of

SafeNet stock.

       260.       Plaintiffs’ claims are typical of the claims of the members of the Class and Proxy

Subclass. Plaintiffs and all members of the classes sustained damages as a result of the conduct

complained of herein.

       261.       Plaintiffs will fairly and adequately protect the interests of the members of the

Class and subclasses and have retained counsel competent and experienced in class and

securities litigation. Plaintiffs have no interests that are contrary to or in conflict with those of

the members of the Class and subclasses that Plaintiffs seek to represent.

       262.       A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Because the damages suffered by individual Class and subclass

members may be relatively small, the expense and burden of individual litigation make it

virtually impossible for the plaintiff Class and subclass members individually to seek redress for

the conduct alleged.

       263.       Common questions of law and fact exist as to all members of the Class and

subclasses and predominate over any questions solely affecting individual members. Among the

questions of law and fact common to the Class and subclasses are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;




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               (b)     whether the documents, releases and public statements made by

Defendants omitted to state and/or misrepresented material facts concerning, among other things,

the Company’s financial results, including its revenues and expenses, the Company’s internal

controls and financial reporting processes and functions, and the Company’s improper practices

with respect to the granting of SafeNet stock options;

               (c)     whether Defendants acted negligently (with respect to the Securities Act

claims and claims under Section 14(a) of the Exchange Act) or knowingly or recklessly (as to the

claims brought under Section 10(b) of the Exchange Act) in misrepresenting material facts;

               (d)     whether the market price of SafeNet stock during the Class Period was

artificially inflated due to the material misrepresentations complained of herein (as to the Section

10(b) claims); and

               (e)     whether the members of the Class and subclasses have sustained damages

and, if so, the appropriate measure thereof.

       264.    Plaintiffs know of no difficulty that will be encountered in the management of this

litigation that would preclude its maintenance as a class action.

       265.    The names and addresses of the record owners of SafeNet shares purchased or

acquired during the Class Period are available from the Company’s transfer agent(s). Notice can

be provided to such record owners via first class mail using techniques and a form of notice

similar to those customarily used in class actions.

XII.   FRAUD-ON-THE-MARKET DOCTRINE

       266.    At all relevant times, SafeNet’s common stock traded in an efficient market for

the following reasons, among others:

               (a)     SafeNet’s common stock met the requirements for public listing and was

listed and actively traded on the NASDAQ, a highly efficient market;


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                (b)     As a regulated issuer, SafeNet filed periodic public reports with the SEC;

                (c)     SafeNet regularly issued press releases that were carried by national news

wires and that were publicly available and entered the public marketplace; and

                (d)     Numerous research analysts and other market professionals followed and

publicly reported on SafeNet’s public statements.

        267.    The market for SafeNet’s common stock and other publicly traded securities

promptly digested current information with respect to SafeNet from all publicly available sources

and reflected such information in the price for SafeNet stock and other securities. All purchasers

of the Company’s publicly traded securities during the Class Period suffered similar injury

through their purchase of SafeNet securities at artificially inflated prices and a presumption of

reliance applies.

                                               COUNT I

          AGAINST SAFENET, THE OFFICER DEFENDANTS AND THE
       COMPENSATION COMMITTEE DEFENDANTS FOR STOCK OPTION-
      RELATED MISREPRESENTATIONS IN VIOLATION OF SECTION 10(b)
    OF THE EXCHANGE ACT AND RULE 10b-5 PROMULGATED THEREUNDER

        268.    Plaintiffs repeat and reallege each and every allegation set forth above in ¶¶ 1 to

268, as if set forth fully herein. Plaintiffs assert this count:

                (a)     against SafeNet and defendants Caputo, Argo and Mueller, as to each

misleading statement identified in Section VI above;

                (b)     against Compensation Committee Defendants Brooks, Hunt and Thaw as

to each Form 10-K issued during the Class Period as well as the misleading statements identified

in Section VI above; and




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               (c)    against Compensation Committee Defendant Money as to the Form 10-K

issued for the years ended December 31, 2004 and December 31, 2005 as well as the false and

misleading statements from the 2004 and 2005 Proxy Statements identified in Section VI above.

       269.    Throughout the Class Period, the Defendants named in this Count individually

and in concert, directly and indirectly, by the use and means of instrumentalities of interstate

commerce and/or of the mails, engaged and participated in a continuous course of conduct to

conceal material adverse information about SafeNet, including its reported financial results,

financial controls and true financial condition and its improper practices with respect to the

granting of stock options to the Company’s senior executives, as specified herein.

       270.    The Defendants named in this Count employed devices, schemes, and artifices to

defraud while in possession of material, adverse non-public information and engaged in acts,

practices, and a course of conduct that included the making of, or participation in the making of,

untrue and/or misleading statements of material facts and/or omitting to state material facts

necessary in order to make the statements made about SafeNet not misleading. Specifically,

Defendants initiated and pursued a scheme and course of conduct which: (i) concealed the fact

that the Company was allowing insiders to manipulate its Stock Option Plan and was

misrepresenting its financial results; (ii) maintained Defendants’ executive and directorial

positions at SafeNet and the profits, power and prestige which Defendants enjoyed as a result of

these positions; (iii) deceived the investing public, including shareholders of SafeNet, regarding

Defendants’ compensation practices, including the granting of stock options through backdating,

and regarding SafeNet’s financial performance.

       271.    The Defendants named in this Count, as the directors and/or top executive officers

of the Company, are liable as direct participants in the wrongs complained of herein. Through




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their positions of control and authority as officers and/or directors of the Company, the Officer

Defendants and Compensation Committee Defendants were able to and did control the content of

the public statements disseminated by SafeNet. With knowledge of or recklessness as to the

falsity and/or misleading nature of the statements contained therein and in reckless disregard of

the true operations and finances of the Company, the Officer Defendants and Compensation

Committee Defendants caused the heretofore complained of public statements to contain

misstatements and omissions of material facts as alleged herein.

       272.    The Defendants named in this Count acted with scienter throughout the Class

Period, in that they either had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose the true facts, even though such facts were available to them. The

Officer Defendants constituted the senior management of the Company, and were therefore

directly responsible for the false and misleading statements and/or omissions disseminated to the

public through press releases, news reports, and filings with the SEC.

       273.    The Defendants named in this Count also acted with scienter in that they took

advantage of the misrepresentations made to investors in order to enrich themselves through

continued receipt of backdated stock options. The Compensation Committee Defendants acted

with scienter in that when signing the Form 10-Ks, they either had affirmative knowledge of the

stock option grants that had been backdated, or they were reckless as to the truth in that they

disregarded their obligations, as members of SafeNet’s Compensation Committee, to oversee and

ensure the proper implementation of the Stock Option Plan and to ensure the integrity of

SafeNet’s stock option granting policies and practices.




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       274.    These Defendants also misused their positions to improperly benefit by their

access to inside information, in that they wrongfully caused the Company to issue to them

options to purchase SafeNet stock at a materially understated price. The Officer Defendants’

misrepresentations and/or omissions were intentional or reckless and done for the purpose of

enriching themselves at the expense of Plaintiffs and the Class.

       275.    These Defendants’ scienter is also supported by their motive to sell substantial

amounts of their SafeNet holdings at inflated prices. In particular, during the Class Period, the

Officer and Compensation Committee Defendants cumulatively sold 406,784 shares for

combined proceeds of over $12.4 million.

       276.    Throughout the Class Period, the prices of the Company’s securities were

artificially inflated as a direct result of Defendants’ misrepresentations and omissions regarding

the Company, including the misrepresentations about its financial condition and results and

business condition and results.

       277.    The Company’s financial condition and stock option related practices were

material information to Plaintiffs and the other members of the Class. In addition, the integrity

of management is highly material to investors, and the issuance of stock options through either

backdating directly bears on investor confidence in the Company’s management. Had the truth

been disclosed to the market during the Class Period, Plaintiffs and the other Class members

would have been unwilling to purchase the Company’s securities at the prices at which they did

purchase them, or at all.

       278.    When the truth about the Company was revealed as described above, the inflation

that had been caused by Defendants’ misrepresentations and omissions was eliminated from the

price of the Company’s securities, causing significant losses to Plaintiffs and the other Class




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members. These price declines occurred as the market fully digested the impact and meaning of

Defendants’ backdating scheme and its impact on SafeNet. The losses suffered by Plaintiffs and

the other members of the Class following the revelations of the accounting fraud and the

Company’s improper granting of stock options to senior executives and employees are directly

attributable to the market’s reaction to the disclosure of information that had previously been

misrepresented or concealed by Defendants, and to the market’s adjustment of the Company’s

securities prices to reflect the newly emerging truth about the Company’s financial condition and

business operations.

        279.    Defendants’ conduct, as alleged herein, proximately caused foreseeable losses and

economic harm to Plaintiffs and the other members of the Class.

        280.    By virtue of the foregoing, Defendants have violated Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder.

                                            COUNT II

AGAINST THE OFFICER DEFENDANTS AND THE COMPENSATION COMMITTEE
 DEFENDANTS FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
     ARISING FROM STOCK OPTION-RELATED MISREPRESENTATIONS

        281.    Plaintiffs repeat and reallege each and every allegation in ¶¶ 1 to 280 above as if

set forth fully herein.

        282.    The Officer Defendants and the Compensation Committee Defendants were

control persons of SafeNet by virtue of their positions as directors and/or as senior officers of

SafeNet and were culpable participants in SafeNet’s options-related fraud, as more particularly

set forth in and encompassed by the scienter allegations in ¶¶ 245 to 254 herein.

        283.    Each of the Officer and Compensation Committee Defendants acted as a

controlling person of the Company within the meaning of Section 20(a) of the Exchange Act

during the Class Period. Specifically, defendant Caputo had the power and authority to cause the


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Company to engage in the wrongful conduct complained of herein, by virtue of his position as

Chief Executive Officer and Chairman of the Board. Defendant Mueller also had the power and

authority to cause the Company to engage in the wrongful conduct complained of herein, by

virtue of his position as Chief Financial Officer. Likewise, defendant Argo had the power and

authority to cause the Company to engage in the wrongful conduct complained of herein, by

virtue of her position as President, Chief Financial Officer and Chief Operating Officer. The

Compensation Committee Defendants had overall responsibility and oversight over SafeNet’s

business operations in general, and executive compensation and stock option grants in particular.

These Defendants were each in a position to control or influence the contents of, or otherwise

cause corrective disclosures to have been made in the Company’s SEC filings, along with the

Company’s other public statements that contained materially false and misleading statements

that were disseminated during the Class Period.

        284.    By reason of the wrongful conduct alleged herein, the Individual Defendants are

liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of their

wrongful conduct, Plaintiffs and the other members of the Class suffered damages in connection

with their purchases of SafeNet shares during the Class Period.

                                            COUNT III

        AGAINST SAFENET AND THE OFFICER DEFENDANTS FOR
 MISREPRESENTATIONS ARISING FROM SAFENET’S NON-OPTIONS RELATED
 ACCOUNTING FRAUD IN VIOLATION OF SECTION 10(b) OF THE EXCHANGE
          ACT AND RULE 10B-5 PROMULGATED THEREUNDER

        285.    Plaintiffs repeat and reallege each of the allegations set forth above in ¶¶ 1 to 268,

as if set forth fully herein.

        286.    Throughout the Class Period, SafeNet and the Officer Defendants individually

and in concert, directly and indirectly, by the use and means of instrumentalities of interstate



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commerce and/or of the mails, engaged and participated in a continuous course of conduct to

conceal material adverse information about SafeNet, including its reported financial results,

financial controls and true financial condition and its improper practices with respect to

SafeNet’s non-options accounting manipulations as specified herein.         Defendants employed

devices, schemes, and artifices to defraud while in possession of material, adverse non-public

information and engaged in acts, practices, and a course of conduct that included the making of,

or participation in the making of, untrue and/or misleading statements of material facts and/or

omitting to state material facts necessary in order to make the statements made about SafeNet not

misleading.    Specifically, Defendants knew or should have known that their statements

concerning the Company’s financial results and internal controls throughout the Class Period as

filed with the SEC and disseminated to the investing public were materially false, incomplete

and misleading.

       287.    The Officer Defendants, as the directors and/or top executive officers of the

Company, are liable as direct participants in the wrongs complained of herein. Through their

positions of control and authority as officers and/or directors of the Company, the Officer

Defendants were able to and did control the content of the public statements disseminated by

SafeNet. With knowledge of or recklessness as to the falsity and/or misleading nature of the

statements contained therein and in reckless disregard of the true operations and finances of the

Company, the Officer Defendants caused the heretofore complained of public statements to

contain misstatements and omissions of material facts as alleged herein.

       288.    The Officer Defendants acted with scienter throughout the Class Period, in that

they either had actual knowledge of the misrepresentations and/or omissions of material facts set

forth herein, or acted with reckless disregard for the truth in that they failed to ascertain and to




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disclose the true facts, even though such facts were available to them. The Officer Defendants

constituted the senior management of the Company, and were therefore directly responsible for

the false and misleading statements and/or omissions disseminated to the public through press

releases, news reports, and filings with the SEC.

       289.    The Officer Defendants’ scienter is also supported by their motive to sell

substantial amounts of their SafeNet holdings at inflated prices. In particular, during the Class

Period, the Officer Defendants cumulatively sold 317,500 shares for combined proceeds of

nearly $9.41 million. The Officer Defendants also misused their positions to improperly benefit

by their access to inside information, in that they wrongfully caused the Company to issue to

them 225,000 options to purchase SafeNet stock at a materially understated price. The Officer

Defendants’ misrepresentations and/or omissions were intentional or reckless and done for the

purpose of enriching themselves at the expense of Plaintiffs and the Class.

       290.    The prices of SafeNet’s securities were artificially inflated as a direct result of

Defendants’ misrepresentations and omissions regarding the Company, including the

misrepresentations about its financial condition and results.

       291.    The Company’s financial condition and performance were material information to

Plaintiffs and the other members of the Class. In addition, the integrity of management is highly

material to investors, and the issuance of stock options through either backdating directly bears

on investor confidence in the Company’s management. Had the truth concerning SafeNet’s non-

options accounting practices been disclosed to the market during the Class Period, Plaintiffs and

the other Class members would have been unwilling to purchase the Company’s securities at the

prices at which they did purchase them, or at all.




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       292.    When the truth about the Company was revealed as described above, the inflation

that had been caused by Defendants’ misrepresentations and omissions was eliminated from the

price of the Company’s securities, causing significant losses to Plaintiffs and the other Class

members. The declines in the Company’s securities prices following the revelations of the

accounting fraud and the Company’s improper granting of stock options to senior executives and

employees and the resulting losses suffered by Plaintiffs and the other members of the Class are

directly attributable to the market’s reaction to the disclosure of information that had previously

been misrepresented or concealed by Defendants, and to the market’s adjustment of the

Company’s securities prices to reflect the newly emerging truth about the Company’s financial

condition and business operations.

       293.    Defendants’ conduct, as alleged herein, proximately caused foreseeable losses and

economic harm to Plaintiffs and the other members of the Class.              The totality of the

circumstances surrounding the drops of SafeNet’s stock price following the disclosures on

February 2, 2006, April 7, 2006 and May 18, 2006 combine to negate any inference that the

economic loss Plaintiffs and other Class members suffered was caused by changed market

conditions, macroeconomic or industry-wide factors, or SafeNet specific facts unrelated to

Defendants’ fraudulent conduct.

       294.    By virtue of the foregoing, Defendants have violated Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder.

                                           COUNT IV

 AGAINST THE OFFICER DEFENDANTS FOR VIOLATIONS OF SECTION 20(a) OF
  THE EXCHANGE ACT ARISING FROM SAFENET’S NON-OPTIONS RELATED
                        ACCOUNTING FRAUD

       295.    Plaintiffs repeat and reallege each and every allegation set forth above in ¶¶ 1 to

268 and ¶¶ 285 to 294 above as if set forth fully herein.


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       296.    The Officer Defendants were control persons of SafeNet by virtue of their

positions as directors and/or as senior officers of SafeNet and were culpable participants in

SafeNet’s accounting fraud, as more particularly set forth in and encompassed by the scienter

allegations in ¶¶ 245 to254 herein.

       297.    Each of the Officer Defendants acted as a controlling person of the Company

within the meaning of Section 20 of the Exchange Act during the Class Period. Specifically,

defendant Caputo had the power and authority to cause the Company to engage in the wrongful

conduct complained of herein, by virtue of his position as Chief Executive Officer and Chairman

of the Board. Defendant Mueller also had the power and authority to cause the Company to

engage in the wrongful conduct complained of herein, by virtue of his position as Chief Financial

Officer. Likewise, defendant Argo had the power and authority to cause the Company to engage

in the wrongful conduct complained of herein, by virtue of her position as President and Chief

Operating Officer. These Defendants were each in a position to control or influence the contents

of, or otherwise cause corrective disclosures to have been made in the Company’s SEC filings,

along with the Company’s other public statements that contained materially false and misleading

statements that were disseminated during the Class Period.

       298.    By reason of the wrongful conduct alleged herein, the Officer Defendants are

liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of their

wrongful conduct, Plaintiffs and the other members of the Class suffered damages in connection

with their purchases of SafeNet shares during the Class Period.




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                                              COUNT V

       AGAINST SAFENET AND THE DIRECTOR DEFENDANTS FOR
MISREPRESENTATIONS CONTAINED IN SAFENET’S PROXY STATEMENTS FOR
  THE YEARS 2003 THROUGH 2005 IN VIOLATION OF SECTION 14(a) OF THE
     EXCHANGE ACT AND RULE 14a-9 PROMULGATED THEREUNDER

        299.    This Count is brought pursuant to Section 14(a) of the Exchange Act, on behalf of

all Class members who were shareholders of SafeNet common stock at the time of the Proxy

Statements for any of the years 2003 through 2005. This claim is not based on and does not

sound in fraud. Plaintiffs repeat and reallege each and every allegation set forth above in ¶¶ 1 to

244 and ¶¶ 255-267, as if set forth fully herein, except any allegations of fraud or intent, which

are not necessary to assert this claim for relief.

        300.    In soliciting shareholder approval for various amendments to the Stock Option

Plan and as part of the annual proxy solicitation process, SafeNet and the Director Defendants

(collectively, the “Proxy Statement Defendants”) were negligent and failed to exercise due care

in making numerous material misstatements in SafeNet’s Proxy Statements during the Class

Period in violation of Section 14(a) of the Exchange Act.

        301.    Specifically, the Proxy Statement Defendants were negligent and failed to

exercise due care in issuing the 2003 Proxy Statement, the Rainbow Proxy/Prospectus, the 2004

Proxy Statement and the 2005 Proxy Statement.

        302.    Rule 14a-9, promulgated pursuant to Section 14(a) of the Exchange Act provides

that no proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.




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       303.    SafeNet’s Proxy Statements for the years 2003 through 2005 violated Section

14(a) and Rule 14a-9 because they omitted material facts, including the fact that SafeNet was

improperly backdating as part of its stock option granting practices.

       304.    In the exercise of reasonable care, Defendants should have known that SafeNet’s

Proxy Statements for the years 2003 through 2005 were materially misleading.

       305.    The misrepresentations and omissions in the 2003 through 2005 Proxy Statements

were material to Plaintiffs and to other SafeNet investors in voting on each Proxy Statement.

The 2003 through 2005 Proxy Statements were an essential link in the accomplishment of the

continuation of Defendants’ unlawful stock option administration, as revelations of the truth

would have immediately thwarted a continuation of shareholders’ endorsement of the directors’

positions, the executive officers’ compensation and the Company’s compensation policies,

including the 2003 and 2005 amendments to expand the number of shares authorized under the

Stock Option Plan.

       306.    SafeNet shareholders were damaged as a result of the material misrepresentations

and omissions in the 2003 through 2005 Proxy Statements and are therefore entitled to equitable

relief and compensatory damages.

                                           COUNT VI

     ON BEHALF OF THE RAINBOW SUBCLASS AGAINST SAFENET AND THE
    RAINBOW ACQUISITION DEFENDANTS FOR MISLEADING STATEMENTS
     CONTAINED IN THE RAINBOW PROXY/PROSPECTUS IN VIOLATION OF
    SECTION 14(a) OF THE EXCHANGE ACT AND RULE 14a-9 PROMULGATED
                             THEREUNDER

       307.    This Count is asserted against the Rainbow Acquisition Defendants, on behalf of

the Rainbow Subclass for violations of Section 14(a) of the Exchange Act, 15 U.S.C. § 78n, and

Rule 14a-9, 17 C.F.R. § 240.14a-9. This Count does not allege fraud.




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       308.    The Rainbow Proxy/Prospectus described herein was a proxy solicitation within

the meaning of Section 14 of the Exchange Act, and Rule 14a-9 promulgated thereunder.

       309.    The defendants named in this Count sought to secure Rainbow shareholder

approval of the Rainbow Acquisition by means of the materially false and misleading Rainbow

Proxy/Prospectus and/or permitted the use of their names to solicit proxies from Plaintiff Golde

and other members of the Rainbow Subclass.

       310.    The following facts give rise to a strong inference that each of the defendants

named in this Count, acted with the requisite state of mind for liability under Section 14(a) and

Rule 14a-9, i.e., negligence, at the time they issued or caused to be issued the Rainbow

Proxy/Prospectus or permitted the use of their names in the Rainbow Proxy/Prospectus: As

detailed in ¶¶ 1 to 244 and ¶¶ 255-267 above (to the extent that they do not allege fraud), these

defendants knew that the Rainbow Proxy/Prospectus contained misstatements of material fact

and omitted to state material facts necessary in order to make the statements therein not false or

misleading.

       311.    On October 22, 2003, SafeNet issued a press release announcing that SafeNet and

Rainbow had entered into a definitive merger agreement (the “Merger Agreement”), and that

pending satisfaction of typical conditions, including approval of the Rainbow Acquisition by the

shareholders of SafeNet and Rainbow, the companies were expected to close the transaction in

the first quarter of 2004.   As disclosed to investors in the press release, SafeNet agreed to issue

0.374 share of SafeNet common stock for each outstanding share of Rainbow common stock,

representing approximately 43% of the outstanding stock of the combined company after closing

of the Rainbow Acquisition. Prior to the announced Merger Agreement, SafeNet’s stock price




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closed at $41.02, making the aggregate value of the Rainbow Acquisition approximately $459

million, on a fully diluted basis, when announced.

       312.     On October 24, 2008, SafeNet filed with the SEC a Current Report on Form 8-K

disclosing the terms of the Rainbow Acquisition and including both the October 22, 2003 press

release and the Merger Agreement as attachments. That same day, SafeNet filed with the SEC

on Form 425 a copy of an investor presentation by defendant Caputo and Walter Straub, then

CEO and Chairman of Rainbow. In addition, on October 27, 2003, SafeNet filed with the SEC

on Form 425 the transcript of investors conference call held on October 22, 2003 and conducted

by, among others, defendants Caputo, and Argo. Each of these filings discussed the terms of the

Rainbow Acquisition and SafeNet’s historical financial results, which were false and misleading.

       313.     On the following dates, SafeNet filed with the SEC on Forms 425 additional

investor presentations conducted by, among others, defendants Caputo and Argo: November 3,

2003; January 14, 2004; and February 4, 2004. Also, on November 7, 2003 and November 12,

2003, SafeNet filed with the SEC on Forms 425 transcripts of conference calls held with

investors. Each of these filings discussed the terms of the Rainbow Acquisition and SafeNet’s

historical financial results, which were false and misleading.

       314.    On November 14, 2003, SafeNet filed with the SEC on Form S-4 a registration

statement discussing the terms of, and strategic rationale for the Rainbow Acquisition, as well as

SafeNet’s historical financial results. On January 15, 2004, SafeNet filed with the SEC on Form

S-4/A a first amended registration statement. Then, on February 11, 2004, SafeNet filed with the

SEC on Form S-4/A a second amended registration statement, or the Rainbow Registration

Statement, as previously defined herein. The Rainbow Registration Statement incorporated by

reference the Rainbow Proxy/Prospectus, filed with the SEC on Form 424B3 on February 12,




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2004.    On February 9, 2004, the last trading day referenced in the Rainbow Registration

Statement, the price per share of SafeNet stock closed at $39.99.

        315.   As stated herein, the Rainbow Proxy/Prospectus solicited the approval by

Rainbow Shareholders of the Rainbow Acquisition, and described the process leading to the

Rainbow board’s approval of the Merger Agreement and the Exchange Ratio, including, in

particular, the review by Rainbow’s management and its outside financial advisors of SafeNet’s

publicly released financial statements. The Rainbow Proxy/Prospectus also detailed the process

through which the Rainbow board of directors (and Rainbow’s financial advisors) and SafeNet’s

board of directors (and SafeNet’s financial advisors) established the Exchange Ratio, including

their consideration of SafeNet’s reported historical financial results and the relative revenues,

expenses and income that each company would bring to the combined entity. The Rainbow

Proxy/Prospectus justified the Exchange Ratio on the basis of the relative contributions each

company was expected to make to the combined entity.

        316.   On March 15, 2004, Rainbow held a Special Meeting of its shareholders to vote

on the proposed Rainbow Acquisition. The Rainbow Acquisition required and received the

affirmative vote of a majority of Rainbow shareholders. Accordingly, the materially false and

misleading Rainbow Proxy/Prospectus was an essential link in the accomplishment of the

Rainbow Acquisition.

        317.   In connection with the Rainbow Acquisition, each share of Rainbow owned by

the members of the Rainbow Subclass was exchanged into 0.374 share of SafeNet stock. On

March 16, 2004, the price per share of SafeNet stock closed $37.34.

        318.   The Rainbow Acquisition Defendants negligently made numerous material untrue

statements and omissions of material fact in the Rainbow Proxy/Prospectus in violation of




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Section 14(a) of the Exchange Act, including with respect to the SafeNet’s historical financial

results and the fact that SafeNet was improperly backdating as part of its stock option granting

practices. In the exercise of reasonable care, the Rainbow Acquisition Defendants should have

known that the Rainbow Proxy/Prospectus was materially misleading.

       319.    Within the Rainbow Proxy/Prospectus, SafeNet misrepresented its financial

results for full years and interim quarterly reporting periods for 2003, 2002, 2001 and 2000 by

failing to properly account for its stock options practices and improper revenue recognition

practices and thus overstating its revenue, operating income and net income (earnings).

Specifically, the Rainbow Proxy/Prospectus contained the following false statements regarding

SafeNet’s financial results:

           •   For the year ended December 31, 2003, revenues of $65.8 million, net operating

               loss of $6.2 million and total net loss of $0.55 per diluted share;

           •   For the year ended December 31, 2002, revenues of $32.2 million, net operating

               loss of $1.54 million and total net loss of $0.10 per diluted share;

           •   For the year ended December 31, 2001, revenues of $16.4 million, net operating

               loss of $1.45 million and total net loss of $0.01 per diluted share; and

           •   For the year ended December 31, 2000, revenues of $25.27 million, net operating

               income of $5.9 million and net income of $1.01 per diluted share.

       320.    Within the Rainbow Proxy/Prospectus, SafeNet made false statements regarding

its stock options granting policy. As set forth in the section, “Proposal to Increase the Number of

Shares Available for Issuance Under the SafeNet, Inc. 2001 Omnibus Stock Plan,” subsection

“Nature of Options,” the Rainbow Proxy/Prospectus misrepresented to Rainbow shareholders

that “The per share price of an incentive stock option grant under the 2001 Plan may not be less



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than the fair market value of the SafeNet common stock on the date of the grant.”          In truth,

SafeNet granted stock options below the fair market value of SafeNet common stock on the date

of the grants.

       321.      In addition, the Rainbow Proxy/Prospectus incorporated by reference the

following documents filed with the SEC, each of which also contained false and misleading

statements regarding SafeNet’s financial results and its accounting for stock option grants:

           •     SafeNet’s From 10-K/A for the fiscal year ended December 31, 2002 (File no. 0-

                 20634), filed on February 11, 2003 [sic] (actually filed on February 11, 2004);

           •     SafeNet’s From 10-K/A for the fiscal year ended December 31, 2002 (File no. 0-

                 20634), filed on April 29, 2003;

           •     SafeNet’s From 10-K for the fiscal year ended December 31, 2002 (File no. 0-

                 20634), filed on March 31, 2003;

           •     SafeNet’s From 10-Q/A for the fiscal quarter ended September 30, 2003 (File no.

                 0-20634), filed on February 11, 2003 [sic] (actually filed on February 11, 2004);

           •     SafeNet’s From 10-Q for the fiscal quarter ended September 30, 2003 (File no. 0-

                 20634), filed on November 14, 2003;

           •     SafeNet’s From 10-Q for the fiscal quarter ended June 30, 2003 (File no. 0-

                 20634), filed on July 31, 2003;

           •     SafeNet’s From 10-Q for the fiscal quarter ended March 31, 2003 (File no. 0-

                 20634), filed on May 15, 2003; and

           •     SafeNet’s definitive proxy statement on Schedule 14A for the 2003 annual

                 meeting of stockholders, filed on April 30, 2003.




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       322.   Each of the defendants named in this Count solicited proxies by causing the

Rainbow Proxy/Prospectus to be issued and distributed to Rainbow shareholder, by permitting

the use of their names in the Rainbow Proxy/Prospectus and by recommending in the Rainbow

Proxy/Prospectus that Rainbow shareholders approve the Rainbow Acquisition.

       323.   The Rainbow Proxy/Prospectus was materially false and misleading in that it

contained false and misleading statements of material facts and failed to disclose material facts

necessary to make the statements made not false and misleading, as set forth above.

       324.   The misrepresentations and omissions in the Rainbow Proxy/Prospectus were

material to Plaintiff Golde and to other members of the Rainbow Subclass in voting on the

Rainbow Acquisition. As a direct and proximate result of the false and misleading Rainbow

Proxy/Prospectus, the Rainbow shareholders approved the Rainbow Acquisition and Exchange

Ratio and were injured thereby.      Had the Rainbow Acquisition Defendants disclosed this

material information, Rainbow shareholders would have rejected the Rainbow Acquisition or

demanded an exchange ratio that properly reflected the greater relative value of Rainbow

compared to SafeNet than the Exchange Ratio that was approved. Further, disclosure of this

material information would have prevented these Defendants from continuing their improper

administration of the Stock Option Plan, which they continued through 2005.

       325.   As a direct and proximate result of these defendants’ unlawful course of conduct

in violation of Section 14(a) of the Exchange Act and Rule 14a-9, Plaintiff Golde and the other

members of the Rainbow Subclass have sustained injury and are therefore entitled to equitable

relief and compensatory damages.




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                                         COUNT VII

    ON BEHALF OF THE RAINBOW SUBCLASS AGAINST SAFENET AND THE
  RAINBOW ACQUISITION DEFENDANTS FOR VIOLATIONS OF SECTION 11 OF
                        THE SECURITIES ACT

        326.   Plaintiff Golde repeats and realleges each and every allegation set forth above in

¶¶ 307 to 325, as if set forth fully herein. This Count is brought pursuant to Section 11 of the

Securities Act, on behalf of all individuals who exchanged Rainbow shares for SafeNet shares as

a result of the Rainbow Acquisition. This count does not allege fraud.

        327.   As set forth in above, the Rainbow Registration Statement made numerous

material misrepresentations and omitted to state material facts necessary to make the matters

disclosed not misleading, including numerous statements regarding SafeNet’s publicly reported

historical financial results and description of SafeNet’s stock option granting policies and

practices. The misrepresentations and omissions in the Rainbow Proxy/Prospectus were material

to Plaintiff Golde and other members of the Rainbow Subclass investors in voting on the

Rainbow Acquisition. As a result of the false and misleading Rainbow Proxy/Prospectus, the

Rainbow shareholders approved the Rainbow Acquisition and Exchange Ratio. Had the truth

been disclosed about SafeNet’s historical financial results and its improper stock option

administration, Rainbow shareholders would have rejected the Rainbow Acquisition or

demanded an exchange ratio that properly reflected the greater relative value of Rainbow

compared to SafeNet, which would be more favorable to Rainbow shareholders than the

Exchange Ratio.    Further, revelations of the truth would have prevented Defendants from

continuing their improper administration of the Stock Option Plan, which they continued through

2005.

        328.   Although not necessary to plead Plaintiff Golde’s prima facie claim, none of the

Defendants named in this Count made a reasonable investigation or possessed reasonable


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grounds for the belief that the statements contained in the Rainbow Registration Statement and

Rainbow Proxy/Prospectus were accurate and complete in all material respects.         Had they

exercised reasonable care, these Defendants would have known of the material misstatements

and omissions alleged herein. As such, these Defendants can not establish an affirmative defense

of adequate due diligence, as defined in Section 11.

       329.    At the time they acquired SafeNet shares, neither Plaintiff Golde nor any member

of the Rainbow Subclass knew, or by the reasonable exercise of care could have known, of the

material misstatements and omissions alleged herein.

       330.    In connection with the Rainbow Acquisition and exchange of the SafeNet

common stock for Rainbow common stock, SafeNet and the Rainbow Acquisition Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, the United

States mails and a national securities exchange.

       331.    This claim was brought within one year after the discovery of the untrue

statements in the Rainbow Registration Statement and Rainbow Proxy/Prospectus and within

three years after the SafeNet common stock was issued to Rainbow Subclass members in

connection with the Rainbow Acquisition.           Plaintiff Golde and the other members of the

Rainbow Subclass obtained their SafeNet shares before SafeNet made available to its

shareholders an earnings statement covering a period of at least 12 months beginning after the

effective date of the Rainbow Registration Statement.

       332.    By reason of the misconduct alleged herein, SafeNet and the Rainbow Acquisition

Defendants violated Section 11 of the Securities Act and are liable to Plaintiff Golde and the

other members of the Rainbow Subclass who acquired SafeNet common stock as a result of the

Rainbow Acquisition, each of whom has been damaged as a result of such violations.




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       333.    Members of the Rainbow Subclass were damaged as a result of the material

misrepresentations and omissions in the Rainbow Registration Statement and Proxy/ Statement

and are therefore entitled to equitable relief and compensatory damages.

                                          COUNT VIII

 ON BEHALF OF THE RAINBOW SUBCLASS AGAINST DEFENDANTS SAFENET,
     CAPUTO AND ARGO FOR VIOLATIONS OF SECTION 12(a)(2) OF THE
                        SECURITIES ACT

       334.    Plaintiff Golde repeats and realleges each and every allegation set forth above in

¶¶ 307 to 333, as if set forth fully herein. This Count is brought for violation of Section 12(a)(2)

of the Securities Act, 15 U.S.C. §77l(a)(2), against defendants Caputo and Argo, who actively

solicited the approval by Rainbow shareholders of the Rainbow Acquisition, including the

Exchange Ratio and the exchange of Rainbow shares held by Plaintiff Golde and the other

members of the Rainbow Subclass for shares of SafeNet, by means of the Rainbow

Proxy/Prospectus. This count does not allege fraud.

       335.    Defendants Caputo and Argo substantially participated in the preparation and

dissemination of the Rainbow Proxy/Prospectus for their own financial benefit. But for their

participation in the Rainbow Acquisition, including their solicitations as set forth herein, the

Rainbow Acquisition could not and would not have been accomplished. Specifically, Caputo

and Argo:

               (a)     met with the senior management of Rainbow to discuss the terms of the

Rainbow Acquisition;

               (b)     negotiated the terms of the Merger Agreement on SafeNet’s behalf,

including the Exchange Ratio;




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               (c)    solicited and encouraged shareholder approval and market support for the

Rainbow Acquisition in numerous investor conferences and through numerous investor slide

presentations and conference calls;

               (d)    drafted, revised and approved the Rainbow Proxy/Prospectus.            These

written materials were calculated to create interest in the Rainbow Acquisition and in SafeNet

common stock and were used to assure approval of the Rainbow Acquisition;

               (e)    finalized the Rainbow Proxy/Prospectus and caused it to become effective;

and

               (f)    conceived and planned the Rainbow Acquisition and orchestrated all

activities necessary to affect the exchange of SafeNet securities to Rainbow shareholders.

       336.    As set forth more specifically above, the Rainbow Proxy/Prospectus included

untrue statements of material fact and omitted to state material facts necessary in order to make

the statements, in light of the circumstances in which they were made, not misleading.

       337.    Plaintiff Golde and the other members of the Rainbow Subclass did not know, nor

could they have known, of the untruths or omissions contained in the Rainbow Registration

Statement and Rainbow Proxy/Prospectus.

       338.    The defendants named herein were obligated to make a reasonable and diligent

investigation of the statements contained in the Rainbow Registration Statement and Rainbow

Proxy/Prospectus to ensure that such statements were true and that there was no omission of

material fact required to be stated in order to make the statements contained therein not

misleading. None of the defendants named in this Count made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the Rainbow




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Registration Statement and Rainbow Proxy/Prospectus were accurate and complete in all

material respects.

       339.    This claim was brought within one year after the discovery of the untrue

statements and omissions in the Rainbow Registration Statement and Rainbow Proxy/Prospectus

and within three years after the SafeNet common stock was issued to Rainbow Subclass

members in connection with the Rainbow Acquisition.

       340.    By reason of the misconduct alleged herein, the defendants named in this Count

violated Section 12(a)(2) of the Securities Act and are liable to Plaintiff Golde and the other

members of the Rainbow Subclass who acquired SafeNet common stock as a result of the

Rainbow Acquisition, each of whom has been damaged as a result of such violations.

       341.    Plaintiff Golde and the other members of the Rainbow Subclass who acquired

SafeNet common stock as a result of the Rainbow Acquisition and continue to hold it hereby

seek rescission of their purchases and hereby tender to the defendants named in this Count the

common stock in return for the consideration paid for those securities, together with interest

thereon.

                                          COUNT IX

            ON BEHALF OF THE RAINBOW SUBCLASS AGAINST THE
           RAINBOW ACQUISITION DEFENDANTS FOR VIOLATIONS OF
                    SECTION 15 OF THE SECURITIES ACT

       342.    Plaintiff Golde repeats and realleges each and every allegation set forth above in

¶¶ 307 to 341, as if set forth fully herein. This Count is brought pursuant to Section 15 of the

Securities Act, 15 U.S.C. § 77o, on behalf of the members of the Rainbow Subclass who

acquired SafeNet common stock as a result of the Rainbow Acquisition pursuant to the Rainbow

Registration Statement and Rainbow Proxy/Prospectus. This claim does not allege fraud.




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        343.   This claim is asserted against the Rainbow Acquisition Defendants, each of whom

was a control person of SafeNet in general and with respect to the Rainbow Acquisition, in

particular.

        344.   For all the reasons set forth above, SafeNet is liable to Plaintiff Golde and the

other members of the Class who received SafeNet common stock as a result of the untrue

statements and omissions of material fact contained in the Rainbow Registration Statement and

the Rainbow Proxy/Prospectus, pursuant to Sections 11 and 12(a)(2) of the Securities Act, and

were damaged thereby.

        345.   The Rainbow Acquisition Defendants were control persons of SafeNet by virtue

of, among other things, their positions as senior officers and directors of SafeNet, and they were

in positions to control and did control the false and misleading statements and omissions

contained in the Rainbow Registration Statement and Rainbow Proxy/Prospectus.

        346.   In fact, as disclosed in detail in the Rainbow Registration Statement and Rainbow

Proxy/Prospectus, the Rainbow Acquisition Defendants actively negotiated the terms of the

Rainbow Acquisition, retained outside advisors to assist in structuring and documenting the

Rainbow Acquisition and in soliciting the approval by Rainbow shareholders of the Rainbow

Acquisition, and met repeatedly to approve SafeNet’s pursuit of the Rainbow Acquisition and

solicitation of shareholder approval of the Rainbow Acquisition.

        347.   None of the Rainbow Acquisition Defendants made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the Rainbow

Registration Statement and Rainbow Proxy/Prospectus were accurate and complete in all

material respects. Had they exercised reasonable care, they could have known of the material

misstatements and omissions alleged herein.




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       348.      This claim was brought within one year after the discovery of the untrue

statements and omissions in the Rainbow Registration Statement and Rainbow Proxy/Prospectus

and within three years after the SafeNet common stock was sold to the Rainbow Subclass in

connection with the Rainbow Acquisition.

       349.      By reason of the misconduct alleged herein, for which SafeNet is primarily liable,

as set forth above, the Rainbow Acquisition Defendants are jointly and severally liable with and

to the same extent as SafeNet, pursuant to Section 15 of the Securities Act.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

       1.        Declaring this action to be a proper class action pursuant to Rule 23(a) and Rule

23(b)(3) of the Federal Rules of Civil Procedure on behalf of the Class defined herein;

       2.        Awarding Plaintiffs and the members of the Class compensatory damages,

including compensatory and other appropriate damages for the Rainbow Subclass;

       3.        Awarding Plaintiffs and the members of the Class pre-judgment and post-

judgment interest, as well as reasonable attorneys’ fees, expert witness fees and other costs;

       4.        Awarding injunctive relief in favor of Plaintiffs and the Class against Defendants

and all persons acting in concert with them, including a constructive trust over the Individual

Defendants’ unjust enrichment;

       5.        Ordering disgorgement of all stock option proceeds and/or profits obtained

through the exercise of stock options granted to the Individual Defendants by virtue of the false

and misleading Proxy Statements;

       6.        Ordering that all unexercised stock options held by the Individual Defendants be

rescinded; and



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